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15

16                               UNITED STATES DISTRICT COURT
17
                           NORTHERN DISTRICT OF CALIFORNIA
18

19     DEMETRIC DI-AZ, OWEN DIAZ, and                Case No. 3:17-cv-06748-WHO
20
       LAMAR PATTERSON,
                      Plaintiffs,                    DECLARATION OF J. BERNARD
21
             v.                                      ALEXANDER, III IN SUPPORT OF
22                                                   PLAINTIFF’S MOTION FOR
       TESLA, INC. dba TESLA MOTORS,                 ATTORNEYS’ FEES
23     INC.; CITISTAFF SOLUTIONS, INC.;
       WEST VALLEY STAFFING GROUP;
24     CHARTWELL STAFFING                            Judge: Hon. William Orrick III
       SERVICES, INC.; and DOES 1-50,
25     inclusive,
26           Defendants.
27

28

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 1

 2                 DECLARATION OF J. BERNARD ALEXANDER, III
 3           I, J. Bernard Alexander, III, declare:
 4           1.     I am an attorney at law duly admitted to practice before all of the
 5    courts of the State of California. If called as a witness, I could and would
 6    competently testify to the following facts of my own personal knowledge. I submit
 7    this Declaration in support of Plaintiff’s Motion for Attorney’s Fees and Costs.
 8           2.     I received my Bachelor of Arts degree from the University of
 9    California at Los Angeles in 1983. My Juris Doctor was awarded by Southwestern
10    University School of Law in 1986, where I earned a Deans Scholarship. I was first
11    admitted to practice before the courts of the State of California in 1987 and am
12    admitted to the U.S. District Courts for the Central, Eastern and Southern Districts
13    of California and the U.S. Courts of Appeal for the Ninth Circuit, and the Northern
14    District of Illinois.
15           3.     From 1987 to 1993, I was an associate at Morris, Polich and Purdy
16    performing defense litigation, including employment, insurance coverage,
17    construction, premises and automobile liability. In 1994, I became a founding
18    partner at Alexander & Goldsby, which later became Alexander & Yong. Although
19    we initially focused on coverage and defense matters, beginning no later than
20    2001, my practice focused primarily on plaintiff’s employment litigation, both in
21    state and federal court. Currently, I am a founding partner of Alexander Morrison +
22    Fehr LLP. Currently 85% of our practice consists of representing plaintiffs in
23    employment litigation, and 15% are police excessive force cases. Over 90% of the
24    firm’s work is done on a contingency basis, consistent with the practice of a
25    substantial majority of plaintiff employment attorneys.
26           4.     Throughout my 30 years of practice, I have achieved numerous six,
27    seven, and eight-figure verdicts and settlements in various types of employment
28    cases, including sexual harassment, sexual orientation, race, gender, age and

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 1    disability discrimination and whistleblower cases. I have been lead counsel in over
 2    75 trials and have successfully handled dozens of mediations and binding
 3    arbitrations.
 4          5.        I completed a two-year term as President of the California
 5    Employment Lawyers Association (“CELA”), in October 2015. CELA is a
 6    statewide organization and the largest bar association in California for lawyers
 7    representing employees, with a membership of approximately 1,300 attorneys.
 8          6.        In addition, I am active in the National Employment Lawyers
 9    Association (“NELA”), and its regional and local affiliates. In 2016, I became an
10    elected Executive Board Member and continue in that role.
11          7.        Since 2005, I have been a member of the Los Angeles County Bar
12    Association Labor and Employment Executive Committee. I am also a lifetime
13    member of the John M. Langston Bar Association of Los Angeles.
14          8.        I am regularly invited to speak at continuing legal education seminars,
15    both in and outside the state of California, on various employment law topics
16    related to whistleblower claims, disability and various forms of discrimination,
17    discovery, trial techniques and strategies, and various other substantive areas of the
18    law within employment litigation. I have given numerous employment law
19    speeches and presentations at conferences for a variety of legal organizations,
20    including the American Bar Association (“ABA”), CELA, NELA and NELA state
21    affiliates, the Los Angeles County Bar Association (“LACBA”) Labor and
22    Employment Section, the John M. Langston Bar Association of Los Angeles, the
23    Consumer Attorneys Association for Los Angeles (“CAALA”), and Consumer
24    Attorneys of California (“CAOC”). I am also a member of the Legal Eagles for
25    Truth Justice and the American Way (“LEFTJAW”), a local branch of CELA that
26    is devoted exclusively to the representation of employees.
27          9.        Most recently, in August 2017, our firm was designated one of the
28    Top 20 Boutiques (for plaintiff employment) in California by the Los Angeles

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 1    Daily Journal.
 2          10.    I have received numerous professional recognitions and honors,
 3    including:
 4                 • 2022 CAALA Trial Lawyer of the Year
 5                       o Voted Charles B. O’Reilly Memorial “Trial Lawyer of the
 6                          Year” by the Consumer Attorneys Association of Los
 7                          Angeles (CAALA) (2022), a membership organization of
 8                          approximately three thousand members. One of only six (6)
 9                          employment lawyers out of the fifty-two (52) individuals
10                          who have received this honor since 1972.
11                 • 2022 Cover photo and article in Southern California SuperLawyer
12                 • 2021, 2022, 2023 Top 10 Southern California SuperLawyer
13                 • 2021 American College of Trial Lawyers Fellow
14                 • 2020 College of Labor & Employment Lawyers Fellow
15                 • 2020 LACBA Jim Robie Professionalism and Civility Award
16                       o An award given to a Los Angeles trial lawyer, active in the
17                          Los Angeles County Bar Association, acknowledging
18                          recognition from the plaintiff and defense bar, as well as the
19                          judiciary, whose career demonstrates qualities of
20                          professionalism, civility, service, enthusiasm and
21                          collegiality.
22                          https://lacba.org/?pg=jim-robie-professionalism-and-civility-
23                          award
24                 • 2019-2022 Top 100 Attorneys in California
25                 • 2016 CELA Joe Posner Award Recipient
26                       o Awarded the California Employment Lawyers’ Association
27                          “Joe Posner Award,” CELA’s highest individual recognition
28                          for a career dedicated to advancing employee rights. CELA

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 1                           is a statewide organization of over twelve hundred employee
 2                           rights lawyers – the largest statewide employee rights
 3                           organization in the Country.
 4                  • 2019 “Lawyer of the Year” Honoree for Employment Law, Best
 5                     Lawyers Southern California (published November 2018);
 6                  • Daily Journal’s Top 75 California Labor and Employment
 7                     Lawyers: 2012 to present;
 8                  • American Board of Trial Advocates (ABOTA) Associate (2013)
 9                  • SuperLawyer - Employment Litigation: 2009 through 2023
10                     (published by Los Angeles Magazine and Law & Politics)
11                  • Top 100 Southern California Super Lawyers, by Los Angeles
12                     Magazine and Law & Politics: 2015 – 2019, 2021-2023.
13                  • 2023 CABL (California Assoc. of Black Lawyer) Advocate for
14                     Social Justice Award
15                  • 2024 Lawdragon 500 Leading Civil Rights & Plaintiff
16                     Employment Lawyers
17                  • 2024 Best Lawyers Lawyer of the Year - Employment Law -
18                     Individuals in Los Angeles, August 2014 to present.
19
20            SUMMARY OF THE WORK PERFORMED AS CO-LEAD TRIAL
21                                            COUNSEL
22           11.    I acted as co-lead trial counsel with Mr. Organ on this matter.
23           12.    I was first introduced to the case by Larry Organ in approximately
24     June 2019, when Mr. Organ described the facts of the case, provided a copy of the
25     complaint and several supporting declarations relating to the case, and suggested
26     that I might be interested in trying the case with him. After more detailed
27     discussions with Mr. Organ about the liability facts and circumstances of the case,
28     I agreed to act as co-counsel in or about June 2019. As is my practice, when I am

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 1    invited to act as lead counsel in trying a case, I tried to familiarize myself with the
 2    details of the case in order to prepare for trial. My efforts included:
 3                   a. A detailed review of: (1) all the relevant deposition transcripts; (2) all
 4                      relevant pleadings and particularly points and authorities in support
 5                      and in opposition to summary judgment; and, (3) all pertinent rulings
                        and orders issued by the Court.
 6
                     b. Identification of the problems and obstacles with the case, and
 7
                        strategizing as to how best to minimize or resolve them;
 8
                     c. Strategizing about case presentation in terms of visuals,
 9
                        demonstratives, timelines to visually present key aspects of the case,
10
                        and/or frame the issues and coordinating efforts with Mr. Organs
11                      office to create effective visuals;
12                   d. Determining the themes of the case and the witnesses through which
13                      those themes would be developed, and the ideal order in which to call
14                      witnesses at trial.
15             13.      I did not take any of the depositions in this case. Because Larry
16    Organ, Cimone Nunley and Navruz Avloni had the most in-depth knowledge of the
17    facts and details of the case and had taken or defended substantially all of the
18    depositions, I spent a significant amount of time extracting both factual
19    information and subjective assessments, in order to assure that we could make
20    informed, joint choices and decisions about trial strategy, both before and during
21    trial.
22             14.      Based on the forgoing actions, and acting in the role of co-lead trial
23    counsel, and with respect to the first trial, I performed voir dire and gave the
24    opening and closing statements. I also examined Anthony Reading, Ph.D, and
25    examine or cross-examined key percipient witnesses, including:
26                           A. Wayne Jackson – the nextSource manager who testified to
27                              witnessing and experiencing use of the N-word throughout the
28                              Tesla workplace, but not taking action to correct it and feeling

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 1                       that he did not have the power to do so. Mr. Jackson also
 2                       provided important testimony about Tesla’s failure to
 3                       systematically train contract employees about Tesla’s
 4                       purported “Zero Tolerance” racial harassment policy.
 5                    B. Michael Wheeler – a supervisor who confirmed rampant use
 6                       of the N-word, was present and confirmed the circumstances
 7                       of Plaintiff finding the “Inki” picaninny left for him, and
 8                       confirmed being subjected to race-based harassment (having
 9                       feces left on his seat), but Tesla failing to investigate by
10                       examining and preserving video footage of the incident,
11                       similar to the failures to investigate experienced by Plaintiff
12                       Diaz.
13                    C. Victor Quintero – a Tesla manager who denied ever having
14                       heard the N-word inside the factory, in contradiction to
15                       multiple other witnesses. Mr. Quintero was established to be
16                       a Tesla managing agent who determined Plaintiff’s salary,
17                       position and promotions.
18                    D. Ramon Martinez – without the benefit of Mr. Martinez’
19                       deposition being completed, confirmed that he was the person
20                       who drew “Inki,” the racist picaninny left for Plaintiff Diaz to
21                       find. Also confirmed that Mr. Martinez provided a
22                       handwritten statement that contained details he could not have
23                       known or included unless it had been provided to him by
24                       Tesla or nextSource.
25                    E. Jackelin Delgado. Examined the Chartwell investigator who
26                       (1) failed to conduct a timely, good faith, impartial
27                       investigation; (2) failed to prepare a written report, consistent
28                       with her normal practice or standard practices; and (3)

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 1                         determined to give Ramon Martinez a day suspension and
 2                         written warning, but had no written record of the warning and
 3                         issued the discipline three days after Tesla had already
 4                         determined and approve
 5                      F. d the proposed discipline purportedly issued to Martinez. This
 6                         testimony, when taken with Martinez’s testimony, confirmed
 7                         that Tesla and/or nextSource orchestrated the outcome of the
 8                         investigation and nominal discipline received by Martinez.
 9          15.    A substantial portion of Plaintiff’s case was proven by calling and
10    cross-examining defendant’s current or ex-employees as adverse witnesses, calling
11    past contract employees.
12          16.    In the second trial, I also performed voir dire and gave the opening
13    and closing statements. I also examined or cross-examined key percipient
14    witnesses Wayne Jackson and Ramon Martinez.
            17.    The successful trial of this matter was only made possible by the
15
      persistent pre-trial work done in the trenches, by Larry Organ, Cimone Nunley and
16
      the Organ office as a whole. Thorough written discovery was completed,
17
      accompanied by equally thorough depositions. These discovery efforts allowed us
18
      to identify key defense witnesses, both for the purpose of determining who best to
19
      call at trial, which witness should not be called, and which witnesses should be left
20    for the defendant to call and cross-examine.
21          18.    Following our historic victory in this matter, the Court accepted a
22    remittitur of the damages awarded to Plaintiff. Subsequently, the Court granted
23    Plaintiff a new trial on the issue of damages only. This entailed a great deal of
24    further attorney work including:
25                 •     Meeting and conferring with defense counsel regarding the
                         scope of the re-trial and engaging in a settlement conference;
26
                   •     Strategizing with co-counsel regarding the issues and
27
                         presentation of evidence for re-trial;
28

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 1                •      Revising and further preparing trial filings and witnesses to
 2                       testify;
 3                •      Preparing opening and closing arguments and corresponding
                         Powerpoint presentations; and
 4
                  •      Assisting with post-trial motions.
 5
                                        HOURLY RATES
 6
            J. Bernard Alexander, III
 7
            19.   My current billing rate is $1,200 per hour. This is the rate I charge
 8
      and am paid by hourly clients who hire me to advise them. This is also the rate I
 9    am paid when I am retained as an expert witness, which has occurred several times
10    in my career.
11          20.   I have obtained multiple multi-million dollar and other significant
12    employment and civil rights jury verdicts. Among the successful civil rights cases
13    in which I have been awarded fees in the recent past are the following:
14                a. McCray v WestRock Services, Inc., Case No.
15                    2:21−cv−09853−DMG−RAO: Jury verdict of $9,461,000, in
16                    August 2023, for retaliation, disability discrimination and failure to
17                    prevent discrimination and retaliation in favor of a 27 year African
18                    American employee. District Court Judge Dolly Gee; fee motion
19                    pending.
20                b. Pierce/Bland v East Bay Municipal Utility District, USDC Case
21                    No. 3:21-cv-04325-AGT: Jury verdict of $7,990,000, in June 2023,
22                    for retaliation (Section 1983 and FEHA), failure to prevent
23                    discrimination and retaliation and construction discharge, in favor
24                    of two women of color employed in the General Counsel’s Office
25                    of EBMUD. US Magistrate Judge Alex G. Tse; fee motion
26                    pending. One month after Gallegos trial in (c).
27                c. Gallegos v. University of La Verne, Los Angeles Superior Court
28

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 1               Case No. 20STCV29478: Jury verdict of $600,000 in March 2023,
 2               for retaliation due to taking a protected medical leave where
 3               Defendant’s Code of Civil Procedure § 998 Offer to Compromise
 4               before trial was for $125,000. Judge Kevin C. Brazile; fee motion
 5               pending.
 6            d. Rios, et. al. v. City of Los Angeles, Case No.: 2:21-cv-05341-RGK-
 7               MAA: Jury verdict of $120,000, in a police excessive force case
 8               where an African American family of three was stopped at gun
 9               point based on a “cold plate” – the vehicle license plate of the
10               vehicle owned by them did not match the DMV issued plate,
11               through no fault of their own. USDC Judge R. Gary Klausner
12               approved a rate of $1,100 per hour.
13            e. Asfall v. Los Angeles Unified School District, Case No. 2:18-cv-
14               00505-CBM (RAOx): Jury verdict of $100,000 in emotional
15               distress damages in a Title IX retaliation case. USDC Judge
16               Consuelo B. Marshall approved a rate of $950 per hour with a 1.1
17               multiplier, in October 2020; affirmed on appeal.
18            f. Carter v. Federal Express, Inc., Los Angeles Superior Court Case
19               No. BC 658923: Jury verdict of $5,317,162, with a remittitur to
20               $3,515,000, in March 2019, for Disability Discrimination – Failure
21               to Accommodate, Failure to Engage in the Interactive Process and
22               Retaliation, in favor of a 25 year employee. Judge Rafael Ongkeko
23               approved a rate of $850 per hour.
24               (https://topverdict.com/lists/2019/california/top-10-civil-rights-
25               verdicts).
26            g. Monterroso v. Hydraulics International, Inc., Case No. Case No.:
27               BC654053: Jury verdict of $1,292,063 in April 2019, for
28               California Family Rights Act (CFRA) retaliation and Associational

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 1               Discrimination – Failure to Accommodate, in favor of a 25-year
 2               employee making $19.07 on his date of termination. LASC Judge
 3               Maureen Duffy-Lewis.
 4            h. Kunga v. American Guard Services, Case No. BC657320: Jury
 5               verdict of $3,000,000 in July 2018, for discrimination and
 6               retaliation under the California Family Rights Act, in favor of a
 7               $12 per hour security guard who was denied emergency leave to
 8               care for his daughter, then terminated for “job abandonment.”
 9               LASC Judge Michael P. Linfield approved a rate of $815 per hour
10               for work performed in 2018.
11            i. Campbell v. Fuse LLC: Arbitration award of $2.038 million in
12               January 2017, in a wrongful termination case. Later, confirmed by
13               LASC Judge Mark Mooney, based on an award of $815 per hour
14               by Michael Latin, Judge Retired.
15            j. Flores v. Office Depot, Case No. BC 556173: Jury verdict of $10
16               million in January 2017, in a CFRA retaliation case. LASC Judge
17               Daniel S Murphy awarded me a rate of $750 per hour, as lead trial
18               counsel.
19            k. Rivera v. Costco: Jury verdict of $1,686,500 in November 2014 in
20               a disability discrimination, defamation and wrongful termination
21               case.
22            l. Flores v. City of Westminster, USDC Case no. 8:11-cv-00278-
23               DOC-RNB: Jury verdict of $3.55 million in March 2014,
24               representing three male Latino police officers in a failure to
25               promote case based on race in Orange County. USDC Judge David
26               O. Carter approved a rate of $750 per hour.
27            m. Salinda v. DirecTV, Case No. BC 475999: Jury verdict of
28               $1,178,628 in 2013 in a disability discrimination case. LASC

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 1                   Judge Ronald Sohigian approved my rate of $675 per hour.
 2         21.    Through my active involvement in California Employment Lawyers
 3   Association (CELA), National Employment Lawyers Association (NELA), Legal
 4   Eagles for Truth, Justice and the American Way (LEFTJAW), Consumer
     Attorneys Association of Los Angeles (CAALA) and the Los Angeles County Bar
 5
     Association (LACBA), I meet and confer with numerous Southern and Northern
 6
     California employment lawyers on a daily basis and on a variety of employment
 7
     law issues, including hourly rates. Through my own experience and through my
 8
     contacts with other attorneys and organizations throughout the Los Angeles,
 9
     Orange County, Inland Empire, Sacramento and San Francisco legal communities,
10   I am very familiar with the community standards for attorney fees awards in these
11   areas. I have been called on, in numerous instances, to provide declarations in
12   support of fees for attorneys practicing employment law matters. It is based on this
13   knowledge that I opine on the reasonableness of the hourly rates charged by
14   counsel in this matter.
15         22.    I handled this case with some assistance from Britt Karp, a senior
     associate at my firm with twelve years of experience, who bills at $675 per hour;
16
     Jacqueline Gil, an associate at my firm with five years of experience, who bills at
17
     $450 per hour; and Natalie Khoury, an associate at my firm with two years of
18
     experience, who bills at $350 per hour. I am also familiar with the rates charged
19
     for their experience levels and believe these fees to be reasonable.
20
           23.    I am readily familiar with the rates charged by paralegals performing
21   both plaintiff and defense employment work in California. Based on my
22   experience, it is reasonable that a person at the experience level of Mr. Ham would
23   bill at an amount well in excess of $225. Accordingly, our firm has set a rate of
24   $225 to be charged for the paralegal work performed by Mr. Ham.
25         24.    In March 2023, my full 2022 rate of $1,100 per hour (for an August
26   2022 trial) was approved by United States District Court Judge R. Gary Klausner
     in Rios v. City of Los Angeles, et al. A true and correct copy of the March 2, 2023
27
     Attorney Fees ruling is attached as Exhibit “1”. At that time, Judge Klausner also
28

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 1   approved Britt Karp’s 2022 below-market rate of $550 per hour and Mr. Ham’s
 2   rate of $225 per hour.
 3         25.    In October 2020, my full 2020 rate of $950 per hour was approved by
     United States District Court Judge Consuelo Marshall in Asfall v. Los Angeles
 4
     Unified School District. A true and correct copy of the October 28, 2020 Attorney
 5
     Fees ruling is attached as Exhibit “2”. Mr. Ham and Ms. Karp’s 2020 rates of
 6
     $225 and $475, respectively, were approved at that time as well.
 7
           26.    In October 2019, my full 2019 rate of $850 was approved by Los
 8
     Angeles Superior Court Judge Rafael Ongkeko in Carter v. Federal Express Corp.
 9   (BC658923). A true and correct copy of the October 23, 2019 Attorney Fees
10   ruling is attached as Exhibit “3”.
11         27.    In January 2019, my full 2018 rate of $815 per hour was approved by
12   Los Angeles Superior Court Judge Michael P. Linfield in Kunga v. American
13   Guard Services, Inc. (BC 657320). A true and correct copy of the January 14,
14   2019 ruling on Plaintiff’s Motion for Attorney Fees is attached as Exhibit “4”.
           28.    In March 2017, I was approved at my then-current hourly rate of $815
15
     by Judge Michael Latin (Retired), in the binding arbitration of a wrongful
16
     termination whistleblower case, Campbell v. Fuse, LLC, et al. A true and correct
17
     copy of the March 23, 2017 Arbitration Award is attached as Exhibit "5," with the
18
     section pertaining to attorney fees found on pages 52-53. Judge Latin found
19
     AKG's requested hourly rates to be reasonable and approved all rates requested,
20   including my past rate of $815 per hour. Judge Latin also found that every hour
21   billed by AKG was reasonable and compensable, and awarded a 1.2 multiplier.
22   Though I was approved at my full hourly rate of $815 in 2017, I did not raise my
23   rate for 2018.
24         29.    I was previously approved at an hourly rate of $750 in October 2014
25   by United States District Court Judge David O. Carter in the Central District,
     Orange County in Flores v. City of Westminster, USDC Case no. 8:11-cv-00278-
26
     DOC-RNB. At that time, Judge Carter also approved a paralegal rate of $175 for
27
     Gustin Ham. A true and correct copy of the October 23, 2014 Attorney Fees ruling
28

                                              13
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 1   is attached as Exhibit “6”.
 2                                      Contingency Rates Charged
 3         30.    Given my level of experience, I am very familiar with the economics
 4   of legal practice, especially as it relates to litigation of plaintiff employment
     discrimination cases. The availability of current hourly rates directly influences the
 5
     decisions my firm makes about whether to take or decline cases. If current hourly
 6
     rates were unavailable in all or a majority of cases, we would not be able to
 7
     maintain our contingent fee practice in the employment area; it would simply be
 8
     financially impossible to do so.
 9
           31.    This case was taken on a contingency basis, meaning that neither my
10   firm, Mr. Organ’s firm, or our co-counsel have been paid for our legal services.
11   With the exception of a few limited matters, e.g., pre-litigation consultation,
12   negotiation of severance agreements and retention as an expert, my firm has a
13   contingency-based practice. However, we are periodically retained on an hourly
14   basis in certain matters. We set our rates in all matters (contingent and retained) to
15   be comparable with those of private defense firms that litigate complex matters in
     our areas of expertise. Thus, our attorneys' hourly rates are comparable with those
16
     of firms such as Loeb & Loeb, Skadden Arps, and Kirkland & Ellis, whose
17
     litigation departments often defend the types of employment and civil rights cases
18
     my office files and litigates.
19
           32.    My partners currently bill at the following hourly rates: Tracy Fehr
20
     $750 per hour; Michael Morrison $850 per hour; and Josh Arnold $700 per hour.
21   Current hourly billing rates for our associates range from $300 to $700 per hour for
22   Senior Associates. Britt Karp has a rate of $675 per hour and Natalie Khoury has a
23   billing rate of $350 per hour.
24         33.    There are billing entries for my long time firm partner Tracy Fehr,
25   with eighteen years of experience, who bills at $750 per hour; and for my firm
26   partner Joshua Arnold, with eighteen years of experience, who bills at $700 per
     hour. As part of my exercise of billing judgment, I have omitted charges for Ms.
27
     Fehr, Mr. Arnold and Jacqueline Gil.
28

                                                14
      DECLARATION OF J. BERNARD ALEXANDER, III IN SUPPORT OF ATTORNEY FEES
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 1                           HOURS WORKED ON THIS CASE
 2         34.    Attached as Exhibit "7" is a true and correct copy of redacted billing
 3   records of Alexander Morrison + Fehr LLP ("AMF") in this matter. The billing is
     under Demetric Diaz because he appeared first on the complaint, but the billing
 4
     records submitted here are solely in relation to Owen Diaz and the prosecution of
 5
     his case as I endeavored to cut any records relating solely to Demetric. This billing
 6
     statement reflects charges by myself and associates, paralegals or legal assistants
 7
     under my supervision. All of the billing reflected in Exhibit 7 was reasonably
 8
     necessary to the successful prosecution of this litigation.
 9         35.    As reflected in the billing records, I billed 960.4 hours during the
10   pendency of this matter, as of October 20, 2023. In addition, in order to minimize
11   attorney fees in this case, I assigned tasks to associates and law clerks inside my
12   firm, who were able to draft matters for my review at a much cheaper rate.
13         36.    With respect to Exhibit 7, the AMF bill, I record my time on a daily
14   basis, and I accurately enter my time. I made billing decisions that resulted in the
     Defendant not being charged for a great deal of time. For instance, many brief
15
     emails or calls were not billed. Also, although my basic billing unit is one-tenth of
16
     an hour, frequently if there was a series of brief emails on a related issue between
17
     myself and someone else, i.e., my associates, my office manager, or opposing
18
     counsel, I would combine or bill the time at a greatly reduced rate. For instance, if
19
     there was a series of eight or so emails, I might bill them at 2/10s of an hour, or
20   some other reduced amount instead of eight-tenths of an hour (1/10 for each
21   email). Thus, Exhibit 7 represents only those hours for which I am requesting
22   compensation, after the exercise of billing judgment. The hours generated in this
23   matter are reasonable as all of my time was billed in preparing an efficient,
24   effective trial of this racial harassment matter.
25         37.

26
           Attorney/Staff          Hourly Rate           Hours Spent           Total

27
        J. Bernard Alexander,         $1,200                967.6           $1,161,120
                  III
28

                                                15
      DECLARATION OF J. BERNARD ALEXANDER, III IN SUPPORT OF ATTORNEY FEES
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 1           Britt L. Karp               $675                39               $26,325
 2          Natalie Khoury               $350               49.9             $17,4654
 3            Gustin Ham                 $225               48.4              $10,890
 4             TOTAL                                                        $1,215,800
 5

 6                                    COSTS & EXPENSES
            38.       In or about July 2019, Larry Organ contacted me to obtain my
 7
     assistance in litigating this matter. Mr. Organ was located in San Anselmo,
 8
     California and was able to commute to San Francisco with far less expense.
 9
     However, he viewed my previous successful trial experience in trying race
10
     discrimination matters, we believed that my addition to Mr. Organ’s trial team
11
     would prove to be of value, and that the benefits of my presence of the trial team
12   would far any additional expenses incurred as a result of my addition would
13   experience and accomplishments as an invaluable asset to the case which
14   reasonably would outweigh the increased cost of my travel time.
15          39.       Because my office is located in Southern California, out-of-town
16   expenses were necessarily incurred in order for me to act as co-counsel in trying
17   this matter. Courts routinely allow non-local counsel to recover out-of-town travel
     costs for trial. See Genesis Merch. Partners, LP v. Nery's USA, Inc., (S.D. Cal.
18
     Dec. 6, 2013) 2013 WL 12094825 at *10 (applying California Civil Procedure
19
     Code 1033.5); see generally Thon v. Thompson (1994) 29 Cal. App. 4th 1546,
20
     1548 (deposition travel reimbursements allowed for attorneys not in the same
21
     jurisdiction as the presiding court). Additionally, I sought to be prudent with the
22
     costs I incurred, including specifically staying at the same hotel as defense counsel
23   did for trial.
24          40.       Because my office is located in Southern California, the following
25   out-of-town expenses were necessarily incurred in order for me to act as co-
26   counsel in trying this matter.
27          41.       Flight expenses were incurred, which totaled $3,487.76:
28

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 1               Date                         Description                       Expense
 2       December 17, 2019      Southwest Flight - MSJ Hearing             $536.96
 3       January 16, 2020       Southwest Flight - MSC Hearing             $535.96

 4       September 10, 2021     Southwest Flight – 1st Trial               $262.97
         September 30, 2021     Southwest Flight - 1st Trial               $54.99
 5
         March 16, 2023         Southwest Flight – 2nd Trial Prep          $753.96
 6
         March 22, 2023         Southwest Flight – 2nd Trial – Part 2      $649.96
 7
         April 2, 2023          Southwest Flight – 2nd Trial – Part 2      $692.96
 8
                                TOTAL                                      $3,487.76
 9
              42.   Hotel expenses were incurred, which totaled $13,592.55:
10

11               Date                         Description                      Expenses
12       December 17, 2019      InterContinental Hotel Stay - MSJ          $266.67
13       October 6, 2021        InterContinental Hotel Stay 1st Trial 1    $5,672.85
14       March 16, 2023         InterContinental Hotel Stay 2nd Trial      $2,826.16
15       March 17, 2023         Expedia Hotel Reservation: Gables          $2,084.78
16                              Inn – Sausalito – 2nd Trial Prep 2
17                              (3/17/23-3/23/23)
18       March 23, 2023         InterContinental Hotel Stay 2nd Trial      $2,426.94
                                (3/24/23 – 4/1/23)
19
         April 3, 2023          IHG Hotel Stay – 2nd Trial (4/3/23-        $315.15
20
                                4/4/23)
21
                                TOTAL                                      $13,592.55
22

23
              43.   Rideshare expenses were incurred, which total $784.27:
24

25   1
       Note that Tesla’s initial defense attorneys, Tracey Kennedy and her Shepherd
26   Mullin Los Angeles trial team, also stayed at the InterContinental Hotel.
     2
       In order to prepare for the 2nd trial, I initially stayed at the Gables Inn in Sausalito
27
     for several days, a hotel in relatively close proximity to Mr. Organ’s office.
28

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 1

 2               Date                         Description                     Expenses
 3    Sept.-Oct. 2021           Ubers - 1st Trial                          $157.39

 4    March 24, 2023            Ubers – 2nd Trial                          $37.79
      March 24, 2023            Ubers – 2nd Trial                          $41.96
 5
      March 25, 2023            Ubers – 2nd Trial                          $73.58
 6
      March 26, 2023            Ubers – 2nd Trial                          $55.16
 7
      March 28, 2023            Ubers – 2nd Trial                          $12.98
 8
      March 29, 2023            Ubers – 2nd Trial                          $71.35
 9
      March 30, 2023            Ubers – 2nd Trial                          $78.18
10
      March 30, 2023            Ubers – 2nd Trial                          $101.09
11    March 30, 2023            Ubers – 2nd Trial                          $10.60
12    March 31, 2023            Ubers – 2nd Trial                          $13.60
13    April 2, 2023             Ubers – 2nd Trial                          $40.75
14    April 4, 2023             Ubers – 2nd Trial                          $12.97
15    April 4, 2023             Ubers – 2nd Trial                          $76.87
16                              TOTALS                                     $784.27
17

18                          A MULTIPLIER IS WARRANTED
           44.     As reflected in the attached billing records, I billed 960.4 hours during
19
     the pendency of this matter, as of October 20, 2023.
20
           45.     As Plaintiff's counsel, we are a staggered multiplier in this case: a 2.0
21
     multiplier for all hours from inception through October 5, 2021, the timeframe that
22
     resulted in an initial verdict of $136.9 million; a 1.5 multiplier for the timeframe of
23
     October 6, 2021 to February 6, 2022, the timeframe for upholding a finding of
24   liability for racial discrimination; and 1.2 for the timeframe after February 6, 2022.
25   This multiplier recognizes the exceptional risks involved in prosecuting this case,
26   in which very significant costs and fees were at risk during the pendency of this
27   case. The skill, expertise, and experience exhibited by myself, my firm, and Mr.
28   Organ and Mr. Collier’s firms warrant the application of a multiplier in this case.

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 1         46.       In agreeing to accept a case on contingency, plaintiff's counsel must
 2   contemplate the prospect of carrying the expenses through final resolution, with no
 3   guarantee that expenses will be recouped. Many contingent cases are lost,
     resulting in no fee to the plaintiff's attorney. Other cases settle for amounts that
 4
     result in a contingency fee far below the actual fees expended by plaintiff's
 5
     counsel. If the plaintiff's counsel can only hope to recover the actual time spent,
 6
     even when a case goes all the way to trial after years of litigation and the plaintiff
 7
     prevails, the risks in taking such cases would so greatly outweigh any potential
 8
     “upside” that small firms like mine simply could not afford to accept such cases.
 9   Contingency cases against large entities are fraught with peril, but typically have
10   the benefit of a decision-maker who performs a cost-benefit analysis. In this case,
11   Defendant apparently ignored such an analysis and determined to force Plaintiff to
12   try the case.
13         47.       As part of my practice, I am often approached to act as lead trial
14   counsel in matters such as this. Due to handling this trial, I was forced to reject
     several new matters which would have been accepted at the inception of litigation
15
     and later throughout the Diaz litigation.
16
           48.       In this case, Plaintiff worked at Tesla for a brief nine (9) months, and
17
     was terminated after he was unable to return to work at Tesla, due to the hostile
18
     work environment based on race. The limited length of Mr. Diaz’ employment
19
     was used against him, as was his instance of complaining in writing about Tesla
20   misconduct as to other matters.
21         49.       In this case, despite persistent efforts by the Magistrate Judge, Tesla
22   failed to make any offer of settlement, and instead invested substantial resources in
23   defending the case based on its premise of a “Zero tolerance” policy for racial
24   harassment.
25         50.       And, despite the first jury awarding punitive damages of
     $130,000,000 for Tesla’s conduct, within minutes of the verdict the Tesla Human
26
     Resource person, Valerie Capers Workman, sent out an email to employees
27
     rejecting the verdict as unjustified and unwarranted.
28

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      DECLARATION OF J. BERNARD ALEXANDER, III IN SUPPORT OF ATTORNEY FEES
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 1   https://www.tesla.com/blog/regarding-todays-jury-verdict. Some of what Ms.
 2   Workman had to say was that:
 3         • While they all agreed that the use of the n-word was not appropriate in
                 the workplace, they also agreed that most of the time they thought the
 4
                 language was used in a “friendly” manner and usually by African-
 5
                 American colleagues. They also told the jury about racist graffiti in the
 6
                 bathrooms, which was removed by our janitorial staff;
 7
           • There was no witness testimony or other evidence that anyone ever heard
 8
                 the n-word used toward Mr. Diaz.
 9         • Mr. Diaz . . . didn’t make any complaints about the n-word until after he
10               was not hired full-time by Tesla – and after he hired an attorney.
11         • … [W]e strongly believe that these facts don’t justify the verdict
12               reached by the jury in San Francisco.
13         51.      This is the level of intransigence that Plaintiff’s counsel faced from
14   Tesla throughout the pendency of this lawsuit. A few short minutes after the
     verdict, Ms. Workman’s first thought was to protect the image of Tesla at the
15
     expense of the truth.
16
           52.      When Plaintiff's counsel takes the substantial risk involved in
17
     representing an employee in a Title VII or California FEHA discrimination case,
18
     Plaintiff's counsel should be rewarded not only for the legal acumen, but also for
19
     the substantial effort and persistence necessary in order to stay the course in
20   seeking justice. That principle is demonstrated by the adversity Plaintiff counsel
21   overcame in prevailing over the efforts of Tesla in this case.
22         53.      Additionally, after Plaintiff’s counsel was enormously successful in
23   persuading the jury of Plaintiff’s entitlement to damages, twice, after having his
24   damages award significantly reduced, Plaintiff’s counsel also had to deal with
25   suppression of evidence by defense counsel.

26         I declare under penalty of perjury under the laws of the United States of

27   America that the foregoing is true and correct.

28         Executed this 24th day of October 2023, in the County of Los Angeles, State

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 1   of California.
 2
                                     J. Bernard Alexander, III
 3
                                       J. BERNARD ALEXANDER, III
 4

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                   Exhibit 1
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                   Exhibit 2
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  7
  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11      MICHAEL ASFALL,                          Case No.: 18-cv-00505-CBM
  12            Plaintiﬀ,
                                                   ORDER RE: DKT. NO. 233; DKT.
  13      vs.                                      NO. 214
  14      LOS ANGELES UNIFIED SCHOOL
          DISTRICT,
  15
                Defendant.
  16
  17
                  e matter before the Court is Plaintiﬀ’s Motion for Relief From Late Filing
  18
         of Attorney’s Fees and Costs (the “Relief Motion”) (Dkt. No. 233), and Motion for
  19
         Attorney’s Fees and Costs (the “Fee Motion”) (Dkt. No. 214).      e Relief Motion
  20
         is fully briefed. (See Dkt. No. 234 (Opp.); Dkt. No. 235 (Reply).)      e Fee
  21
         Motion is fully briefed. (Dkt. No. 216 (Opp.); Dkt. No. 218 (Reply).)
  22
                                       I. BACKGROUND
  23
                LAUSD terminated Plaintiﬀ from his coaching position at Harbor Teacher
  24
         Preparation Academy in retaliation for complaints Plaintiﬀ made concerning the
  25
         allegedly inequitable treatment of the girls’ soccer program as compared to the
  26
         boys’ basketball program.    e case was tried to a jury. Defendant moved for
  27
         judgment as a matter of law during trial, which was submitted.       e jury returned a
  28

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  1      verdict finding LAUSD liable to Plaintiﬀ for retaliation under Title IX and
  2      awarded $100,000 in damages, but not liable for retaliation under Cal. Labor Code
  3      § 1102.5. (Dkt. No. 174 (Verdict).) Judgment was entered on February 24, 2020.
  4            After trial, Plaintiﬀ moved for post-verdict injunctive relief, which the
  5      Court denied on February 11, 2020. (See Dkt. No. 191.) Over two months later,
  6      Defendant filed a motion for renewed judgment as a matter of law or, in the
  7      alternative, a motion for new trial, which the Court denied on May 19, 2020. (See
  8      Dkt. No. 198.) On June 8, 2020, Defendant filed a notice of appeal of the order
  9      denying judgment as a matter of law or a new trial.
  10           Plaintiﬀ filed the Fee Motion on July 14, 2020. Defendant argues in
  11     Opposition that the Fee Motion is untimely.     ereafter, Plaintiﬀ filed the Relief
  12     Motion regarding the purported untimely filing of the Fee Motion.
  13                                   II. JURISDICTION
  14              e Court has jurisdiction over this action under 28 U.S.C. § 1331.
  15                                    III. DISCUSSION
  16     A.       e Fee Motion Is Untimely
  17           When a separate document embodying the judgment is not entered but is
  18     required, then “judgment is entered in the civil docket … [when] 150 days have
  19     run from the entry in the civil docket.” Fed. R. Civ. P. 58(c)(2)(B).    e verdict
  20     was entered on the civil docket on September 25, 2019.       erefore, judgment
  21     entered by operation of law on February 24, 2020. See Orr v. Plumb, 884 F.3d
  22     923, 929 (9th Cir. 2018) (“[E]ntry of the jury special verdict started the 150-day
  23     countdown…”).
  24           A motion for attorney’s fees must “be filed no later than 14 days after the
  25     entry of judgment[.]” Fed. R. Civ. P. 54(d)(2)(B)(i).    e 14-day period in which a
  26     motion for attorney’s fees must be filed is tolled pending the outcome of post-trial
  27     motions under Fed. R. Civ. P. 50 or 59. See Bailey v. County of Riverside, 414
  28     F.3d 1023, 1024 (9th Cir. 2005). “    erefore, the Rule 54(d)(2)(B) motion for fees

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  1      is timely if filed no later than 14 days after the resolution of a Rule 50(b), Rule
  2      52(b), or Rule 59 motion.” Id.
  3            Here, the time for filing the Fee Motion was tolled from February 24, 2020
  4      to May 19, 2020, the date on which the Court denied Defendant’s Rule 50 and
  5      Rule 59 motions. (See Dkt. No. 198.)        erefore, the Fee Motion was due on June
  6      2, 2020, fourteen days after May 19, 2020. Plaintiﬀ did not file the Fee Motion
  7      until July 14, 2020. (See Dkt. No. 214.)
  8                 us, the Court finds the Fee Motion is untimely.
  9      B.         e Relief Motion
  10           “When an act may or must be done within a specified time, the court may,
  11     for good cause, extend the time … on a motion made after the time has expired if
  12     the party failed to act because of excusable neglect.” Fed. R. Civ. P. 6(b). To
  13     determine whether Plaintiﬀ acted with excusable neglect, the Court applies a
  14     factor test set out in Pioneer Inv. Services Co. v. Brunswick Associates Ltd.
  15     Partnership, 507 F.3d 380, 395 (1993). Factors to be considered are: (1) whether
  16     Defendant would be prejudiced by the late filing; (2) the length of the delay and
  17     impact on eﬃcient court administration; (3) the reason for the delay, including
  18     whether it was in reasonable control of the Plaintiﬀ; and (4) whether Plaintiﬀ and
  19     his counsel acted in good faith. Id. at 395.
  20           1.      Prejudice to Defendant
  21           Defendant argues it will be prejudiced if Plaintiﬀ is permitted to file his
  22     motion for attorney’s fees because an untimely Fee Motion deprives Defendant
  23     “of the opportunity to evaluate the motion and fees sought before having to retain
  24     an appellate attorney and file a notice of appeal,” will result in a separate appeal
  25     being filed, will result in budgeting uncertainties for the school district, has
  26     required expenditure of additional money to oppose the Relief Motion, and may
  27     aﬀect the speed at which the appeal is resolved. (Dkt. No. 234 at p. 12:9-28.)
  28

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  1                 e Court rejects Defendant’s arguments. Under Fed. R. App. 4(1)(A),
  2      Defendant was required to notice an appeal by June 19, 2020, 30 days after the
  3      Court denied Defendant’s Rule 50 and Rule 59 motion on May 19, 2020. See Fed.
  4      R. App. 4(1)(A). As Plaintiﬀ argues, if the Fee Motion was timely filed on June 2,
  5      2020, the earliest hearing date for the Fee Motion would be June 30, 2020. See
  6      C.D. Cal. L.R. 6-1.     us, Defendant would have been required to notice a
  7      separate appeal of a timely-filed motion for attorney’s fees if that motion was
  8      granted. Moreover, the cost of defending the Relief Motion and Fee Motion
  9      cannot constitute prejudice.
  10           2.      Length of Delay
  11           “Failure to comply with the time limit in Rule 54 is suﬃcient reason to deny
  12     a motion for fees absent some compelling showing of good cause.” In re Veritas
  13     Software Corp. Securities Litig., 496 F.3d 962, 972-73 (9th Cir. 2007) (citing Kona
  14     Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 889-90 (9th Cir. 2000)).
  15           Plaintiﬀ delayed 28 days before filing the Fee Motion. Courts have found
  16     lengthier delays to be reasonable. See Laurino v. Syringa General Hosp., 279 F.3d
  17     750, 754 (9th Cir. 2002) (finding five-week delay not unreasonable); see also In re
  18     Veritas, 496 F.3d at 974 (“While the district court would not have abused its
  19     discretion in granting [an untimely] fee application, it did not abuse its discretion
  20     in denying it.”).
  21           Accordingly, the Court finds that the length of the delay was not
  22     unreasonable in this case.
  23           3.      Reason for the Delay and Good Faith
  24           Plaintiﬀ argues his counsel filed the Fee Motion late because they were
  25     confused about when the motion was due without a separate judgment, especially
  26     considering the long delay before Defendant filed their Rule 50 and Rule 59
  27     motion. Plaintiﬀ contends his counsel “acted promptly when he discovered there
  28     may be an issue” with the timeliness of his Fee Motion. In Pincay v. Andrews, 389

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  1      F.3d 853, 860 (9th Cir. 2004), the Ninth Circuit aﬃrmed an order granting
  2      extension of the time to file the notice of appeal where the movant argued
  3      excusable neglect based upon a misreading of the rules of procedure. Moreover,
  4      the Ninth Circuit has recognized the separate document requirement exists to
  5      prevent confusion for post-verdict motions and appeals. Casey v. Albertson’s Inc.,
  6      362 F.3d 1254, 1258 (9th Cir. 2004) (citation omitted).
  7            Defendant argues the rule for automatic entry of judgement is clear, and
  8      Plaintiﬀ does not explain the basis for his belief that the federal rules of civil
  9      procedure did not apply, nor why he did not move for attorney’s fees after the
  10     denial of the post-trial motions.
  11                 e Court finds Plaintiﬀ acted based on excusable neglect and in good faith.
  12     Plaintiﬀ diligently filed the Fee Motion upon learning of his error and appears to
  13     have delayed in filing the Fee Motion under a mistaken belief that a separate
  14     document constituting a judgment was required before the Fee Motion could be
  15     filed. A negligent mistake by counsel in reading a rule “represents the beginning
  16     of our inquiry as to whether the negligence is excusable, not the end of it.”
  17     Pincay, 389 F.3d at 858-59. Under the circumstances of this case, the prejudice
  18     Plaintiﬀ will suﬀer if the Relief Motion is denied outweighs the prejudice to
  19     Defendant.
  20                 erefore, the Court GRANTS the Relief Motion and consider the Motion
  21     for Fees.
  22     C.          e Fee Motion
  23           Plaintiﬀ seeks $1,160,748 in attorney’s fees, based on the total hours
  24     worked multiplied by the billing rate of the attorney, plus a lodestar multiplier of
  25     2.0 “due to the diﬃcult nature of this case and the outstanding result.” (Dkt. No.
  26     214 at p. 6:3-10.)
  27                 e Court, within its discretion, may award Plaintiﬀ attorney’s fees
  28     pursuant to 42 U.S.C. § 1988. See also Hensley v. Eckerhart, 461 U.S. 424, 429

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  1      (1983) (“     e purpose of [Section] 1988 is to ensure ‘eﬀective access to the
  2      judicial process’ for persons with civil rights grievances.”). “             e Supreme Court
  3      has instructed that ‘[t]he initial estimate of a reasonable attorney’s fee is properly
  4      calculated by multiplying the number of hours reasonably expended on the
  5      litigation times a reasonable hourly rate,’ an approach commonly known as
  6      ‘lodestar.’” Vargas v. Howell, 949 F.3d 1188, 1194 (9th Cir. 2020) (citation
  7      omitted). “Reasonable hourly rates ‘are to be calculated according to the
  8      prevailing market rates in the relevant community.’ ” Id. (citation omitted.) In
  9      addition, the Ninth Circuit has “identified no fewer than 12 factors ‘to be
  10     considered in the balancing process.’ ” Id. (quoting Kerr v. Screen Extras Guild,
  11     Inc., 526 F.2d 67, 70 (9th Cir. 1975)).1
  12            Plaintiﬀ was the prevailing party on one of his claims and is therefore
  13     entitled to attorney’s fees. See Hensley, 461 U.S. at 434, 436.
  14            1.      Billing Rate and Hours
  15                    a.      Jay Bernard Alexander, III
  16                        i.    Billing Rate
  17            Jay Bernard Alexander, III (“Alexander”) bills at a rate of $950.00 per hour.

  18     (Alexander Decl. at ¶ 28.) Alexander’s billing rate reflects his thirty years of

  19     experience, specialty in employment cases, history of success in employment

  20     litigation, and designation as a “Top 100 Southern California Super Lawyer[], by

  21     Los Angeles Magazine and Law & Politics.” (See id. at ¶¶ 3-19.) Alexander also

  22
         1
             e factors from Kerr, 526 F.2d at 69-70, are:
  23                     (1) the time and labor required, (2) the novelty and diﬃculty of the
                         questions involved, (3) the skill requisite to perform the legal
  24
                         services properly, (4) the preclusion of other employment by the
  25                     attorney due to acceptance of the case, (5) the customary fee, (6)
                         whether the fee is fixed or contingent, (7) time limitations imposed
  26                     by the client or the circumstances, (8) the amount involved and the
                         results obtained, (9) the experience, reputation, and ability of the
  27                     attorneys, (10) the ‘undesirability’ of the case, (11) the nature and
  28                     length of the professional relationship with the client, and (12)
                         awards in similar cases.
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  1      submits declarations from experienced attorneys who practice in the civil rights

  2      and employment arenas, who attest to the experience and skill of Alexander and

  3      confirm that his billing rate is reasonable. (See Decl. of V. James Desimone at ¶¶

  4      10-11; Decl. of Lee Feldman at ¶¶ 11, 13; Decl. of Carol L. Gillam at ¶ 13.)

  5      Additionally, courts have approved Alexander’s $850 per hour billing rate for

  6      2018. (Alexander Decl. at Ex. 3, 4, 5.) Defendant argues that Alexander has

  7      limited experience in the civil rights area such that his hourly rate should be

  8      reduced, however the claims at issue in the trial were for retaliation under Title IX

  9      and California law arising from the termination of Plaintiﬀ, where Alexander’s

  10     employment specialty was transferrable.

  11           Based on these submissions, the Court finds a billing rate of $950.00 per

  12     hour is reasonable for Alexander.

  13                         ii.    Hours Billed
  14           Alexander billed 323.1 hours during the pendency of this matter.
  15     (Alexander Decl. at ¶ 38.) Exhibit 2 to Alexander’s declaration is an invoice
  16     reflecting the total hours he worked, as well as his associates. Defendant argues
  17     the attorney’s fees claimed by Alexander should be reduced to the extent he claims
  18     work billed for the defamation claim, duplicative billing, inter-oﬃce
  19     correspondence, administrative tasks, and an appeal. (Dkt. No. 216-1 (Decl. of
  20     Vanessa Martinez) at Ex. A-F.)
  21           Defamation
  22              e Ninth Circuit holds “that, while hours spent on an unsuccessful claim
  23     ‘that is distinct in all respects from [the plaintiﬀ’s] successful claim’ should be
  24     excluded, ‘[w]here a lawsuit consists of related claims, a plaintiﬀ who has won
  25     substantial relief should not have his attorney’s fees reduced simply because the
  26     district court did not adopt each contention raised.’ ” Ibrahim v. U.S. Dep’t of
  27     Homeland Security, 912 F.3d 1147, 1174 (9th Cir. 2019) (quoting Hensley, 461
  28     U.S. at 440). To determine whether claims are related, the Ninth Circuit “do[es]

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  1      not require commonality of both facts and law,” but rather asks “whether the
  2      unsuccessful and successful claims arose out of the same course of conduct.” Id.
  3      (italics in original, internal quotation marks and citations omitted).
  4            Here, Plaintiﬀ asserted a claim for defamation, which the Court dismissed
  5      on summary judgment. (See Dkt. No. 73.)         erefore, Plaintiﬀ did not prevail on
  6      that claim. Moreover, Plaintiﬀ’s claim for defamation did not arise from the same
  7      course of conduct as his successful Title IX claim. While the Title IX claim
  8      alleged Defendant retaliated against Plaintiﬀ for events which occurred during his
  9      employment, the defamation claim involved statements made by employees of
  10     Defendant after Plaintiﬀ had been terminated. (See id. at p. 9:26-10:6.)
  11              erefore, the Court reduces the attorney’s fee award for time spent on the
  12     defamation claim. Accordingly, the Court excludes 17.7 hours billed by
  13     Alexander for work related to the defamation claim.
  14           Duplicative Billing
  15           Courts “examine with skepticism claims that several lawyers were needed
  16     to perform a task, and should deny compensation for such needless duplication as
  17     when three lawyers appear for a hearing when one would do.” Democratic Party
  18     of Wash. State v. Reed, 388 F.3d 1281, 1286 (9th Cir. 2004) (internal citations
  19     omitted).
  20           Defendant identifies instances in which Alexander and others participated in
  21     the same client meetings, reviewed the same emails and documents, and prepared
  22     for and attended the same deposition and mediation.       e Court finds the time
  23     billed by multiple lawyers was reasonable, except for time billed by multiple
  24     attorneys for attending the deposition of Brian Groven and the mediation.       e
  25     Court awards Alexander fees for that time, but will exclude time billed by other
  26     lawyers at his firm for the same meetings.
  27           Inter-Oﬃce Correspondence
  28

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  1              Alexander billed 16.3 hours for services such as sending and reviewing
  2      emails, as well as discussions and meetings with lawyers and paralegals at the
  3      firm.     ose activities total $15,485 at Alexander’s billing rate.           e Court
  4      acknowledges that interoﬃce communication is necessary, but an award of the
  5      total time Alexander billed for interoﬃce communication in this matter is
  6      unreasonable.       erefore, the Court reduces the award to $7,600, reflecting 8 hours
  7      for interoﬃce communication billed at $950 per hour.
  8              Clerical Tasks
  9              “Purely clerical or secretarial tasks should not be billed” at the rate of
  10     lawyers or paralegals, “regardless of who performs them[.]” Missouri v. Jenkins,
  11     491 U.S. 274, 288 n. 10 (1989).
  12             Here, Alexander billed 0.3 hours to review his calendar.              at is not legal
  13     work, and the Court reduces the fee award by 0.3 hours.
  14             Appeal
  15             Although the Ninth Circuit has not addressed this issue, the Eleventh
  16     Circuit has held that a district court is not permitted to award attorney’s fees
  17     rendered for an appeal because the rules of the appellate court govern the award of
  18     fees on appeal. Common Cause/Georgia v. Billups, 554 F.3d 1340, 1356-57 (11th
  19     Cir. 2009). Because the Ninth Circuit requires litigants to apply for fees through
  20     the procedures of Fed. R. App. P. 39-1.6, the Court finds Plaintiﬀ is precluded
  21     from obtaining fees for work performed for an appeal.
  22             Alexander billed 1.8 hours for services related to the appeal by Defendant.
  23     Accordingly, the Court reduces the billing hours of Alexander by 1.8 hours.
  24               erefore, the Court finds that the lodestar for Alexander’s work is
  25     $280,250, reflecting 295 hours billed at a rate of $950.00 per hour.2
  26
  27
         2
  28          e attorney’s fee award includes Alexander’s services on this case from its inception through
         trial, participation in discovery, and motion practice, reduced consistently with this order.
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1                  b.     Tracy Fehr
2           Tracy Fehr (“Fehr”) billed 6.3 hours at a billing rate of $650 per hour. (Fehr
3     Decl. at ¶¶ 10, 16.) Fehr’s billing rate reflects her fifteen years of experience,
4     specialty in employment law, and designation as a “Southern California ‘Rising
5     Star’ by Super Lawyers Magazine.” (Id. at ¶¶ 4-5, 9.) A court approved her
6     billing rate of $595 per hour in 2018. (Id., Ex. 4.) Defendant does not argue
7     Fehr’s billing rate is unreasonable.      erefore, the Court finds a billing rate of
8     $650.00 per hour is reasonable for Fehr.
9           Fehr billed 3.8 hours for services rendered on this matter, including
10    assisting with the motion for summary judgment and mediation. (Fehr Decl. at ¶
11    15; see also Alexander Decl., Ex. 2.) Fehr billed 2.5 hours assisting in the pending
12    appeal, which the Court excludes.
13          Accordingly, the Court finds that the lodestar for Fehr’s work is $2,470,
14    reflecting 3.8 hours billed at a rate of $650 per hour.
15                 c.     Jessica Choi
16          Jessica Choi (“Choi”) billed 289 hours at an hourly rate of $350 per hour.
17    (See Fee Motion at p. 16:1-9; see also Alexander Decl. at Ex. 2.) Choi has not
18    filed a declaration in support of her motion for fees because she is no longer
19    employed by Alexander Krakow & Glick, LLP, although the parties agree Choi
20    would be a third-year associate if she continued with that firm. Plaintiﬀ submits
21    declarations from experienced attorneys who practice in the employment and civil
22    rights law, who declare that a billing rate of $350 per hour is reasonable for a
23    third-year associate. (See Gillam Decl. at ¶ 13; Desimone Decl. at ¶ 11; Feldman
24    Decl. at ¶ 15.) Plaintiﬀ submits no evidence reflecting the specialty or experience
25    of Choi, and Choi billed significantly while she was a first-year associate, which
26    requires additional supervision.       erefore, the Court finds a reduced billing rate of
27    $250 per hour is reasonable.
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1              e Court finds Choi billed 83.8 hours on work related to Plaintiﬀ’s
2     unsuccessful defamation claim. Moreover, the Court finds Plaintiﬀ’s fees are
3     duplicative regarding Choi’s attendance at a client meeting at which Alexander
4     was present, as well as multiple reviews of trial documents and emails.
5     Duplicative fees total 2.2 hours. Additionally, the Court finds Choi billed 12.5
6     hours for inter-oﬃce correspondence and 0.2 hours for clerical tasks, which were
7     unreasonable.
8           Accordingly, the Court finds a lodestar amount of $47,575 for Choi’s work
9     is reasonable, reflecting 190.3 hours billed at a $250 per hour billing rate.
10                  d.    Britt L. Karp
11          Britt L. Karp (“Karp”) billed 311 hours for services rendered in this case at
12    a billing rate of $475 per hour. (Karp Decl. at ¶¶ 7, 12.) Karp’s billing rate
13    reflects her nine years of experience in litigation, and significant experience in
14    trials and arbitration. (Id. at ¶¶ 3, 5-6.) Moreover, Karp attaches declarations filed
15    in support of a motion for fees in California Superior Court and the Central
16    District, which evidence that her billing rate is within the range of other firms in
17    the community. Defendant does not dispute the reasonableness of Karp’s billing
18    rate. Accordingly, the Court finds Karp’s billing rate of $475 per hour is
19    reasonable.
20             e Court finds Karp billed 2.1 hours on work related to Plaintiﬀ’s
21    unsuccessful defamation claim. Moreover, the Court finds Karp billed 10.7 hours
22    in duplicative work, including attendance at a deposition and mediation in which
23    Alexander was present, and 0.7 hours on clerical tasks, which was unreasonable.
24    Additionally, Karp billed 2.7 hours on work related to an appeal, which the Court
25    excludes.
26          Accordingly, the Court finds a lodestar amount of $140,030 for Karp’s work
27    is reasonable, reflecting 294.8 hours of work billed at a rate of $475 per hour.
28

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1                  e.    Gustin Ham
2           Gustin Ham (“Ham”) is an Oﬃce Manager at Alexander Krakow & Glick,
3     LLP, who performs paralegal work. (Ham Decl. at ¶¶ 1, 4.) Ham bills at a rate of
4     $210 per hour for paralegal work, and his rate of $195 per hour has been approved
5     in three cases. (Id. at ¶¶ 5-6.) Plaintiﬀ submits declarations from experienced
6     attorneys who practice in the employment and civil rights law, who declare that
7     this billing rate is reasonable. (See Gillam Decl. at ¶ 13; Desimone Decl. at ¶ 11;
8     Feldman Decl. at ¶ 15.) Defendant does not dispute that this is a reasonable
9     billing rate for an experienced paralegal. Accordingly, the Court finds Ham’s
10    billing rate of $210 per hour is reasonable.
11          Although the billing record reflects that Ham billed 50.6 hours for attending
12    trial, Ham declares that he billed only 24.7 paralegal hours in this matter. (Ham
13    Decl. at ¶ 9.) Defendant argues that Ham performed non-paralegal tasks at trial,
14    but Ham’s declaration indicates he helped to “prepare all of Plaintiﬀ’s exhibits for
15    use at trial, coordinated with witnesses and managed the audio-visual presentation
16    of all exhibits, videotaped deposition testimony, and Plaintiﬀ’s closing argument
17    PowerPoint.” (Id. at ¶ 7.)
18             e Court finds that reasonable paralegal fees in this action are $5,187,
19    reflecting 24.7 hours billed at a reasonable rate of $210 per hour.
20                 f.    Natalie Khoury
21          Natalie Khoury (“Khoury”) is a “law clerk” who billed 15.91 hours at a
22    billing rate of $225, for a total of $3,580. Khoury has not filed a declaration
23    explaining her billing rate, although Alexander declares he “is familiar with the
24    rates charged for law clerks” and therefore “set a reasonable rate of $225 per hour
25    for her.” (Alexander Decl. at ¶ 29.) No other evidence supports her billing rate,
26    nor does Plaintiﬀ provide authority in which the services of a law clerk are
27    recoverable on a motion for attorney’s fees.
28

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1                erefore, the Court does not award fees based on the hours billed by
2     Khoury.
3                                       * *       *      *      *     *
4              Accordingly, the Court finds $475,512 in attorney’s fees is reasonable in
5     this case.
6     D.         e Court applies a multiplier of 1.1 in this case
7              Plaintiﬀ moves the Court to apply a multiplier of 2.0 to the fee award. “In
8     appropriate cases, the district court may adjust the ‘presumptively reasonable’
9     lodestar figure based upon the factors listed in [Kerr, 526 F.2d at 69-70].” Cairns
10    v. Franklin Mint Co., 292 F.3d 1139, 1158 (9th Cir 2002) (citations omitted).
11    Courts “need not consider all twelve factors, but only those called into question by
12    the case at hand and necessary to support the reasonableness of the fee award.”
13    Kessler v. Assocs. Fin. Servs. Co. of Hawaii, 639 F.2d 498, 500 n.1 (9th Cir. 1981).
14             Here, the Kerr factors do not support awarding Plaintiﬀ a multiplier of 2.0.
15    Plaintiﬀ argues a multiplier is justified because of the complexity of the claims and
16    the minimal loss suﬀered by Plaintiﬀ.        e Court finds those factors are already
17    encompassed by the lodestar amount awarded to Plaintiﬀ. However, the Court
18    recognizes that Plaintiﬀ’s counsel worked on contingency and that the Title IX
19    retaliation claim is a novel theory on which he prevailed.
20             Accordingly, the Court applies a 1.1 multiplier to the attorney’s fee award.
21         e total award in attorney’s fee, including a 1.1 multiplier, is $523,063.20.
22    E.       Plaintiﬀ is entitled to cover costs under Fed. R. Civ. P. 54(d)
23             “It is well established that attorney’s fees under 42 U.S.C. § 1988 include
24    reasonable out-of-pocket litigation expenses that would normally be charged to a
25    fee paying client, even if the court cannot tax these expenses as ‘costs’ under 28
26    U.S.C. § 1920.” Trustees of Cost. Indus. v. Redlands Ins. Co., 460 F.3d 1253,
27    1257 (9th Cir. 2006).
28

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1           Plaintiﬀ claims costs of $664.84 for fees related to service of process;
2     $6,495.00 for depositions, and $400 for Clerk’s Fees, totaling $7,559.84.        ose
3     items are taxable as costs under Local Rule 54-3, and Defendant does not dispute
4     the costs.
5              erefore, the Court awards $7,559.84 in costs.
6                                   IV. CONCLUSION
7              e Court GRANTS Plaintiﬀ’s Relief Motion (Dkt. No. 233) and
8     GRANTS Plaintiﬀ’s Fee Motion (Dkt. No. 214.)         e Court awards $523,063.20
9     in attorney’s fees and $7,559.84 in costs to Plaintiﬀ against Defendant.
10
11          IT IS SO ORDERED.
12
13    DATED: October 28, 2020.
14
15                                           CONSUELO B. MARSHALL
                                             UNITED STATES DISTRICT JUDGE
16
17                                           CC:FISCAL
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10/23/19
Dept. 73 (Hearing held at Spring Street Courthouse, Dept. 11)
Rafael Ongkeko, Judge presiding

HAROLD CARTER v. FEDERAL EXPRESS CORPORATION (BC658923)

Counsel for plaintiff: J. Bernard Alexander, III (Alexander Krakow Glick, "AKG"); Natasha
Chesler (Chesler McCaffrey)
Counsel for defendant: Charles Matheis; Stephanie Stroup

Matter:

Plaintiff's motion for attorney and expert fees (filed 7/26/19)

TENTATIVE RULING:

Plaintiff's motion for attorneys' fees: Grant in part; deny in part. Reasonable attorneys' fees
are awarded in favor of plaintiff and plaintiff's counsel, and against defendant Federal Express
Corporation in the amount of $957.076.50.

Plaintiff's motion for expert fees: Denied as moot. These cost items were itemized in
Plaintiff's memorandum of costs (filed 5/9/19). These items and the total for such items sought
here ($38,461) are identical and have already been included in the amended judgment.
Defendant did not file a motion to tax costs and approved the amended judgment as to form.

DISCUSSION

After eight trial days between March 12-22,2019, on March 25, 2019 the jury rendered its
special verdict in favor of Plaintiff, awarding compensatory damages in the amount of
$5,317,162 against Defendant. After the court ruled on Defendant's motion for new trial,
Plaintiff accepted a remittitur in lieu of a new trial on damages. On July 30, 2019, the court
entered the amended judgment in favor of Plaintiff against FedEx in the amount of $3,515,000.

Plaintiff timely] seeks an attorney fee award based on the following:

    •   Approximately 1174 hours of attorney time at four different billing rates;
    •   Approximately 112 hours of paralegal time at two different billing rates;
    •   A lodestar amount of $874,586.50;
    •   A requested multiplier of 2.0;
    •   For a total fee award requested in the amount of $1,749,173.




] Although filed before entry of the amended judgment, the motion remains timely under CRC
3. 1702(b). Timeliness is not in dispute.

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Plaintiff
      . . itemizes .the proposed lodestar with .the following
                                                            . table:
           -
        AttonIey/Staff            Hourly Rate            Hours S]Jent                Total

   J. Bernard Alexander. III           $850                  360.8                 $ 306.680

       Natasha Chesler                 $675                  741.5               5> 500,512.50

     Timothy McCaffrey                 $700                   46.9                  S 32,830
        Tracy L. Fehr                  $610                   253                   S 15.433
         Gustin Ham                    $210                   38,6                  $ R,106

         Noah Longo                    5150                   73.5                  S 11.025
           TOTAL                                                                  5874,586.50


Plaintiff then requests a 2.0 multiplier, or a total award of $1,749,173.

Defendant proposes $326,972,31, based entirely on the declaration of David Paige, FedEx's
proffered expert "in the standc.rds and practices of legal billing." (Opp.,2:22)

Plaintiff's reply was served by mail on 8/30/19 but does not show it has been entered in the
court's register as of this date. The court considers the reply, but orders Plaintiff to contact the
clerk forthwith to assure its entry for a proper record.

Entitlement to statutory attorney's fees and the lodestar method:

In this FEHA action, plaintiff's statutory entitlement to a discretionary award of reasonable fees
pursuant to Govt. Code § 12965(b) is not disputed. Although discretionary in language, in the
absence of special circumstances rendering a fee award unjust, a prevailing party in a FEHA
action should ordinarily recover attorney's fees. (Cummings v. Benco Bldg. Services (1992) 11
Cal. App. 4th 1383, 1387.)

As in other fee-shifting statutes, "The objective starting point in the attorney fee analysis is the
lodestar figure, (Citation omitted.) The lodestar figure is calculated using the reasonable rate for
comparable legal services in the local community for noncontingent litigation of the same type,
multiplied by the reasonable number of hours spent on the case ... "[tlhe reasonable hourly rate is
that prevailing in the community for similar work". (Citations omitted) (Nichols v. City of Taft
(2007) 155 Cal.App.4lh 1233,1242-1243 (Italics in original).)



, The itemized billing for Timothy McCaffrey shows erroneous totals of 50.9 hours and, at
$700/hr., $35,630. (Ex. 6) When compared to the actual numbers requested in the motion (46.9
and $32,8930, respectively), this was an obvious four-hour ($2800) error on its face, but
Defendant's fee expert, David Paige, said "I am unable to determine what the $2,800
discrepancy relates to ... " (Paige declaration, Ex. 3, p.3, fn.!)
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The trial court "has discretion to make upward or downward adjustments" to the lodestar.
(Gorman v. Tassajara Development Corp. (2009) 178 Cal.App.4th 44,58.) "[T]he lodestar is
the basic fee for comparable legal services in the community; it may be adjusted by the court
based on factors including, as relevant herein, (I) the novelty and difficulty of the questions
involved, (2) the skill displayed in presenting them, (3) the extent to which the nature of the
litigation precluded other employment by the attorneys, (4) the contingent nature of the fee
award .... " (Graciano v. Robinson Ford Sales, Inc. (2006) 144 Cal.App.4th 140, 154.)

Hours. Time records have been provided. While it is true that the court may disregard
counsel's time records if they are "padded and vague and therefore noncredible" and include
"entries inflated with noncompensable hours [that] destroy an attorney's credibility with the trial
court" [Christian Research Institute v. Aillor (2008) 165 Cal.App.4th 1315, 1324-1326], such is
not the case here. The work performed has been sufficiently described, particularly those offered
in support of the Alexander firm. Moreover, the court does not see evidence of padding in the
Chesler billings based on the liberal use of .1 increments throughout her work. However, "[t]he
trial court is not bound by an attorney's evidence in support of his [or her] requested fee." (Vella
v. Hudgins (1984) 151 Cal.App.3d 515, 524.)

'''[A]bsent circumstances rendering the award unjust, an attorney fee award should ordinarily
include compensation for all the hours reasonably spent' in litigating the action to a successful
conclusion. [Citation; emphasis in orig.]" (Horsford v. Ed. Of Trustees, etc. (2005) 132 Cal.App.4 th
359,394); see also Vo v. Las Virgelles MWD (2000) 79 Cal.App.4th 440, 446 ["[u]nder the lodestar
method, a party who qualifies for a fee should recover for all hours reasonably spent unless special
circumstances would render an award unjust"].)

Having reviewed Plaintiff's detailed time entries, the court finds that all of the hours expended
by Plaintiff's counsel are reasonable and were necessary to the prosecution of this case except
for the following special circumstances:

   •   Duplication of effort. The court finds it would be unjust to award the full amount
       requested. There was duplicate work approximating 25 hours to familiarize the AKG
       firm with the case in its role as lead trial counsel (such as reviewing past pleadings and
       motions, depositions, and the like) and earlier work summarizing depositions, for which
       the court deducts 8.3 hours from Chesler's work (summaries by paralegal specifically for
       trial preparation and use by Mr. Alexander are compensable); and
   •   Another is an area loosely described as requiring billing judgment, where there are
       various dual billings by both the Alexander firm and attorney Chesler for consulting and
       corresponding with each other, approximately 15 hours, to be deducted from the Chesler
       total (in recognition of Mr. Alexander's retention as lead trial counsel).

Plaintiff requests the Paige declaration be stricken for various reasons. The court declines to do
so. At the same time, however, the court finds this declaration lacks even minimal persuasive
weight. There is no solid or credible evidence of Paige's personal work undertaken in California
fee motions, much less contingency work in employment discrimination cases. He applies
across-the-board percentage deductions based on unfounded billing analysis and speculation:
blockbilling (AKG firms clearly did not blockbill; Chesler bills are concise, but generally

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sufficiently described; actual trial days are by nature patent and self-defining without need for
repeating known trial events); administrative, clerical, overhead (yes, but minimal and not
abusive); legal research over 3 hours (disability law is not cookie-cutter and can be problematic;
here, entries are acceptable to the court given the issues in the case); overqualified staffing (not
applicable in the court's opinion). Redactions appear generally appropriate, selective, and often
self-explanatory based on context, the events in the case, and dates involved. Because the court
accepts Plaintiff's hourly rates (discussed below), even if the court were to accept Paige's "Step
I" and "Step 3" analyses (Paige decl., Ex. 3, p.5-6, 21), the court calculates a lodestar at the
requested hourly rates would be $653,038.94.

FedEx vigorously defended this case with at least two, and, later, three, attorneys handling the
case from its inception through post-trial. As Plaintiff points out, FedEx has not submitted their
own time spent conducting FedEx' s defense to provide some measure of comparison to
Plaintiff's own time record. Paige did not consider defense costs in his own analysis.

The adjusted lodestar hours (deducting 25 hours from AKG and 23.3 from Chesler) are 1126.2
attorney hours and 112.1 paralegal hours. These hours represent a reasonable number of hours
that "an attorney might reasonably expect to spend in litigating [plaintiff's] claim." (Chavez v.
City of Los Angeles (2010) 47 Cal.4th 970, 991.) Plaintiff was a long-term employee whose 25-
year employment, complicated by a serious industrial injury and several job performance
reviews over time, required the kind of work that his attorneys expended in the face of a strong
defense. The time spent reflects a plaintiff's case that was well-prepared and presented in an
organized, efficient, and competent fashion in the face of a defense determined to proceed to
trial.

Apportionment of Fees is Impractical Because Carter's Claims are Intertwined

Defendant argues fees should be reduced based on Plaintiff's losing his claims of disability
discrimination, wrongful termination, and punitive damages, and the adverse finding on the same
decision defense. Apportionment is not required when the claims for relief are so intertwined
that it would be impracticable, if not impossible, to separate the attorney's time into compensable
and noncompensable units. (Akins v. Enterprise Rent-A-Car Co. of San Francisco (2000) 79
Cal.App.4th 1127, 1133-1134.) The courtrejects FedEx's narrow view of the case and the
litigation success achieved here. "[F]ees are not reduced when a plaintiff prevails on only one of
several factually related and closely intertwined claims. (Wysinger v. Automobile Club of
Southern California (2007) 157 Cal.App.4th 413, 431)." Chavez, supra, at 989.) Whether
plaintiff prevailed or not on each, or only some, of the causes of action, facts common to all of
them were necessarily investigated, covered in discovery, and litigated at trial. This was not a
case that had several independent moving parts, one wholly distinct and separable from the other.
In this FEHA disability discrimination action, the disability and notice prongs had to be proven
as predicates to the FEHA violations ultimately established, a point FedEx must necessarily
concede. All the facts were relevant to plaintiff's on-the-job injury, his disability-related claims,
such as the accommodation requests, FedEx's failure to engage in the interactive process, and
retaliation. For example, one could not discuss Cooper's and Wipf's involvement or the
progressive discipline issues without discussing all of these overlapping issues, including those
on which the jury eventually ruled in favor of FedEx. True, the jury did not conclude that FedEx


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discriminated against Plaintiff or wrongfully terminated him. However, Plaintiffs' counsel
adroitly established the key chronological events and disability predicates through skillful use of
discovery, direct testimony, exhibits, impeachment, and argument. Were it not for such effort,
the FEHA violations found here would not have materialized. " ... [LJitigation may involve a
series of attacks on an opponent's case. The final ground of resolution may become clear only
after a series of unsuccessful attacks. Compensation is ordinarily warranted even for those
unsuccessful attacks, to the extent that those attacks led to a successful claim. (Citation
omitted.)" (Akins, supra, aU 133.) Here, all of Plaintiff's claims are supported by the same
underlying conduct and cannot be distinguished and apportioned. The court finds the claims are
so intertwined that apportionment would be impractical, if not impossible.

Hourly rate. "The reasonable hourly rate is that prevailing in the community for similar work."
(PLCM Group v. Drexler (2000) 22 Cal.4th 1084, 1095.) Having over 40 years of experience in
the local legal community, the last 17 as a judge, and the last 10 in family and civil division
courts deciding many attorney fee motions, the court is very familiar with hourly rates for
attorneys in the local community, and, particularly in employment litigation. Here, the court
finds that each attorney's hourly rate is a reasonable rate for comparable legal services in the
L.A. metro area for noncontingent employment litigation and is adequately supported by the
evidence each provides. In particular, Plaintiff's lead trial counsel, Mr. Alexander has shown
that his thorough trial preparation, coming to the case three months before trial, and superb trial
advocacy merit his $850/hour rate. The court does not find the Paige hourly rate analysis
realistic, helpful or credible.

Lodestar. In accordance with the hours claimed (reduced as explained above) at the hourly rates
the court has found as reasonable, the court calculates the lodestar amount at $837,609.

Multiplier. Once a reasonable lodestar is determined, the trial court, if requested, must consider
whether to increase or decrease the award through a multiplier. (Ketchum v. Moses (2001) 24
Cal.4th 1122, 1134.) In the leading case of Serrano v. Priest, the California Supreme Court
approved a multiplier based on, among other factors: (1) the novelty and difficulty of the
questions involved, and the skill displayed in presenting them; (2) the extent to which the nature
of the litigation precluded other employment by the attorneys; (3) the contingent nature of the fee
award, both from the point of view of eventual victory on the merits and the point of view of
establishing eligibility for an award; (4) the fact that an award against the state would ultimately
fall upon the taxpayers; (5) the fact that the attorneys in question received public and charitable
funding for the purpose of bringing lawsuits of the character here involved; and (6) the fact that
the monies awarded would inure not to the individual benefit of the attorneys involved but the
organizations by which they are employed." (Serrano v. Priest (1977) 20 Cal.3d 25, 49.)

The court finds that a multiplier of 1.5 is reasonable and should be awarded to plaintiff's counsel.
However, the court limits the multiplier award to Mr. Alexander's pre-trial and trial-related work
only, between 12/16/18 and 3/25/19 (i.e., 281.1 hours at $850/hr., or $238,935), resulting in an
additional award of $119,467.50. Without duplicating the factors that are necessarily already
included in the lodestar, the court finds that the following factors warrant this multiplier: the
exceptional success achieved despite not prevailing on plaintiff's wrongful termination,
disability discrimination and punitive damage claims; the unique complexity of explaining the


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job performance issues and the disability discrimination and retaliation claims; the contingency
risk, and lost opportunities from taking on other matters on short notice. In the court's view, Mr.
Alexander's trial advocacy cannot be understated and was a key factor in Plaintiffs prevailing
on the three claims upon which he did prevail. Plaintiff's success on three claims and the quality
of trial representation in achieving that success are reflected in the jury's acknowledgment of
Plaintiff's damages case as presented and argued by Mr. Alexander, even if ultimately reduced
by accepting the court's remittitur. The court rejects a higher multiplier given Mr. Alexander's
brief involvement with the case and the absence of a complete victory. The court also rejects a
~ltiplier as to the balance of work performed by all counsel given the re~tively shofl"t"'lm=e"""o"'f--
two years from complaint to verdict; the sufficiency of the base fee award; and only partial
sUCCess (failing to persuade the jury that Plaintiff was a competent employee who should not
have been terminated or that FedEx acted with malice).

The total attorneys' fee award under Government Code § 12965(b) which the court finds as
reasonable is $957,076.50.

The clerk shall make the necessary interlineations and insertions on the amended judgment filed
herein on 7/30119.

Unless waived, notice of ruling by moving party.




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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

   Case No. SA CV 11-0278-DOC(RNBx)                             Date: October 23, 2014

   Title: JOSE FLORES, ET AL. V. CITY OF WESTMINSTER, ET. AL.


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                 Deborah Goltz                              Not Present
                Courtroom Clerk                            Court Reporter

          ATTORNEYS PRESENT FOR                    ATTORNEYS PRESENT FOR
                PLAINTIFF:                              DEFENDANT:
               None Present                              None Present




   PROCEEDINGS (IN CHAMBERS): ORDER DENYING MOTION FOR NEW
                              TRIAL [254]; DENYING DEFENDANTS’
                              RENEWED MOTIONS FOR JUDGMENT
                              AS A MATTER OF LAW [256] [257] [258]
                              [259] [261]; GRANTING ATTORNEY FEES
                              [253]; DENYING MOTION TO STRIKE
                              DECLARATION OF ROBERT M.
                              BRUNING [274]

          Before the Court are:
         Defendant City of Westminster’s Motion for New Trial (“New Trial Mot.”) (Dkt.
          254);
         Defendant City of Westminster’s Renewed Motion for Judgment as a Matter of
          Law (Dkt. 256);
         Defendant Mitchell Waller’s Renewed Motion for Judgment as a Matter of Law
          (Dkt. 257);
         Defendant Andrew Hall’s Renewed Motion for Judgment as a Matter of Law (Dkt.
          258);
Case 8:11-cv-00278-DOC-RNB
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                               Document
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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

   Case No. SACV 11-0278 DOC (RNBx)                                 Date: October 23, 2014
                                                                    Page 2

       Defendant Kevin Baker’s Renewed Motion for Judgment as a Matter of Law (Dkt.
        259);
       Defendant Ron Coopman’s Renewed Motion for Judgment as a Matter of Law
        (Dkt. 261);
       Plaintiffs’ Motion for Attorney Fees, Expert Fees, and Costs (“Fees Mot.”) (Dkt.
        253); and
       Plaintiffs’ Motion to Strike the Declaration of Robert M. Bruning (Dkt. 274).

   The Court finds these matters appropriate for resolution without oral argument. See Fed.
   R. Civ. P. 78; L.R. 7-15. Having considered the record and the papers, the Court DENIES
   the Motion for New Trial; DENIES the Renewed Motions for Judgment as a Matter of
   Law; and GRANTS the Motion for Attorney Fees.

      I.     BACKGROUND

          This case arose from allegations by Plaintiffs Jose Flores, Ryan Reyes, and Brian
   Perez, three Westminster police officers of Latino descent, that the Defendant City of
   Westminster (“City”) as well as current and former Westminster police chiefs Mitchell
   Waller, Andrew Hall, Ron Coopman, and Kevin Baker discriminated against them on the
   basis of race and national origin. Plaintiffs originally alleged causes of action against
   Defendants for violation of the California Fair Employment and Housing Act (“FEHA”),
   California Government Code § 12940, et seq.; 42 U.S.C. § 1981, and 42 U.S.C. § 1983.
   Specifically, Plaintiffs allege that they were denied special assignments that could
   increase their chances of getting promoted. Plaintiffs Flores and Reyes also alleged that
   the Defendants retaliated against them for filing administrative complaints regarding the
   discrimination, in violation of 42 U.S.C § 1981 and Title VII. See Second Amended
   Complaint (“SAC”) (Dkt. 35).

         Trial began on February 20, 2014 and lasted 9 days. On March 3, 2014,
   Defendants filed motions for judgment as a matter of law. (Dkts. 178-182). The Court
   denied those motions. Order Denying Judgment as a Matter of Law, Mar. 6, 2014 (Dkt.
   185).

         Plaintiffs dismissed several claims before submitting the case to the jury. On
   March 6, 2014, after three days of deliberation, the eight-member jury unanimously
   found as follows on the remaining claims:
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            (1)       the City did not racially discriminate against Plaintiffs in violation of
                      FEHA, Cal. Gov. Code §12940(a);

            (2)       the City retaliated against Plaintiff Flores, but not Plaintiff Reyes, in
                      violation of FEHA, Cal. Gov. Code § 12940(h);

            (3)       the City did not racially discriminate against Plaintiffs in violation of 42
                      U.S.C. § 1981;

            (4)       Defendants Coopman and Hall racially discriminated against all three
                      Plaintiffs in violation of 42 U.S.C. §1981, and Defendants Waller and
                      Baker did not racially discriminate as to any plaintiff; and

            (5)       Defendants Coopman and Waller retaliated against Plaintiffs Flores and
                      Reyes in violation of 42 U.S.C. § 1981, Chief Hall did not retaliate
                      against any Plaintiff, and Chief Baker retaliated against Plaintiff Flores
                      in violation of 42 U.S.C. § 1981.

            (6)       The jury awarded compensatory and punitive damages.

          Following the verdict, Plaintiffs filed a proposed final judgment (Dkt. 239). The
   parties then engaged in several rounds of briefing regarding Defendants’ objections to the
   proposed final judgment based on inconsistencies in the verdict form (Dkts. 242, 244,
   245, 246). After considering those objections, the Court ordered final judgment for
   Plaintiffs. Order on Final Judgment After Jury Verdict, Aug. 11, 2014 (“Final Judgment
   Order”) (Dkt. 247). In its order, the Court noted that the parties’ objections to
   inconsistencies in a verdict form are normally brought in a motion for a new trial after
   judgment is entered. The Court’s order stated, “The parties may incorporate their
   objections by reference in any subsequent motions for a new trial in order to preserve
   those objections, but should not further brief any issues raised in their filings up to this
   point.” Final Judgment Order, at 2.

            The instant motions were filed on August 28-29, 2014.

      II.         MOTION FOR A NEW TRIAL

            A. Legal Standard

         Rule 59 provides that a new jury trial may be granted under certain conditions.
   Fed. R. Civ. P. 59(a). Granting a new trial is left to the sound discretion of the trial court.
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   See Browning-Ferris Indus. v. Kelco Disposal, Inc., 492 U.S. 257, 278 (1989). Bases for
   a new trial include: (1) a verdict against the clear weight of the evidence, see Landes
   Const. Co., Inc. v. Royal Bank of Canada, 833 F.2d 1365, 1371 (9th Cir. 1987); (2)
   evidence, discovered after trial, that would not have been uncovered earlier through the
   exercise of due diligence and that is of such magnitude that its production at trial would
   likely have changed the outcome of the case, see Far Out Prods., Inc. v. Oskar, 247 F.3d
   986, 992-93 (9th Cir. 2001) (quoting Defenders of Wildlife v. Bernal, 204 F.3d 920, 929
   (9th Cir. 2000)); (3) jury misconduct, see United States v. Romero-Avila, 210 F.3d 1017,
   1024 (9th Cir. 2000); and (4) error in law that has substantially prejudiced a party, see
   Ruvalcaba v. City of Los Angeles, 64 F.3d 1323, 1328 (9th Cir. 1995). Because the task
   of weighing conflicting evidence and making credibility determinations is the job of the
   jury and not the court, Lucent Techs., Inc. v. Microsoft Corp., 837 F. Supp. 2d 1107, 1126
   (S.D. Cal. 2011), it is expected that judges will grant motions for a new trial only when
   the judge has given full respect to the jury’s findings but is left with the firm conviction
   that a mistake has been committed. Landes, 833 F.2d at 1371–72; see also Passantino v.
   Johnson & Johnson Consumer Prods., Inc., 212 F.3d 493, 510 n.15 (9th Cir. 2000).

          B. Analysis

          The Court addresses each of the Defendants’ arguments for a new trial in turn.

            1. Irreconcilable Special Verdict Findings

           The parties incorporated by reference their arguments regarding the alleged
   irreconcilability of the jury’s special verdict findings from their briefing on the proposed
   final judgment (Dkts. 239, 242, 244, 245, 246). The jury verdict form, which was agreed
   to by both parties, was not without problems. Final Judgment Order at 9-12. However,
   the Court already addressed these arguments in issuing its Final Judgment Order (Dkt.
   247). For the same reasons, the Court declines to order a new trial on the ground of
   irreconcilable verdict findings.

            2. Clear Weight of the Evidence

          Defendants argue that they are entitled to a new trial because the jury verdict and
   awards were against the clear weight of the evidence and were irreconcilably
   inconsistent. Specifically, Defendants challenge the jury’s verdict for (a) Plaintiff Flores
   on his FEHA retaliation claim against the City; (b) Plaintiffs on their § 1981 race
   discrimination claim against Defendants Coopman and Hall; and (c) Plaintiffs Flores and
   Reyes on their § 1981 retaliation claim against Defendants Coopman, Waller, and Baker.
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           Regarding the FEHA retaliation claim, Defendants argue that Flores failed to
   establish (1) that he suffered any adverse employment actions, (2) that his filing of an
   administrative complaint had anything to do with any of Defendants’ actions toward him,
   or (3) that he was harmed. Regarding the other two claims, Defendants essentially argue
   that Plaintiffs’ evidence regarding the individual Defendants’ personal participation in
   racial discrimination and retaliation was too weak to justify the verdict. Relatedly,
   Defendants also argue that Plaintiffs failed to present evidence of malicious conduct by
   the individual Defendants to justify the punitive damages awards against them.

          Having heard the evidence at trial and having considered the parties’ briefs, the
   Court is not persuaded that the verdict regarding the above-listed claims was against the
   clear weight of the evidence. Thus, the Court declines to order a new trial on these
   grounds.

            3. Substantial Prejudice as a Result of Errors of Law

          Defendants’ third argument for a new trial is on the basis that Defendants were
   substantially prejudiced by errors of law, including the following:

                 a. Allowing the § 1981 claim to proceed to trial

          In their Motion to Dismiss and/or Strike Portions of Plaintiffs’ Complaint,
   Defendants argued that, because Plaintiffs hold their employment by statute and not by
   contract, their § 1981 claims must fail because § 1981 does not apply to them. The Court
   rejected that argument in its Order Granting in Part and Denying in Part Defendants’
   Motion to Dismiss and to Strike Portions of Plaintiffs’ Complaint, May 9, 2011 (Dkt. 13).
   For the same reasons outlined in its May 2011 Order, the Court finds that Defendants
   were not prejudiced by an error of law and declines to grant a new trial on this ground.

                 b. Allowing introduction of irrelevant and inflammatory evidence
                    going back to 1996

          Defendants filed a number of motions in limine to preclude claims and evidence
   that dated back to 1996, including (1) MIL No. 1 to Preclude Claims That Occurred
   Outside the Relevant Statute of Limitations Periods; (2) MIL No. 2 to Preclude Stray
   Comments; (3) MIL No. 7 to Preclude Richard Mize’s Alleged Non-Professional Emails
   to Women and Involvement with Bar Employee and Officer Naranjo; (4) MIL No. 14 to
   Preclude Officer Turner’s Involvement with Bar Employee; and (5) MIL No. 16 to
   Preclude Prior Discrimination Claim from 1997. (Dkts. 52, 53, 58, 65, 67). Defendants
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   argued then that the information was irrelevant, inadmissible hearsay, character evidence,
   unduly prejudicial, misleading, and/or a waste of time. The Court already considered
   Defendants’ arguments when the Court denied those motions in limine. Order on Motions
   in Limine, Jan. 31, 2014 (Dkt. 151). The Court is not persuaded now that the Court’s
   denial of those motions was legally erroneous. Thus, the Court declines to grant a new
   trial on this ground.

                 c.   Providing a USERRA instruction despite the fact that there was no
                      USERRA claim in this case

          The Court read Jury Instruction No. 22 to the jury:

          Military Leave

          The Uniformed Services Employment and Reemployment Rights Act
          (USERRA) is a federal law that prohibits discrimination against service
          members and protects their job rights while in military service.

          Under USERRA, a service member has the right to reemployment in the
          job position that the service member would have obtained with reasonable
          certainty if not for absence due to uniformed service. USERRA also
          requires that a service member be treated the same way that the employer
          treats other employees on leave or furlough. The rights protected by
          USERRA can include the right to be notified of an open job opportunity.

          There is no USERRA claim before you, and you are not deciding any
          questions associated with USERRA. You should consider any evidence
          about whether Westminster notified Plaintiff Perez of open job
          opportunities only in terms of the stated race discrimination claims.

   Jury Instruction No. 22, Mar. 6, 2014 (Dkt. 198).

          Defendants argue that this instruction was legally improper and caused substantial
   prejudice to the Defendants because it created the impression that the City violated
   Plaintiff Perez’s USERRA rights and resulted in the jury awarding Perez more punitive
   damages than Reyes even though Reyes had a retaliation claim and Perez did not. New
   Trial Mot. at 14-15. The fact that the jury awarded a greater amount of punitive damages
   to Perez than to Reyes by itself does not show that Defendants were substantially
   prejudiced by the USERRA instruction. Although Reyes had a retaliation claim and Perez
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   did not, the jury could have found that the nature of Defendants’ conduct toward Perez
   was more egregious than the Defendants’ conduct toward Reyes for reasons other than
   Perez’s military background, thus justifying the higher award for Perez. Thus, the Court
   declines to grant a new trial on this ground.

            4. Punitive Damages

          Defendants seek a new trial on the issue of damages on the grounds that the
   punitive damages were the result of passion and prejudice, grossly excessive, and
   oppressive. In the alternative, Defendants ask that the punitive damages be stricken or
   reduced by remittitur. Specifically, Defendants ask that the Court grant Defendants’
   motion for a new trial unless Plaintiffs accept a remittitur of all the punitive damage
   awards or at least limiting Defendants Coopman and Hall’s punitive damage awards to
   $200,000 per Defendant (approximately one year’s salary).

          The Supreme Court set out three guideposts for determining whether punitive
   damages are excessive in BMW of North America, Inc. v. Gore, 517 U.S. 559, 574-85
   (1996). Those three guideposts are (1) reprehensibility of conduct, id. at 575; (2) ratio of
   the punitive damages award to the compensatory damages award, id. at 580; and (3) the
   difference between the punitive damages award to the civil penalties authorized or
   imposed in comparable cases, id. at 583.

          To the extent that Defendants’ arguments regarding passion and prejudice and
   reprehensibility are based on the weight of the evidence regarding each individual
   Defendant’s individual participation or malicious behavior against the Plaintiffs, the
   Court rejects these arguments for the same reasons described above.

         Regarding the ratio between punitive and compensatory damages, the jury
   awarded the following:

                  Defendant Plaintiff Punitive          Compensatory Ratio
                                      Damages           Damages

                  Coopman       Flores      $396,000    $218,000           2:1

                  Coopman       Reyes       $176,000    $40,000            4:1

                  Coopman       Perez       $308,000    $50,000            6:1
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                      Hall            Flores        $495,000         $65,000          8:1

                      Hall            Reyes         $220,000         $45,000          5:1

                      Hall            Perez         $385,000         $100,000         4:1

                      Baker           Flores        $49,500          $42,000          1:1

                      Baker           Reyes         $22,0001         N/A              N/A

                      Baker           Perez         $22,0002         N/A              N/A

                      Waller          Flores        $49,500          $210,000         1:4

                      Waller          Reyes         $22,000          $185,000         1:8

                      Waller          Perez         $38,5003         N/A              N/A



           Several of these awards are at or above a 4:1 ratio, which the Supreme Court has
   suggested “might be close to the line of constitutional impropriety.” State Farm Mut.
   Auto. Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003). However, the Supreme Court has
   also stated that there is no “bright-line ratio” between punitive and compensatory
   damages that precisely establishes when a punitive damages award crosses the
   constitutional line. Id. This is particularly so in cases like this one, given the context-
   sensitive nature of employment discrimination and given that it is difficult to put a
   monetary value on harm to a person’s dignity and liberty. See Swinton v. Potomac Corp.,
   270 F.3d 794, 818 (9th Cir. 2001). It bears noting that the jury was properly instructed on
   the standard for setting the amount of punitive damages and that Defendants did not
   object to this instruction. See Jury Instruction No. 34, Mar. 6, 2014 (Dkt. 198); Defs.’
   Objections to Pls.’ Separate Proposed Jury Instructions (Dkt. 172); RT, 03/03/14, Vol. I,
   5:8-16. In this circumstance, the Court is reluctant to disturb the jury’s weighing of the
   evidence that they heard and their ultimate decision with regard to the punitive damages
   awards. Having also listened to all of the evidence, the Court does not find the awards
   grossly excessive such that they violate the Constitution.

   1
     This award was stricken by the Court. See Final Judgment Order, at 12-15.
   2
     Id.
   3
     Id.
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          With regard to oppressiveness, Defendants have cited no authority requiring the
   Court to consider a defendant’s ability to pay in determining whether punitive damages
   are excessive, only an out-of-district case in which the court decided to do so. See Kemp
   v. Ervin, 651 F. Supp. 495, 506-08 (N.D. Ga. 1986). The Court is not inclined to do so
   here.

          Thus, the Court declines to order a new trial on the bases that punitive damages
   were the result of passion or prejudice, excessive, or oppressive.

          C. Conclusion

          In conclusion, the Court DENIES Defendants’ motion for a new trial.

      III.   RENEWED MOTIONS FOR JUDGMENT AS A MATTER OF LAW

          A. Legal Standard

           If, after the evidence is closed, there is only one reasonable conclusion that a jury
   may reach, the Court may grant judgment as a matter of law (“JMOL”) as to any claim or
   defense in issue. Fed. R. Civ. P. 50(a); see also Lawson v. Umatilla County, 139 F.3d
   690, 692 (9th Cir. 1998). The standard for granting JMOL mirrors the standard for
   granting summary judgment. Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133,
   150 (2000) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)). If there is
   substantial evidence to support a contention, the court may not grant a JMOL. Watec Co.
   v. Liu, 403 F.3d 645, 651 n.5 (9th Cir. 2005). Substantial evidence must be sufficient for
   reasonable minds to accept it as support for a conclusion, even when the evidence might
   also support a contrary conclusion. George v. City of Long Beach, 973 F.2d 706, 709
   (9th Cir. 1992) (citing Landes Const. Co., Inc. v. Royal Bank of Canada, 833 F.2d 1365,
   1371 (9th Cir.1987)). In making its determination, the court must view the facts and draw
   inferences in the manner most favorable to the non-moving party. United States v.
   Diebold, Inc., 369 U.S. 654, 655 (1962); Berry v. Bunnell, 39 F.3d 1056, 1057 (9th Cir.
   1994).

          If the Court does not grant the relief and instead allows the case to go to the jury, a
   party may make a renewed motion for judgment as a matter of law (“RJMOL”) within
   ten days after the entry of judgment. Fed. R. Civ. P. 50(b). A party cannot raise
   arguments in its RJMOL motion that it did not raise in its Rule 50(a) JMOL motion.
   Freund v. Nycomed Amersham, 347 F.3d 752, 761 (9th Cir. 2003).
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         B. Analysis

        Defendants raise a number of arguments in their RJMOL motions that were not
raised in their original JMOL motions, including: (1) that Plaintiffs failed to show that the
individual Defendants acted with malice, (2) that the jury did not make a finding of racial
discrimination because the jury did not find that Defendants’ reasons for their conduct
were pretextual, (3) that Plaintiffs’ § 1981 claims fail because they are employees by
statute and not by contract; and (4) that punitive damages against Defendant Waller are
inappropriate because he is deceased. Because arguments that were not raised in a JMOL
motion cannot be raised in an RJMOL motion, the Court denies Defendants’ RJMOL
motions as to these arguments.

        Defendant also properly “renewed” a number of arguments, including: (1) that
Plaintiffs Flores and Reyes were no subject to adverse employment actions; (2) that
Plaintiffs Flores’s and Reyes’s complaints against the department were not a substantial
motivating factor in Defendants’ conduct toward them; (3) that Plaintiffs failed to
demonstrate personal participation by the individual Defendants in racial discrimination
or retaliation; (4) that Plaintiffs Flores and Reyes never applied to be a sergeant and Perez
applied once but failed the exam; (5) that Plaintiffs failed to show that it would have been
futile to apply for special assignments; (6) that Plaintiffs failed to demonstrate that
Defendants’ reasons for their conduct was pretextual; and (7) that Plaintiffs’ § 1981
claims were barred by the statute of limitations. Having considered the evidence
presented at trial, the Court finds that there was substantial evidence to support the jury’s
findings and verdict. Thus, the Court denies Defendants’ RJMOL motions as to these
arguments.

         C. Conclusion

         Therefore, Defendants’ RJMOL motions are DENIED in their entirety.

   IV.      MOTION FOR ATTORNEY FEES, EXPERT FEES, AND COSTS

         A. Legal Standard

       Under 42 U.S.C. § 1988, the Court may, in its discretion, grant a reasonable
attorney’s fee, including expert fees, as part of the costs to the prevailing party in any
action to enforce 42 U.S.C. § 1981. 42 U.S.C. § 1988(b), (c). Under California
Government Code § 12965(b), the Court may, in its discretion, grant a reasonable
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attorney’s fee and costs, including expert witness fees, to the prevailing party in an action
under the California Fair Employment and Housing Act.

        A plaintiff is considered the prevailing party if it succeeds on any significant issue
in litigation which gives some benefit that plaintiff sought in bringing the suit. Hensley v.
Eckerhart, 461 U.S. 424, 433 (1983). To satisfy this requirement, the suit must have
produced a material alteration of the legal relationship between the parties. Buckhannon
Board & Care Home, Inc. v. W. Va. Dept. of Health & Human Res., 532 U.S. 598, 604
(2001). This alteration may be the result of an enforceable judgment. Farrar v. Hobby,
506 U.S. 103, 111 (1992).

       In the Ninth Circuit, the customary method for determining a reasonable figure for
an attorney’s fees award is the lodestar formula. A lodestar figure is calculated by
“multiplying the hours spent on a case by a reasonable hourly rate of compensation for
each attorney involved.” Pennsylvania v. Del. Valley Citizens’ Council for Clean Air,
478 U.S. 546, 563 (1986). “‘In setting a reasonable attorney’s fee, the district court
should make specific findings as to the rate and hours it has determined to be
reasonable.’” Gracie v. Gracie, 217 F.3d 1060, 1070 (9th Cir. 2000) (quoting Frank
Music Corp. v. Metro-Goldwyn Mayer, Inc., 886 F.2d 1545, 1557 (9th Cir. 1989))

       The lodestar figure is presumed to represent an appropriate fee, see City of
Burlington v. Dague, 505 U.S. 557, 562 (1992), but the Court may subsequently adjust
the figure upward or downward to take into account special factors. Ballen v. City of
Redmond, 466 F.3d 736, 746 (9th Cir. 2006).

       B. Analysis

        Plaintiffs seek attorney’s fees totaling $4,863,701.25 ($3,242,467.50 lodestar x 1.5
multiplier) plus $40,028.49 in expert fees and $18,684.12 in costs. Defendants argue that
there is no justification for a multiplier and that, for various reasons, the lodestar should
be reduced to $2,523,503.50. The Court addresses each of Defendants’ reasons below.

          1. Reasonable Hourly Rate

              a. Legal Standard

       It is well-established that “a reasonable hourly rate is the rate prevailing in the
community for similar work performed by attorneys of comparable skill, experience, and
reputation.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 979 (9th Cir. 2008) (citation
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and internal quotation marks omitted). “‘[R]easonable fees’ under § 1988 are to be
calculated according to the prevailing market rates in the relevant community, regardless
of whether plaintiff is represented by private or nonprofit counsel.” Blum v. Stenson, 465
U.S. 886, 895 (1984). The fee applicant can satisfactorily prove the prevailing rate using
affidavits from the plaintiffs’ attorneys and other attorneys as well as rate determinations
in other cases, especially those setting a rate for the plaintiffs’ attorneys. United
Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir. 1990).

              b. Analysis

      The parties submit that Plaintiffs’ attorneys’ reasonable hourly rates should be as
follows:

           Attorney/Staff           Year of Bar   Hourly Rate      Hourly Rate –
                                    Admittance    – Proposed       Proposed by
                                                  by Plaintiffs     Defendants
         Bernard Alexander             1987          $750              $675
         Victor Viramontes             2001          $625              $525
         Martha L. Gomez               2010          $390              $300
         Matthew Barragan              2012          $340              $275
           Tracy L. Fehr               2005          $475              $350
          Marvin Krakow                1978          $750              $550
          Miranda Galindo           2012 (grad)      $435              $200
          Adriana Garcia            2012 (grad)      $250              $200
           Ana Mendoza              (law clerk)      $200              $200
            Gustin Ham              (paralegal)      $175              $175
          Juan Rodriguez               2011          $340              N/A


Fees Mot. at 12-13; Fees Opp’n at 22 n.12; Fees Reply at 15.

       Plaintiffs support their claimed rates with declarations from each of these
attorneys/staff, outlining each individual’s educational background and legal work
experience. See Dkts. 253-2 to 253-5, 253-7 to 253-9, 273-1 to 273-24. In addition,
Plaintiffs filed declarations from James DeSimone, David deRubertis, Bill Lan Lee, and
Carol Sobel, experienced employment law and civil rights attorneys who have practiced
in Southern California. See Dkts. 253-10 to 253-13. Based in particular on the Sobel,
DeSimone, and DeRuberis declarations and the fee awards attached as exhibits, the Court
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finds that Plaintiffs’ claimed hourly rates are on the high end but within the range of
reasonableness.

        The one exception is Galindo’s rate. Like Garcia, Galindo had graduated from law
school but had not yet been admitted to the bar at the time that she worked on this case.
The only apparent explanation for her rate being $435/hour as opposed to $250/hour like
Garcia’s, is that Galindo is formally employed by Fried, Frank, Harris, Shriver &
Jacobson LLP, a New York law firm. Compare Reply Declaration of Miranda Galindo in
Support of Fees Mot. (Dkt. 273-21) with Reply Declaration of Adriana Garcia in Support
of Fees Mot. (Dkt. 273-23). Even if $435/hour is the prevailing rate for law clerks in New
York, there is no evidence that that is the prevailing rate in Southern California. The
Court understands, moreover, the MALDEF Fried Frank Fellowship program in which
Galindo was participating is designed to allow fellows to participate in MALDEF
litigation. Thus, there is no basis here to argue that New York attorneys in general must
be awarded a higher fee in order to incentivize New York attorneys to take California
cases. The Court also notes that $435/hour is 30% higher than Barragan’s and
Rodriguez’s claimed rate of $340/hour. Barragan and Rodriguez graduated from law
school before Galindo and were admitted to the bar before they began working on this
case. Compare Hallihan Declaration (Dkt. 253-6) ¶ 3 with Declaration of Matthew J.
Barragan (Dkt. 253-5) ¶¶ 3-4 and Reply Decl. of Juan Rodriguez (Dkt. 273-19) ¶¶ 3-4.
Thus, the Court finds that a reasonable rate for Galindo, considering her level of
experience, skill, and reputation, is $250/hour.

       Defendants object that Plaintiffs’ attorneys’ rates are too high because Plaintiffs
are comparing themselves to the most expensive and renowned lawyers in the area rather
than estimating the market rate necessary to induce competent lawyers to undertake the
representation. Fee Opp’n at 21. Defendants’ attorney fees expert Robert Bruning opines
based on his telephonic survey of seven Southern California employment law firms that
Plaintiffs’ attorneys’ hourly rates should be between $65-$200/hour lower. Declaration of
Robert M. Bruning in Opp’n to Fees Mot. (Dkt. 269) ¶ 17.4 Although the Court

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  Plaintiffs argue that Bruning’s declaration should be stricken because (1) Bruning is not qualified to be an expert
under Federal Rule of Evidence 702 because he has no experience in complex civil rights litigation; (2) Bruning
provides erroneous legal opinions on questions of law that are reserved for the Court; and (3) Bruning’s opinions
lack foundation because he insufficiently describes his methodology. Although Bruning may or may not have
represented plaintiffs, he has litigated civil rights cases as well as business, torts, and contracts cases for 37 years.
Bruning Decl. ¶ 3. Although Bruning’s declaration does interpret the legal standard for attorney’s fees, that is
somewhat inevitable as the legal standard impacts the methodology for calculating reasonable attorney’s fees. The
Court gave no weight to the portions of Bruning’s declaration that appeared to be merely an extension of
Defendants’ brief. E.g., id. ¶¶ 6-10. The Court also finds that Bruning has adequately described his methodology.
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appreciates the information provided by Bruning, the Court does not find Defendants’
argument persuasive enough to reduce Plaintiffs’ attorneys’ rates. Overall, Bruning’s
survey reveals general information about the survey respondents’ charged hourly rates for
“partners” or “senior associates,” with some references to an individual comparator’s
year of admittance to the bar, along with two cases in which Bruning had submitted
declarations. Id. ¶¶ 4, 16. In contrast, the declarations submitted by Plaintiffs contain a
wealth of information about each attorney, staff member, and comparator’s experience,
reputation, and skill. They also include numerous past fee awards which demonstrate
actual rates awarded to some of the Plaintiffs’ attorneys in this case and to their identified
comparators. See, e.g., Declaration of J. Bernard Alexander, III in Support of Fees Mot.
(Dkt. 253-2) ¶¶ 41-43; Declaration of Carol Sobel in Support of Fees Mot. (Dkt. 253-13)
¶¶ 19, 21, 22, 33, 34. Although many of the cases used by Plaintiffs as comparators were
class action cases while this case was not a class action, this case was also complex,
involving a complicated fact pattern and with dozens of claims going to trial. Although
higher than the hourly rates charged by the employment law firms surveyed by Bruning,
the hourly rates proposed by Plaintiffs are on par with or below the reasonable rates
awarded in those cases.

       Thus, the Court finds that the Plaintiffs’ claimed hourly rates are reasonable,
except that Galindo’s reasonable rate is $250/hour.

            2. Reasonable Number of Hours

                  a. Legal Standard

        The fee applicant carries the burden of submitting evidence in support of the
claimed hours. Gates v. Deukmejian, 987 F.2d 1392, 1397 (9th Cir. 1993). “Counsel for
the prevailing party should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary . . . .” Hensley, 461 U.S. at 434.
The opposing party has the burden of rebuttal, requiring submission of evidence
challenging the accuracy and reasonableness of the hours charged or facts asserted.
Gates, 987 F.2d at 1397-98.

                  b. Analysis



See id. ¶¶ 5, 16. It appears to the Court that Plaintiffs’ arguments mostly go to the weight that should be given to the
information in Bruning’s declaration rather than to admissibility. Accordingly, the Court DENIES Plaintiffs’ Motion
to Strike.
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        Plaintiffs submit that the following hours were reasonably expended in preparing
and litigating this case:

                   Attorney/Staff              Hours             Hours                 Total
                                                                Post-Trial             Hours5
                 Bernard Alexander              634.8              2.1                  636.9
                 Victor Viramontes             1341.1              71.6                1412.7
                 Martha L. Gomez               2856.3               82                 2938.3
                 Matthew Barragan              1889.1             160.6                2049.7
                   Tracy L. Fehr                 64.9              30.7                 95.6
                  Marvin Krakow                 16.4                0                   16.4
                  Miranda Galindo               132.9                0                  132.9
                  Adriana Garcia                115.5                0                  115.5
                   Ana Mendoza                   27.0              20.0                 47.0
                    Gustin Ham                  209.8                0                  209.8
                  Juan Rodriguez                  0                29.7                 29.7


Defendants make a number of objections to the number of hours claimed by Plaintiffs.
The Court addresses each in turn.

                         i.    Clerical Tasks

       Defendants argue that Plaintiffs’ attorney hours should be reduced by 7.9 hours for
clerical and administrative tasks. Plaintiff does not respond to this argument. The Court
has discretion to reduce claimed time for clerical tasks that should be part of normal
overhead. Davis v. City & Cnty. of San Francisco, 976 F.2d 1536, 1543 (9th Cir. 1992)
opinion vacated in part on denial of reh’g, 984 F.2d 345 (9th Cir. 1993). The Court
agrees with Defendants that the time entries listed in Bruning Decl. Ex. N should be cut.
Since Defendants have not cited any support for the proposition that association of
counsel is a clerical task, the Court declines to discount the time entries in Bruning Decl.
Ex. O. Thus, the Court agrees that 4.3 hours should be cut from Barragan’s hours and 1.5
hours should be cut from Gomez’s hours.

                        ii.    Time Spent on Separate State Court Matter


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 This amount includes the hours spent on post-trial motions, which were claimed by Plaintiffs in their Reply. Fees
Reply at 15.
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       Defendants argue that 0.8 hours spent by Viramontes and 6.7 hours spent by
Gomez assisting Plaintiff Perez in prosecuting a state court case should be cut. Plaintiffs
do not respond to this argument. The Court agrees with Defendants that this time should
be cut, as it does not appear that the state court matter was directly related to this case.

                  iii.   Overstaffing and Duplication of Efforts

       Defendants argue that Plaintiffs’ attorneys’ hours should be reduced for
overstaffing and duplication of efforts. Specifically, Defendants object to Plaintiffs’
attorneys unnecessarily having more than one attorney attend depositions, mediation,
court hearings, and trial. Defendants also object to Plaintiffs’ attorneys spending
excessive amounts of time preparing for mediation and drafting a mediation brief,
preparing for deposition, preparing deposition summaries, and preparing demonstrative
and trial exhibits. Fees Opp’n at 18.

       The Court does not find it unreasonable for two attorneys to attend the same
deposition, particularly in a complex case like this one. The Court also notes that
Viramontes and Gomez conducted most of the depositions on their own and only served
as second-chair for one another in a relatively small percentage of the total hours spent in
deposition. See Reply Declaration of Victor Viramontes in Support of Fees Mot.
(“Viramontes Reply Decl.”) (Dkt. 273-8) ¶ 7.

        The Court also does not find it unreasonable in this case for Gomez and Barragan
to attend mediation and court hearings with Viramontes and Alexander. Given the
duration of the mediation and hearings, they appeared to have been contentious. See
Bruning Decl. Ex. H (listing, among others, time entries for two-day final pretrial
conference and five-hour mediation). Since Gomez and Barragan were immersed in the
case, it was reasonable for them to be in attendance at the mediation and at the hearings,
particularly at the hearings immediately leading up to trial.

       Regarding trial attendance, the Court does not find it unreasonable for Gomez and
Barragan to attend the trial, as they had spent many pre-trial hours deposing witnesses
and preparing trial exhibits and assisted Viramontes and Alexander in running the trial.
The Court is not persuaded that the hours spent in court during jury deliberations should
be cut. Even if hours spent during jury deliberations are uneventful in hindsight, there is
no way to know at the time if the jury will have questions (as the jury did in this case, see
Jury Notes #1-5 (Dkts. 191-195)), when the jury will reach a verdict, or any other number
of events might occur that will require the attorneys to spring into action. The Court does
agree with Defendants that it is unclear what role Mendoza, a law clerk, played at closing
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arguments. See Bruning Decl. ¶ 40. Thus, the Court will cut the 5 hours spent by
Mendoza.

        Defendants object to the 693.5 hours spent by Plaintiffs’ attorneys preparing for
mediation and drafting a mediation brief. In Bruning’s opinion, those hours should be
reduced to no more than 80 hours by Gomez and 20 hours by Viramontes. Bruning Decl.
¶¶ 42-43. Plaintiffs respond that the hours spent on preparing the very long and
comprehensive mediation brief constituted a large part of trial preparation because it
involved reviewing the evidence and consolidating vast amounts of information into a
single brief, which contained succinct summaries of the evidence supporting Plaintiffs’
claims. Plaintiffs argue that, had they not spent those hours on the mediation brief, they
would have claimed more hours for trial preparation. Viramontes Reply Decl. 8-9. Not
having seen the mediation brief, the Court cannot judge for itself its comprehensiveness.
However, both sides agree this was a document-heavy case. Bruning Decl. ¶ 22. The
Court also notes there was no motion for summary judgment in this matter nor have
Defendants identified an inordinate amount of time spent on doing a similarly
comprehensive analysis of the evidence, suggesting that the time spent preparing for
mediation was indeed the main period during which Plaintiffs put together their case. In
this circumstance, the Court declines to reduce Plaintiffs’ hours on mediation preparation.

       Defendants argue that the attorney hours spent preparing deposition summaries
should be reduced to the paralegal rate because such tasks could have been done by a
paralegal. Fees Opp’n at 18; Bruning Decl. ¶¶ 44-45. Plaintiffs’ general response is that
MALDEF does not employ paralegals and that AKG’s paralegal Ham is only trained on
some aspects of paralegal work. Reply at 7-8. Since Ham did 82.5 hours of deposition
summaries, Bruning Decl. ¶ 44, Ham was trained to do this type of task and could have
been assigned more. The Court has no desire to tell the attorneys which tasks they should
and should not do or who they need to hire. However, without further explanation for
why attorneys had to write the deposition summaries when they could have been done by
a paralegal, it is unreasonable to charge an attorney’s rate for that work, even if it was
done by an attorney. Thus, the Court will reduce the rate for the 124.5 attorney hours
spent on deposition summaries to the paralegal rate of $175/hour.

       Defendants argue that the 496.6 hours billed by Barragan in reviewing documents
and preparing for 30 depositions was duplicative because Gomez and Viramontes, who
actually took the depositions, also spent 453.1 and 226 hours, respectively, preparing for
those depositions. Fees Opp’n at 18; Bruning Decl. ¶¶ 46-48. Having three attorneys
collectively spend an average of 39 hours to prepare for each deposition is generous.
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Given that MALDEF does not employ paralegals, the Court is inclined to assume that
Barragan’s tasks did include tasks that a paralegal could have done or were unnecessarily
duplicative. Thus, the Court will cut Barragan’s hours by 15% or 74 hours.

        Defendants also argue that Plaintiffs’ attorneys spent excessive amounts of time
preparing demonstrative and trial evidence. Fees Opp’n at 18. Bruning opines that Gomez
and Barragan should have spent no more than 80 hours on demonstrative and trial
evidence, respectively, although he finds the number of hours spent by lead counsel
Viramontes and Alexander and paralegal Ham to be reasonable. Bruning Decl. ¶¶ 51-53.
Given that Defendants have cited no persuasive support for their contention that 80 hours
is sufficient and given that this case involved an extensive exhibit list, the Court declines
to make the cuts requested by Defendants.

                       iv.     Vague Billing

       Defendants also argue that Plaintiffs’ hours should be reduced for vague billing.
Plaintiffs did not respond to this argument. Fees Opp’n at 16-17. The Court agrees for the
most part, except for the entries dated 4/25/2012, 12/11/2012, 2/28/2013, 10/24/2013,
12/2/2013, and 7/17/2014. See Bruning Decl. Ex. M. Thus, the Court reduces Plaintiffs’
claimed hours as follows: 0.5 hour from Garcia; 0.8 hour from Barragan; 69.5 from
Gomez; and 1.1 hours from Viramontes.

            3. Conclusion re: Lodestar Calculation

        In summary, the Court finds the following lodestar calculation appropriate:

              Attorney/Staff            Hourly Rate Total Hours                     Amount
                                                      Spent6
            Bernard Alexander              $750        535.9                       $401,925.00
                                           $175         101                         $17,675.00
            Victor Viramontes              $625       1411.9                      $882,437.50
            Martha L. Gomez                $390       2919.6                     $1,138,644.00
                                           $175        10.5                          $1,837.50
            Matthew Barragan               $340       1958.4                       $665,856.00
                                           $175          13                          $2,275.00
               Tracy L. Fehr               $475         95.6                        $45,410.00

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 This amount includes the hours spent on post-trial motions, which were claimed by Plaintiffs in their Reply. Reply
at 15.
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          Marvin Krakow               $750            16.4           $12,300.00
          Miranda Galindo             $250           132.9           $33,225.00
          Adriana Garcia              $250           115.5           $28,875.00
           Ana Mendoza                $200            42.0            $8,400.00
            Gustin Ham                $175           209.8           $36,715.00
          Juan Rodriguez              $340            29.7           $10,098.00
             TOTAL                                                $3,285,673.00


         4. Lodestar Adjustment for Partial Success

              a. Legal Standard

        If a plaintiff achieves only partial success, the reasonable hours expended on the
action as a whole multiplied by a reasonable rate may be an excessive amount. Hensley,
461 U.S. at 436. To determine whether the lodestar should be reduced to account for a
plaintiff’s only partial success, courts must apply a two-part analysis. First, a court should
ask first whether the plaintiff “fail[ed] to prevail on claims that were unrelated to the
claims on which he succeeded.” Id. at 434. To assess whether one claim is related to
another, a court should consider whether the relief sought for the unsuccessful claim was
“intended to remedy a course of conduct entirely distinct and separate from the course of
conduct that gave rise to the injury on which the relief granted is premised.” Thorne v.
City of El Segundo, 802 F.2d 1131, 1141 (9th Cir. 1986) (citation and internal quotation
marks omitted). Courts also consider whether the claims are based on different facts and
legal theories. If the claims are related, the court should proceed to the second part of the
test, which asks whether the plaintiff “achieve[d] a level of success that makes the hours
reasonably expended a satisfactory basis for making a fee award.” Hensley, 461 U.S. at
434. “There is no precise rule or formula for making these determinations. The district
court may attempt to identify specific hours that should be eliminated, or it may simply
reduce the award to account for the limited success. The court necessarily has discretion
in making this equitable judgment.” Id. at 436-37.

              b. Analysis

      Plaintiffs succeeded on some claims but not others, as shown in the chart below.
The parties dispute whether the Court should reduce Plaintiffs’ lodestar calculation
because of Plaintiffs’ failure on some claims.
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                                          Flores      Reyes        Perez
            FEHA discrimination
            claim against City            Failed      Failed       Failed
            FEHA retaliation claim
            against City                  Succeeded   Failed       N/A
            § 1981 discrimination
            claim against City            Failed      Failed       Failed

            § 1981 discrimination
            claim against Coopman         Succeeded   Succeeded Succeeded
            § 1981 discrimination
            claim against Waller          Failed      Failed       Failed
            § 1981 discrimination
            claim against Hall            Succeeded   Succeeded Succeeded
            § 1981 discrimination
            claim against Baker           Failed      Failed       Failed

            § 1981 retaliation claim
            against Coopman               Succeeded   Succeeded N/A
            § 1981 retaliation claim
            against Waller                Succeeded   Succeeded N/A
            § 1981 retaliation claim
            against Hall                  Failed      Failed       N/A
            § 1981 retaliation claim
            against Baker                 Succeeded   Failed       N/A


        Here, the claims on which each Plaintiff failed was related to the claims on which
he succeeded. Flores and Reyes both failed on their retaliation claims against some
Defendants but succeeded against others. All three Plaintiffs failed on their racial
discrimination claims against some Defendants but succeeded against others. The
retaliation and discrimination claims have different elements; the claims against the City
also have slightly different elements than the claims against the individual Defendants;
and the facts regarding each of the parties were somewhat different. However, those
differences are not enough to make the claims unrelated for attorney fee purposes
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because the claims all arose from a common core of facts and some from related legal
theories.

        As to the second part of the Hensley test, the Court declines to reduce the lodestar
on the ground of Plaintiffs’ limited success. Collectively, Plaintiffs succeeded on 11 of 28
claims. Each Plaintiff succeeded against multiple Defendants. Each Defendant was found
liable for at least one claim. The jury awarded Plaintiffs over $3 million in compensatory
and punitive damages. Although Plaintiffs did not achieve a perfect record, they did
achieve “excellent results” in their impact litigation, which justifies including their work
on related successful and unsuccessful claims in the lodestar calculation. See Thorne, 802
F.2d at 1141.

          5. Lodestar Multiplier

              a. Legal Standard

        Under both state and federal law, the trial court “is not required to . . . [but] retains
discretion to” apply a multiplier to the lodestar figure after considering certain factors
specific to the lawsuit. Ketchum v. Moses, 24 Cal. 4th 1122, 1132-34 (2001); see also
Cairns v. Franklin Mint Co., 292 F.3d 1139, 1158 (9th Cir. 2002) (“[I]n appropriate
cases, the district court may adjust the ‘presumptively reasonable’ lodestar figure based
upon the factors listed in Kerr v. Screen Extras Guild, Inc. . . .”) (quoting Intel Corp. v.
Terabyte Int’l, Inc., 6 F.3d 614, 622 (9th Cir. 1993)). Under both state and federal law,
“the party seeking a fee enhancement bears the burden of proof.” Ketchum, 24 Cal. 4th at
1138; see also Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 553 (2010).

        In considering whether the lodestar figure should be adjusted, the trial court
considers factors specific to the case. Ketchum, 24 Cal. 4th at 1134; Cairns, 292 F.3d at
1158 (citing Kessler v. Assocs. Fin. Servs. Co. of Hawaii, 639 F.2d 498, 500 n.1 (9th Cir.
1981)). These factors include but not are limited to whether the litigation precluded other
employment by the attorneys, the novelty and difficulty of the questions involved, the
skill displayed in presenting them, the results obtained, the experience of the attorney,
and the undesirability of the case. See Ketchum, 24 Cal. 4th at 1132; Ballen v. City of
Redmond, 466 F.3d 736, 746 (9th Cir. 2006) (federal courts look at twelve Kerr factors).

       At the same time, however, under both state and federal law, the trial court should
not consider factors that have already been considered in calculating the lodestar figure.
See Ketchum, 24 Cal. 4th at 1138; Morales v. City of San Rafael, 96 F.3d 359, 363-64
(9th Cir. 1996), opinion amended on denial of reh’g,108 F.3d 981 (9th Cir. 1997).
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Factors that are often subsumed in calculating the lodestar figure include “the novelty and
complexity of a case,” or “the quality of an attorney’s performance,” Perdue, 559 U.S. at
553; Ketchum, 24 Cal. 4th at 1138-39, and the results obtained, see Blum v. Stenson, 465
U.S. 886, 900 (1984). After the U.S. Supreme Court opinion City of Burlington v. Dague,
consideration of contingency risk is still permitted under California law but are
disallowed under federal fee-shifting statutes like 42 U.S.C. § 1988 because an
enhancement for contingency likely duplicates factors subsumed in the lodestar.
Compare Ketchum, 24 Cal. 4th at 1138 (“[T]he purpose of a fee enhancement is primarily
to compensate the attorney for the prevailing party at a rate reflecting the risk of
nonpayment in contingency cases as a class.”) with City of Burlington v. Dague, 505 U.S.
557, 567 (1992) and Davis, 976 F.2d at 1549 (holding that Dague constitutes an outright
rejection of contingency as a factor in calculating or adjusting the lodestar figure).

              b. Analysis

       Plaintiffs seek a 1.5 multiplier on their lodestar (excluding time spent on post-trial
motions) based on (1) contingency risk; (2) preclusion of other work; (3) difficulty of the
issues and skill displayed in presenting them; and (4) results obtained. Fees Mot. at 20-
22. The Court declines to grant Plaintiffs a multiplier.

        Regarding the contingency risk, the Court can only consider contingency risk as to
the single state law claim on which Plaintiffs prevailed, the FEHA retaliation claim by
Plaintiff Flores against the City. However, it is impossible for the Court to separate out
hours spent on the state law claim versus the federal claims because the state law claim
arose from the same set of facts as the federal claims and neither party treated them as
distinct. Since the burden is on Plaintiffs to justify the multiplier and Plaintiffs have not
identified the number of hours on which a contingency risk-based multiplier could be
applied, the Court is not inclined to grant a multiplier based on contingency risk.

      As to preclusion of other work, Plaintiffs have not identified other work that they
gave up in order to prosecute this case.

       As for the difficulty of the issues and skill displayed in presenting them, the Court
already accounted for these factors in finding reasonable a higher hourly rate and a higher
number of hours than would be necessary in a less complex case or a case with an
untimed trial.

       With regard to the results obtained, the Court found that the results obtained were
excellent enough not to justify a downward adjustment on the lodestar. However, the
Case
  Case
     8:11-cv-00278-DOC-RNB
        3:17-cv-06748-WHO Document
                           Document 494-3
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                                                                          216 ID
                                 #:8175


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No. SACV 11-0278 DOC (RNBx)                                       Date: October 23, 2014
                                                                       Page 23

results were not so excellent as to justify an upward adjustment. Although Plaintiffs
largely accomplished their goal of making an impact on the Westminster Police
Department with this impact litigation, the Court notes that Plaintiffs lost on 15 out of the
28 claims that went to trial and that the City itself was only found liable on one claim by
one Plaintiff. Moreover, the jury verdict form, which was agreed to by both parties, was
not without problems. Final Judgment Order at 9-12.

        For these reasons, the Court declines to grant a multiplier.

          6. Expert Fees and Costs

       Plaintiffs request $40,028.49 in expert fees and $18,684.12 in costs. Defendants do
not oppose these amounts. The requested fees and costs appearing reasonable, the Court
grants Plaintiffs’ request for expert fees and costs.

   V.      DISPOSITION

        For the reasons stated above, the Court DENIES Defendants’ Motion for a New
Trial and their Renewed Motions for Judgment as a Matter of Law. The Court GRANTS
the following fees and costs: $3,285,673.00 in attorney fees, $40,028.49 in expert fees,
and $18,684.12 in costs.

        The Clerk shall serve this minute order on the parties.


MINUTES FORM 11
CIVIL-GEN                                                  Initials of Deputy Clerk: djg
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                   Exhibit 7
Bill4Time Report                                                           https://secure.bill4time.com/B4T2/Reporting/reportjs/reportjsviewer.as...
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          Alexander Morrison+ Fehr LLP - User Summary
          Date Start: 10/1/2018 I Date End : 10/17/2023 I Clients: Diaz, Demetric I Cases: Diaz v. Tesla I Users: All I Account
          Managers: All
              Date         Client     Case   Description                                Rate/       Labor      Billable      Bill Amt/
                                                                                      Unit Price    Time/       Time/        Sell Price
                                                                                                   Quantity     Cost
                                                                                                                Price

          Britt Karp
          11/11/2019     Diaz,       Diaz    Reviewing opposition to CitiStaff        $675.00        3.30       3.30        $2,227.50
                         Demetric    v.      Solutions' MSJ to learn facts of            hr
                                     Tesla   case in assisting with opposition
                                             to Tesla and NextSource's MSJs
                                             [0.4]; reviewing Tesla's MSJ for
                                             argument regarding punitive
                                             damages and vicarious liability
                                             [0.3]; researching case law cited
                                             by Tesla in support of MSJ re:
                                             punitive damages [1.9];
                                             researching CA case law we
                                             typically rely on for recovering
                                             punitive damages against an
                                             employer [0.7]

          12/02/2019     Diaz,       Diaz    Email to co-counsel following up         $675.00        1.70       1.70        $1,147.50
                         Demetric    v.      on confidential documents,                  hr
                                     Tesla   correspondence and attorney
                                             declaration needed for opposition
                                             for Tesla's motion for retain
                                             confidentiality [0.2]; reviewing
                                             Tesla's motion to retain
                                             confidentiality, decs and exhibits
                                             in support in order to prepare
                                             opposition [0.6]; reviewing
                                             documents Tesla seeks to keep
                                             confidential [0.9]

          12/03/2019     Diaz,       Diaz    Continued review of documents            $675.00        3.50       3.50       $2,362.50
                         Demetric    v.      Tesla seeks to keep confidential            hr
                                     Tesla   [1.4]; reviewing letters sent to
                                             defense counsel by co-counsel
                                             addressing issues with the
                                             documents marked as confidential
                                             [1.2]; continued review of
                                             defendant's motion to retain
                                             confidentiality in order to prepare
                                             opposition [0.7]; email sent to co-
                                             counsel seeking further
                                             clarification for opposition to
                                             motion to retain confidentiality
                                             [0.2]




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Bill4Time Report                                                      https://secure.bill4time.com/B4T2/Reporting/reportjs/reportjsviewer.as...
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          12/04/2019   Diaz,      Diaz    Call with co-counsel to discuss       $675.00         6.10       6.10        $4,117.50
                       Demetric   v.      basis for opposition to Tesla's          hr
                                  Tesla   motion to retain confidentiality
                                          [0.3]; researching cases analyzing
                                          standards to be applied for
                                          maintaining confidentiality of
                                          documents in federal court [1.3];
                                          researching cases analyzing the
                                          discoverability of employment
                                          information in federal court [0.7];
                                          preparation of opposition to
                                          motion to retain confidentiality
                                          [1.3]; researching whether courts
                                          have held that an employer's
                                          policies are confidential [0.4];
                                          reviewing 3rd circuit case cited in
                                          defendant's motion regarding
                                          factors a district court may
                                          consider in determining good
                                          cause to make confidential [0.3];
                                          continuing to review documents in
                                          Tesla's 1013 page production
                                          which it seeks to maintain as
                                          confidential [1.8]

          12/05/2019   Diaz,      Diaz    Completing review of Tesla's          $675.00        4.60        4.60        $3,105.00
                       Demetric   v.      document production and cross-           hr
                                  Tesla   referencing with chart of
                                          documents they seek to remain
                                          confidential [0.6]; obtaining case
                                          cite for definition of trade secret
                                          [0.2]; preparing argument in
                                          support of opposition to Tesla's
                                          motion to retain confidentiality
                                          regarding impropriety of Tesla's
                                          designations [2.9]; preparing
                                          argument in support of opposition
                                          to Tesla's motion addressing that
                                          Plaintiffs have properly followed
                                          the procedure for challenging
                                          Tesla's designations [0.9]




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          12/06/2019   Diaz,      Diaz    Call with co-counsel Cimone               $675.00       2.80       2.80        $1,890.00
                       Demetric   v.      Nunley to discuss additional                 hr
                                  Tesla   exhibits for the opposition to
                                          Tesla's motion to retain
                                          confidentiality and preparing a
                                          motion for filing under seal [0.3];
                                          continued preparation of summary
                                          of argument, facts section and
                                          declaration cites in opposition to
                                          motion to retain confidentiality
                                          [1.6]; reviewing motion to file
                                          under seal prepared by co-
                                          counsel [0.2]; email to co-counsel
                                          re finalizing our opposition [0.1];
                                          finalizing opposition to motion to
                                          retain confidentiality [0.6]

          12/09/2019   Diaz,      Diaz    Reviewing Bernard's and co-               $675.00       0.40       0.40         $270.00
                       Demetric   V.      counsel's revisions to opp to                hr
                                  Tesla   motion to retain confidentiality
                                          [0.3]; call with co-counsel to
                                          discuss finalizing opp and filing
                                          [0.1]

          04/01/2020   Diaz,      Diaz    Reviewing 1981 jury instruction to        $675.00       2.70       2.70        $1,822.50
                       Demetric   v.      revise [0.1]; reviewing sample 1981          hr
                                  Tesla   jury instructions [0.2]; reviewing
                                          MSJ opp to understand 1981
                                          liability of Tesla [0.2]; reviewing
                                          joint disputed legal issues [0.3];
                                          research regarding 1981 cause of
                                          action as a third party intended
                                          beneficiary [0.8]; research
                                          regarding CA case law defining
                                          third party beneficiary [0.3];
                                          rewriting 1981 jury instruction for
                                          liability against Tesla [0.8]

          07/22/2023   Diaz,      Diaz    Reviewing docket to determine             $675.00       0.10       0.10         $67.50
                       Demetric   v.      deadline for mtn for atty fees               hr
                                  Tesla

          07/24/2023   Diaz,      Diaz    Preparing deRubertis dee for mtn          $675.00       0.60       0.60        $405.00
                       Demetric   v.      for atty fees [0.5]; email to JBA re         hr
                                  Tesla   same [0.1]

          07/25/2023   Diaz,      Diaz    Responding to Bernard's email re          $675.00       0.10       0.10         $67.50
                       Demetric   v.      atty fee decs                                hr
                                  Tesla

          09/13/2023   Diaz,      Diaz    Revising Bernard's dee in support         $675.00       1.50       1.50        $1,012.50
                       Demetric   v.      of mtn for atty fees including               hr
                                  Tesla   reviewing billing for case to
                                          incorporate

          10/09/2023   Diaz,      Diaz    Reviewing and redacting JBA's             $675.00       1.50       1.50        $1,012.50
                       Demetric   v.      billing for mtn for atty fees                hr
                                  Tesla



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          10/10/2023   Diaz,      Diaz    Email to Gus re further billing for        $675.00       2.10       2.10        $1,417.50
                       Demetric   v.      atty fees motion [0.1]; further               hr
                                  Tesla   revisions to JBA's dee including
                                          incorporating Rubin's revisions
                                          and section re out of town
                                          expenses [1.2]; reviewing emails
                                          from Bernard re add'I work for atty
                                          fee mtn [0.1]; emailing him re same
                                          [0.1]; organizing exhibits for dee
                                          and further redacting [0.6]

          10/11/2023   Diaz,      Diaz    Responding to email from JBA re            $675.00       1.00       1.00        $675.00
                       Demetric   v.      amending dee [0.1]; email to Gus              hr
                                  Tesla   re costs [0.1]; further amendment
                                          to dee re trial costs [0.8]

          10/16/2023   Diaz,      Diaz    Reviewing and responding to                $675.00       0.10       0.10         $67.50
                       Demetric   v.      emails from Gus and JBA re mtn                hr
                                  Tesla   for atty fees

                                                                 Total Labor For Britt Karp       32.10      32.10       $21,667.50

                                                              Total Expense For Britt Karp                   $0.00          $0.00
                                                                        Total For Britt Karp                             $21,667.50

          Gustin Ham
          03/20/2020   Diaz,      Diaz    Draft page:line summary of Wayne           $225.00       9.30       9.30       $2,092.50
                       Demetric   v.      Jackson for use at trial [9.2]; Email        hr
                                  Tesla   summary to JBA [.1]

          03/23/2020   Diaz,      Diaz    Begin draft page:line summary of           $225.00       5.50       5.50        $1,237.50
                       Demetric   v.      Erin Marconi for use at trial [5.5].         hr
                                  Tesla

          03/24/2020   Diaz,      Diaz    Continue page:line summary of              $225.00       4.30       4.30         $967.50
                       Demetric   v.      Erin Marconi for use at trial [4.2];         hr
                                  Tesla   Email summary to JBA [.1]

          03/25/2020   Diaz,      Diaz    Draft page:line summary of John            $225.00       7.30       7.30        $1,642.50
                       Demetric   v.      Wheeler for use at trial [7.2]; Email        hr
                                  Tesla   same to JBA [.1]

          09/13/2021   Diaz,      Diaz    Review page:line summary of                $225.00       5.80       5.80        $1,305.00
                       Demetric   v.      Michael Wheeler and identify                 hr
                                  Tesla   deposition testimony to create
                                          video clips to be played at trial
                                          [1.1]; Convert Wheeler raw video
                                          files to mpegs [1.8]; Upload Donet
                                          mpegs for synchronization [.6];
                                          Create video clips of Michael
                                          Wheeler for use at trial, fine tune
                                          clips (exclude colloquy and
                                          objections) [2.1]; Send Deleon
                                          video clips to JBA [.2].




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          09/17/2021   Diaz,      Diaz    Review page:line summary of               $225.00       16.20      16.20       $3,645.00
                       Demetric   v.      Monica Deleon and identify                  hr
                                  Tesla   deposition testimony to create
                                          video clips to be played at trial [.8];
                                          Convert Deleon raw video files to
                                          mpegs [4.1]; Upload Deleon
                                          mpegs for synchronization [.6];
                                          Create video clips of Monica
                                          Deleon for use at trial, fine tune
                                          clips (exclude colloquy and
                                          objections) [2.1]; Send Deleon
                                          video clips to JBA [.2]; Convert
                                          Donet raw video files to mpegs
                                          [.8]; Upload Donet mpegs for
                                          synchronization [.5]; Review
                                          page:line summary of Victor
                                          Quintero and identify deposition
                                          testimony to create video clips to
                                          be played at trial [.9]; Convert
                                          Donet raw video files to mpegs
                                          [3.6]; Upload Quintero mpegs for
                                          synchronization [.5]; Create video
                                          clips of Victor Quintero for use at
                                          trial, fine tune clips (exclude
                                          colloquy and objections) [1.9];
                                          Send Quintero video clips to JBA
                                          [.2].

                                                               Total Labor For Gustin Ham         48.40      48.40       $10,890.00

                                                            Total Expense For Gustin Ham                     $0.00          $0.00

                                                                      Total For Gustin Ham                               $10,890.00

          J. Bernard Alexander, III
          06/03/2019   Diaz,      Diaz    Diaz v Tesla (Organ): lengthy             $1,200.00      1.30       1.30        $1,560.00
                       Demetric   V.      phone call re potential co-counsel            hr
                                  Tesla   case [1.3]

          06/07/2019   Diaz,      Diaz    Review of complaint and                   $1,200.00      1.20       1.20        $1,440.00
                       Demetric   V.      supporting declarations [1.0],                hr
                                  Tesla   phone call with co-counsel re
                                          continuance of trial date, agreeing
                                          to co-counsel on case [.2]

          07/23/2019   Diaz,      Diaz    Diaz v Tesla: lengthy phone call,         $1,200.00      0.50       0.50        $600.00
                       Demetric   V.      update re case status,                        hr
                                  Tesla   developments, strategizing re
                                          motions to compel [.5]

          07/24/2019   Diaz,      Diaz    Receipt of emails attaching (1) key       $1,200.00      0.80       0.80        $960.00
                       Demetric   v.      documents, (2) case summary                   hr
                                  Tesla   from co-counsel [.4]; draft litigation
                                          memorandum [.4]

          07/29/2019   Diaz,      Diaz    Review of retainer agreements [.2]        $1,200.00      0.20       0.20        $240.00
                       Demetric   v.                                                    hr
                                  Tesla



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          07/30/2019   Diaz,      Diaz    Email exchange re fee split [.2]          $1,200.00       0.20       0.20        $240.00
                       Demetric   v.                                                    hr
                                  Tesla

          08/05/2019   Diaz,      Diaz    Extensive review of Owen Diaz             $1,200.00       7.10       7.10       $8,520.00
                       Demetric   v.      depo. Vol. I [6.2]; preparation of            hr
                                  Tesla   co-counsel agreement [.3];
                                          preparation of detailed outline of
                                          corroboration discovery to be
                                          performed [.6]

          08/08/2019   Diaz,      Diaz    Email exchange re scheduling              $1,200.00       0.30       0.30        $360.00
                       Demetric   v.      date for strategy discussion [.1];            hr
                                  Tesla   receipt of caption, prepare notice
                                          of association [.2]

          08/15/2019   Diaz,      Diaz    Review of Owen Diaz Depa. Vol. II         $1,200.00       3.50       3.50       $4,200.00
                       Demetric   v.      [3.5]                                         hr
                                  Tesla

          08/16/2019   Diaz,      Diaz    Conference call with co-counsel re        $1,200.00       0.60       0.60         $720.00
                       Demetric   v.      discovery strategy, extending MSJ             hr
                                  Tesla   opposition time; expanding scope
                                          of discovery beyond artificial Tesla
                                          restrictions [.6]

          08/19/2019   Diaz,      Diaz    Review email summary of strategy          $1,200.00       0.20       0.20        $240.00
                       Demetric   v.      call [.2]                                     hr
                                  Tesla

          08/20/2019   Diaz,    Diaz      Extensive review of deposition            $1,200.00       5.10       5.10        $6,120.00
                       Demetric v.        transcript: Wayne Jackson [5.1]               hr
                                Tesla

          08/27/2019   Diaz,      Diaz    Page:line summary of witness:             $1,200.00       4.30       4.30        $5,160.00
                       Demetric   v.      John Wheeler [4.3]                            hr
                                  Tesla

          08/28/2019   Diaz,      Diaz    Extensive review and revision of          $1,200.00       1.00       1.00        $1,200.00
                       Demetric   v.      M&C Letter re defense obstruction             hr
                                  Tesla   of discovery [1.0]

          09/10/2019   Diaz,      Diaz    Multiple texts re status                  $1,200.00       0.20       0.20        $240.00
                       Demetric   v.      conference, availability [.2]                 hr
                                  Tesla

          09/11/2019   Diaz,      Diaz    Texts exchange confirming May 11,         $1,200.00       1.90       1.90       $2,280.00
                       Demetric   v.      2020 trial availability [.1]; review          hr
                                  Tesla   and revision of M&C letter re
                                          additional depositions [.4];
                                          research re race expert [.4];
                                          preparation of detailed email re
                                          rampant use of N word in
                                          workplace and approach to
                                          subjective non-offensiveness by
                                          AA EE's [1.0]




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          09/12/2019   Diaz,      Diaz    Review email exchanges re                $1,200.00       0.70       0.70        $840.00
                       Demetric   v.      complaint, outstanding M&C letter            hr
                                  Tesla   exchanges, confirmation of early
                                          trial date [.4]; review of alternative
                                          proposal re additional discovery
                                          and MSJ briefing [.3]

          09/13/2019   Diaz,      Diaz    Phone call re Demetric settlement        $1,200.00       0.60       0.60         $720.00
                       Demetric   v.      [.2]; review email re opening                hr
                                  Tesla   statement blurb from Organ,
                                          amend [.3]; Phone call with Organ
                                          regarding Demetric's settlement
                                          [.1]

          09/16/2019   Diaz,      Diaz    Receipt of emails re scheduling          $1,200.00       0.20       0.20        $240.00
                       Demetric   v.      conference for settlement                    hr
                                  Tesla   conference [.1]; receipt of email re
                                          same [.1]

          09/25/2019   Diaz,      Diaz    Review email re expert                   $1,200.00       0.20       0.20        $240.00
                       Demetric   v.      unavailability (Robbins, Read ing),          hr
                                  Tesla   agree with decision to seek delay
                                          in disclosures [.2]

          09/25/2019   Diaz,      Diaz    Review email re proposed                 $1,200.00       0.10       0.10         $120.00
                       Demetric   v.      stipulation to delay expert                  hr
                                  Tesla   disclosure [.1]

          09/27/2019   Diaz,      Diaz    Phone calls re expert retention          $1,200.00       1.50       1.50        $1,800.00
                       Demetric   v.      issues: psych; discussion of                 hr
                                  Tesla   potential alternative workplace
                                          experts [.3]; email and message to
                                          defense counsel (Kennedy); text
                                          message to potential psych expert
                                          (Reading) [.2]; research alternative
                                          psych expert, provide curriculum
                                          vitae to co-counsel [.4];
                                          communications with preferred
                                          psych re scheduling examination
                                          [.6]

          09/30/2019   Diaz,      Diaz    Email and text exchanges                 $1,200.00       0.60       0.60         $720.00
                       Demetric   V.      attempting to get client in for              hr
                                  Tesla   examination [.4]; receipt of email
                                          attaching draft MSJ opposition [.2]

          10/01/2019   Diaz,      Diaz    Extensive review and revision of         $1,200.00       5.90       5.90        $7,080.00
                       Demetric   v.      2nd draft of MSJ Opposition [3.5];           hr
                                  Tesla   phone call with co-counsel re
                                          status of draft opposition [.2];
                                          extensive review and revision of
                                          5th draft of opposition [2.4]

          10/02/2019   Diaz,      Diaz    Review email re revised MSJ,             $1,200.00       0.20       0.20        $240.00
                       Demetric   v.      client appearance at psych                   hr
                                  Tesla   examination [.2]




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          10/03/2019   Diaz,      Diaz    Review of order re discovery [.2];      $1,200.00      1.90       1.90       $2,280.00
                       Demetric   v.      strategy conference call with co-           hr
                                  Tesla   counsel re depositions to be
                                          completed, timing [.6]; clear
                                          calendar for depositions [.2]; email
                                          San Diego counsel re deposition
                                          location [.1]; review email re chart
                                          of depositions [.2]; coordinate
                                          scheduling [.2]; review of Di-az
                                          settlement agreement, email to
                                          co-counsel re same [.4]

          10/07/2019   Diaz,      Diaz    Review of emails re upcoming            $1,200.00      0.30       0.30        $360.00
                       Demetric   v.      depositions, Di'az settlement [.3]          hr
                                  Tesla

          10/08/2019   Diaz,      Diaz    Conference call re discovery            $1,200.00      1.30       1.30        $1,560.00
                       Demetric   v.      strategy, further meet and confer           hr
                                  Tesla   issue choices, "me too" strategy
                                          [1.3]

          10/09/2019   Diaz,      Diaz    Review emails between defense           $1,200.00      1.10        1.10       $1,320.00
                       Demetric   v.      counsel re upcoming depositions             hr
                                  Tesla   [.1]; email expert (Reading, Ph.D) re
                                          expert report due [.2]; initial
                                          receipt and review of expert report
                                          and materials from Dr. Reading
                                          [.6]; review of email summary of
                                          Kawasaki deposition from Organ
                                          [.2]

          10/10/2019   Diaz,      Diaz    Receipt of email from co-counsel        $1,200.00      0.30       0.30        $360.00
                       Demetric   V.      re witness (Torres) deposition off          hr
                                  Tesla   calendar [.1]; receipt of multiple
                                          emails rescheduling depositions,
                                          email to co-counsel re Marconi
                                          deposition [.2]

          10/11/2019   Diaz,      Diaz    Receipt and review of plaintiff         $1,200.00      0.60       0.60         $720.00
                       Demetric   v.      expert declaration [.2]; review of          hr
                                  Tesla   emails re depositions and
                                          scheduling meet and confer [.1];
                                          phone call with co-counsel re
                                          expert designation, Reading report
                                          [.3]

          10/16/2019   Diaz,      Diaz    Receipt of Tesla graffiti               $1,200.00      0.20       0.20        $240.00
                       Demetric   v.      photograph [.2]                             hr
                                  Tesla

          10/17/2019   Diaz,      Diaz    Review of objection to Tesla            $1,200.00     0.60        0.60         $720.00
                       Demetric   v.      designation of confidential                 hr
                                  Tesla   documents [.2]; review of email re
                                          "common talk" treatment of
                                          comments [.2]; review of email re
                                          Supervisor Denet: responsible for
                                          removal of bathroom graffiti [.2]




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          10/21/2019   Diaz,      Diaz    Conference with co-counsel re           $1,200.00      1.10        1.10       $1,320.00
                       Demetric   v.      deposition status, new case on              hr
                                  Tesla   dual employers (J iminez) [.1];
                                          review of Jiminez [.4], preparation
                                          of draft cover letter to Judge re
                                          application of case to facts [.2];
                                          review order extending discovery
                                          dispute deadline for letter [.1];
                                          follow up discussion re Marconi
                                          deposition testimony [.3]

          10/22/2019   Diaz,      Diaz    Email exchange re filing of "Recent     $1,200.00      0.20       0.20        $240.00
                       Demetric   v.      Statement of Decision" attaching            hr
                                  Tesla   Jiminez [.2];

          10/23/2019   Diaz,      Diaz    Review of additional Discovery          $1,200.00      0.40       0.40        $480.00
                       Demetric   v.      order allowing 45 minute "Donet"            hr
                                  Tesla   deposition [.3]; text message
                                          exchange with co-counsel re
                                          coordinating taking of deposition
                                          [.1]

          10/24/2019   Diaz,      Diaz    Review of post MSJ hearing order        $1,200.00      0.10       0.10         $120.00
                       Demetric   v.      [.1]                                        hr
                                  Tesla

          10/28/2019   Diaz,      Diaz    Initial receipt and review of           $1,200.00      0.20       0.20        $240.00
                       Demetric   v.      electronic deposition transcript;           hr
                                  Tesla   forward to co-counsel [.1]; review
                                          of Notice of Voluntary Dismissal
                                          by stipulation of West Valley
                                          staffing Group [.1]

          11/01/2019   Diaz,      Diaz    Phone call with co-counsel re MSJ       $1,200.00      0.20       0.20        $240.00
                       Demetric   v.      oppositions [.2]                            hr
                                  Tesla

          11/04/2019   Diaz,      Diaz    Review of Tesla MSJ [.5]; phone         $1,200.00      1.20       1.20        $1,440.00
                       Demetric   v.      call with co-counsel strategizing re        hr
                                  Tesla   opposition, division of labor re
                                          same [.7]

          11/06/2019   Diaz,      Diaz    Begin research of punitive              $1,200.00      5.40       5.40       $6,480.00
                       Demetric   V.      damage authority [.5] extensive             hr
                                  Tesla   review of deposition transcript:
                                          Marconi [4.7]; email exchange with
                                          co-counsel re availability to
                                          defend Reading deposition [.2]

          11/08/2019   Diaz,      Diaz    Page:line summary: Romero [7.2]         $1,200.00      7.20       7.20       $8,640.00
                       Demetric   V.                                                  hr
                                  Tesla




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           11/11/2019   Diaz,      Diaz    Extensive review of deposition:          $1,200.00      5.00      5.00       $6,000.00
                        Demetric   v.      Kawasaki [3.4]; discussion with              hr
                                   Tesla   associate (Britt) re punitive
                                           damage research needed [.2],
                                           review of same re Kolstad [.4];
                                           research re punitive opposition:
                                           affirmative, non-delegable duties
                                           [1.0]

           11/11/2019   Diaz,      Diaz    Email exchange with co-counsel re        $1,200.00      0.40      0.40        $480.00
                        Demetric   v.      defense proposal to delay expert             hr
                                   Tesla   designation [.1]; discussion of
                                           punitive damage opposition
                                           assignment with associate [.3];

           11/12/2019   Diaz,      Diaz    Legal research re MSJ, punitive          $1,200.00      9.00      9.00       $10,800.00
                        Demetric   v.      damages opposition [4.0]; begin              hr
                                   Tesla   fact compilation of testimony re
                                           managing agent, punitive liability
                                           [5.0]

           11/12/2019   Diaz,      Diaz    Preparation: strategize re cross-        $1,200.00      1.00      1.00        $1,200.00
                        Demetric   v.      examination of employer's                    hr
                                   Tesla   abrogation of duty re non-
                                           regulation of use of the N-word by
                                           AA employees inside the
                                           workplace, outline cross-
                                           examination [1.0]; begin
                                           preparation of opposition to MSJ
                                           re punitive damages

           11/13/2019   Diaz,      Diaz    Preparation of opposition to MSJ         $1,200.00    10.00      10.00       $12,000.00
                        Demetric   V.      (Legal research re MSJ, punitive             hr
                                   Tesla   damages opposition [4.0]; begin
                                           fact compilation of testimony re
                                           managing agent, punitive liability;
                                           organize arguments in opposition
                                           [6.0]

           11/14/2019   Diaz,      Diaz    Continue preparation of MSJ              $1,200.00    10.70       10.70      $12,840.00
                        Demetric   v.      opposition: continue compilation             hr
                                   Tesla   of facts argument in opposition to
                                           punitive damage motion [5.0];
                                           initial receipt, review and revision
                                           of draft of detailed facts from co-
                                           counsel [2.5]; combine punitive
                                           opposition arguments to create
                                           combined draft opposition [3.0];
                                           forward combined draft to co-
                                           counsel [.2]

           11/16/2019   Diaz,      Diaz    Review and revision of Tesla MSJ         $1,200.00      2.00      2.00       $2,400.00
                        Demetric   v.      Opposition [2.0]                             hr
                                   Tesla




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           11/18/2019   Diaz,      Diaz    Review and revise Tesla MSJ             $1,200.00       3.70       3.70       $4,440.00
                        Demetric   v.      opposition after co-counsel                 hr
                                   Tesla   (Organ) edits [2.0]; review and
                                           revise nextSource MSJ opposition
                                           [1.5]; multiple email
                                           communications re completion of
                                           same [.2]

           11/19/2019   Diaz,      Diaz    Email exchanges re pending              $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      depositions [.1]                            hr
                                   Tesla

           11/19/2019   Diaz,      Diaz    Extensive review and revision of        $1,200.00       5.50       5.50       $6,600.00
                        Demetric   v.      opposition to MSJ - Final:                  hr
                                   Tesla   nextSource [3.0]; Tesla [2.5]

           12/03/2019   Diaz,      Diaz    Receipt of email from court,            $1,200.00       0.30       0.30        $360.00
                        Demetric   v.      moving MSJ hearing date, re-                hr
                                   Tesla   calendar, reschedule conflicts [.3]

           12/07/2019   Diaz,      Diaz    Review and revise Oppositon to          $1,200.00      2.00        2.00       $2,400.00
                        Demetric   v.      Tesla Confidentiality designation           hr
                                   Tesla   [2.0]

           12/16/2019   Diaz,      Diaz    Begin Preparation for hearing on        $1,200.00       9.50      12.50       $15,000.00
                        Demetric   v.      MSJ: nextSource [4.0]; Tesla [5.0];         hr
                                   Tesla   preparation of materials for use at
                                           hearing [.5]

           12/17/2019   Diaz,      Diaz    Preparation [3.0]; attendance at        $1,200.00      4.00        6.50        $7,800.00
                        Demetric   v.      MSJ [1.0] travel back to LAX [2.5]          hr
                                   Tesla

           12/18/2019   Diaz,      Diaz    Review of notice of transcript          $1,200.00       0.20       0.20        $240.00
                        Demetric   v.      purchase by defendant                       hr
                                   Tesla   nextSource, Email exchange with
                                           co-counsel re agreement to obtain
                                           [.1]; review of order re dismissal of
                                           West Valley [.1]

           12/30/2019   Diaz,      Diaz    Conference call with co-counsel re      $1,200.00       0.80       0.80        $960.00
                        Demetric   v.      status post MSJ ruling, discussion          hr
                                   Tesla   of liability, valuation of case [.8]

           01/02/2020   Diaz,      Diaz    Extensive review and revision of        $1,200.00       3.80       3.80       $4,560.00
                        Demetric   v.      MSC brief, email exchanges re               hr
                                   Tesla   same [2.0]; Final reivew and
                                           revision to wh ittle down to 10
                                           pages. [.5]; conference call re MSC
                                           strategy [.6]; Telephone call with
                                           JBA and LO regarding settlement
                                           amount [.7].

           01/03/2020   Diaz,      Diaz    Review email re settlement              $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      demand to defendants [.1]                   hr
                                   Tesla




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           01/14/2020   Diaz,      Diaz    Phone call with co-counsel                 $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      (Organ) re Recorder inquiry re                 hr
                                   Tesla   Sanction Motion [.3]; review email
                                           re expert (Reading) deposition
                                           notice, discussion and email
                                           exchange re covering deposition
                                           [.2]

           01/15/2020   Diaz,      Diaz    Preparation for MSC: download of           $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      pertinent documents [.4]                       hr
                                   Tesla

           01/16/2020   Diaz,      Diaz    Preparation and attendance at              $1,200.00      9.00      12.00       $14,400.00
                        Demetric   v.      MSC [9.0]                                      hr
                                   Tesla

           01/21/2020   Diaz,      Diaz    Review of order re further status          $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      conference re settlement,                      hr
                                   Tesla   calendar [.1]; review email from co-
                                           counsel re same [.1], and
                                           coordination of expert depositions
                                           [.2]

           01/27/2020   Diaz,      Diaz    Email exchange with jury                   $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      consultant (Plotkin) re trial                  hr
                                   Tesla   preparation [.1]

           01/28/2020   Diaz,      Diaz    Conference call with co-counsel,           $1,200.00     0.60        0.60         $720.00
                        Demetric   v.      jury consultant (Plotkin) re focus             hr
                                   Tesla   group, upcoming trial [.6]

           01/29/2020   Diaz,      Diaz    Email exchange re availability of          $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      jury consultant for trial [.1]                 hr
                                   Tesla

           02/05/2020   Diaz,      Diaz    Email exchanges with jury                  $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      consultant re scheduling                       hr
                                   Tesla   conference call [.1]

           02/10/2020   Diaz,      Diaz    Review calendar re upcoming trial          $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      preparation dates [.2]                         hr
                                   Tesla

           02/13/2020   Diaz,      Diaz    Conference call with co-counsel            $1,200.00      1.80       1.80        $2,160.00
                        Demetric   v.      and Jury Consultant (Harry Plotkin)            hr
                                   Tesla   re trial strategy [1.1]; initial receipt
                                           and review of expert materials
                                           from expert: Dr. Reading, Ph.d [.2];
                                           discussions with associate re
                                           preparation for defending
                                           deposition [.2]; discussion re
                                           production of responsive
                                           documents for deposition [.3]




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           02/18/2020   Diaz,      Diaz    Conference with associate re            $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      Reading deposition, comment                 hr
                                   Tesla   from defense attorney (Kennedy)
                                           [.2]; email exchange with co-
                                           counsel and jury consultant re
                                           scheduling [.1]; email co-counsel re
                                           invitation to discuss settlement,
                                           from defense counsel [.2]

           02/20/2020   Diaz,      Diaz    Email exchanges re proceeding           $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      with focus group, settlement                hr
                                   Tesla   inquiry from Tracey Kennedy [.2]

           02/23/2020   Diaz,      Diaz    Initial receipt of email re amended     $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      expert (Oppenheimer) report [.1]            hr
                                   Tesla

           03/06/2020   Diaz,      Diaz    Receipt of email from court             $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      scheduling conference call [.1];            hr
                                   Tesla   phone call with co-counsel (Organ)
                                           re unavailability [.2]; collect trial
                                           schedule and provide to co-
                                           counsel re availability [.2]

           03/13/2020   Diaz,      Diaz    Conference call re trial, jury          $1,200.00      1.00       1.00        $1,200.00
                        Demetric   v.      selection, focus group in light of          hr
                                   Tesla   CV-19 issues [1.0]

           03/13/2020   Diaz,      Diaz    Phone call re coordination of pre-      $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      trial meeting [.2]                          hr
                                   Tesla

           03/22/2020   Diaz,      Diaz    Lengthy phone call re pre-trial         $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      documents, strategy re trial [.5]           hr
                                   Tesla

           03/23/2020   Diaz,      Diaz    Review emails re trial preparation      $1,200.00      7.60       7.60        $9,120.00
                        Demetric   v.      [.2]; Review of proposed jury               hr
                                   Tesla   questionnaire [.4]; email co-
                                           counsel re approval of same [.1];
                                           extensive review and revision of
                                           MLIMs Nos. 1-7 [3.0]; email
                                           exchange re Farragher/Ellerth
                                           defense [.2]; extensive review and
                                           revision of jury instructions [2.0]
                                           and special verdict form [1.0];
                                           review email exchanges with
                                           defense counsel coordinating pre-
                                           trial meet and confers [.4]; phone
                                           call with co-counsel re verdict
                                           form, punitive damages correlated
                                           to Negligent Hiring/Retention [.3]




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           03/24/2020   Diaz,      Diaz    Review of multiple emails re pre-        $1,200.00      1.10       1.10       $1,320.00
                        Demetric   v.      trial exchange of documents [.4];            hr
                                   Tesla   phone call with co-counsel
                                           strategizing re response to
                                           defense pre-trial service of
                                           documents [.7]

           03/25/2020   Diaz,      Diaz    Phone call with co-counsel re pre-       $1,200.00      2.50      2.50       $3,000.00
                        Demetric   v.      trial meeting with defense [.5];             hr
                                   Tesla   extensive review and comparison
                                           of factual and legal issues in
                                           dispute in preparation for pre-trial
                                           meet and confer [2.0]

           03/26/2020   Diaz,      Diaz    Preparation for pre-trial                $1,200.00      2.10      2.10       $2,520.00
                        Demetric   v.      conference call [.5]; Conference             hr
                                   Tesla   call re same [1.3]; followup call
                                           with co-counsel [.3]

           03/27/2020   Diaz,      Diaz    Receipt and review of Tesla Issue        $1,200.00      5.50      5.50       $6,600.00
                        Demetric   v.      brief, begin merger of plaintiff and         hr
                                   Tesla   defense arguments [5.5]

           03/30/2020   Diaz,      Diaz    Email exchange re approval of            $1,200.00      1.80      1.80        $2,160.00
                        Demetric   v.      circulation of Issue Brief [.3];             hr
                                   Tesla   circulation of same to defense
                                           counsel [.1]; lengthy conference
                                           call re further pre-trial meet and
                                           confer [1.0]; follow up phone call
                                           with co-counsel [.4]

           03/31/2020   Diaz,      Diaz    Extensive review of defense              $1,200.00      2.00      2.00       $2,400.00
                        Demetric   v.      revision of Issue Brief [.7]; email          hr
                                   Tesla   exchange with co-counsel (Organ)
                                           re same and stipulation to
                                           continue [.3]; begin review of
                                           Fuller v City of Oakland [1.0]

           04/01/2020   Diaz,      Diaz    Preparation for and attendance at        $1,200.00      2.30      2.30       $2,760.00
                        Demetric   V.      conference call re pre-trial                 hr
                                   Tesla   documents [.8]; phone call with co-
                                           counsel re same, trial strategy [.5];
                                           email instruction to associate
                                           (Karp) re research needed on
                                           Section 1981 jury instruction [.3];
                                           review and revise proposed jury
                                           instruction No. 10 re 1981 proof
                                           [.4]; email to co-counsel [.1]; email
                                           exchange with defense counsel
                                           (Kennedy) re settlement [.2]




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           04/02/2020   Diaz,      Diaz    Email to co-counsel re settlement       $1,200.00       0.80       0.80        $960.00
                        Demetric   v.      overture [.1]; review emails from           hr
                                   Tesla   court re new trial and pre-trial
                                           dates, calendar [.2]; forward to jury
                                           consultant [.1]; phone calls with co-
                                           counsel re (1) opposition to
                                           defense MUM re use of race-
                                           based books, delayed timing of
                                           oppositions, and settlement [.4]

           04/06/2020   Diaz,      Diaz    Complete review of Fuller v City of     $1,200.00       1.40       1.40        $1,680.00
                        Demetric   V.      Oakland [.5]; amend Disputed                hr
                                   Tesla   legal issue brief [.5]; email
                                           exchange with co-counsel re same
                                           [.2]; and discussion of MIL
                                           excluding evidence re termination
                                           [.2]

           04/07/2020   Diaz,      Diaz    Pre- and post- conference call with     $1,200.00       1.00       1.00        $1,200.00
                        Demetric   v.      co-counsel re (1) settlement                hr
                                   Tesla   discussion; (2) pre-trial
                                           documents; (3) proof of 1981
                                           based on either joint-employer or
                                           benefits from contact entered
                                           between nextSource and Tesla
                                           [.6]; conference call with
                                           defendant re pre-trial documents
                                           [.4]

           04/10/2020   Diaz,      Diaz    Conference call re strategy with        $1,200.00       0.40       0.40        $480.00
                        Demetric   v.      co-counsel [.4]                             hr
                                   Tesla
           04/11/2020   Diaz,      Diaz    Further review of version 7 or          $1,200.00       1.20       1.20        $1,440.00
                        Demetric   v.      revised Disputed Statements of              hr
                                   Tesla   Law and Fact [.8]; review of
                                           related emails re same, and other
                                           pre-trial exchanges with defendant
                                           [.4];

           04/15/2020   Diaz,      Diaz    Email exchange re trial strategy        $1,200.00       0.50       0.50        $600.00
                        Demetric   v.      meeting [.1]; begin review of power         hr
                                   Tesla   point re joint employers [.4]

           04/16/2020   Diaz,      Diaz    Conference call with defense [.6];      $1,200.00       1.70       1.70       $2,040.00
                        Demetric   v.      review and revision of Instruction          hr
                                   Tesla   No. 10 [.5]; review of proposed
                                           stipulation re appearance by zoom
                                           or phone [.2]; email exchange re
                                           MUM to exclude evidence re non-
                                           racial investigation [.4]

           04/17/2020   Diaz,      Diaz    Review of demonstrative - timeline      $1,200.00      6.60        6.60        $7,920.00
                        Demetric   v.      [2.0]; lengthy strategy call with co-       hr
                                   Tesla   counsel [2.1]; review of issue
                                           outline in preparation for strategy
                                           call [.5]; review and revise MUM re
                                           Foster [2.0]



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           04/18/2020   Diaz,      Diaz    Review of revised jury                   $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      questionnaire from defense [.4];             hr
                                   Tesla   forward to co-counsel for review
                                           and approval [.1]

           04/19/2020   Diaz,      Diaz    Review of email re jury                  $1,200.00      3.50       3.50       $4,200.00
                        Demetric   v.      questionnaire, forward revisions to          hr
                                   Tesla   Jury Consultant (Plotkin) [.2];
                                           extensive review and revision of
                                           jury instructions, verdict form [3.0];
                                           email co-counsel re concerns [.3]

           04/20/2020   Diaz,      Diaz    Phone call re exchange of trial          $1,200.00      0.80       0.80        $960.00
                        Demetric   v.      documents [.3]; consultation with            hr
                                   Tesla   co-counsel re settlement valuation
                                           [.3]; preparation of email to
                                           defense counsel re same [.2]

           04/21/2020   Diaz,      Diaz    Trial Preparation: Kawasaki -            $1,200.00     4.20        4.20       $5,040.00
                        Demetric   v.      Extensive revision, reorganization           hr
                                   Tesla   of deposition testimony for use at
                                           trial [2.0]; receipt of email from
                                           defense enclosed revised, redline
                                           jury instructions [.2]; Extensive
                                           review and revision draft JNOV

           04/22/2020   Diaz,      Diaz    Review email re witness (Henry)          $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      [.1]; review email exchange re               hr
                                   Tesla   further pre-trial meet and confer
                                           [.2]

           04/25/2020   Diaz,      Diaz    Extensive review and revision of         $1,200.00      4.40       4.40       $5,280.00
                        Demetric   v.      jury instructions, current draft             hr
                                   Tesla   [2.0]; phone call with co-counsel
                                           (Organ) re same and MIL #4 [.2];
                                           review and revision of MUM #4
                                           [2.0]; email back to co-counsel
                                           with related comments [.2]

           04/26/2020   Diaz,      Diaz    Trial preparation: detailed              $1,200.00     8.00        8.00       $9,600.00
                        Demetric   V.      reorganization of Jackson                    hr
                                   Tesla   deposition summary for
                                           examination at trial [8.0]

           04/27/2020   Diaz,      Diaz    Conference call re pre-trial             $1,200.00      0.40       0.40        $480.00
                        Demetric   V.      documents [.4]; receipt and review           hr
                                   Tesla   of defense final drafts: jury
                                           instructions, witness list, exhibit
                                           list [.3]

           04/28/2020   Diaz,      Diaz    Extensive review and revision of         $1,200.00      5.20       5.20       $6,240.00
                        Demetric   v.      Opposition to defense MLIMs                  hr
                                   Tesla   [5.0]; email exchange with co-
                                           counsel re same [.2]

           04/29/2020   Diaz,      Diaz    Preparation of examination outline       $1,200.00      7.30       7.30       $8,760.00
                        Demetric   v.      of witness: Marconi [7.0]; review of         hr
                                   Tesla   miscellaneous emails re pre-trial
                                           filings [.3]



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           05/04/2020   Diaz,      Diaz    Review of email exchanges re              $1,200.00       0.30       0.30        $360.00
                        Demetric   v.      used or non-use of redacted                   hr
                                   Tesla   version of Trial Exh. 3 for purposes
                                           of pre-trial motions [.3]

           05/07/2020   Diaz,      Diaz    Phone call with co-counsel                $1,200.00       0.50       0.50        $600.00
                        Demetric   v.      preparing for final pre-trial                 hr
                                   Tesla   conference meeting and
                                           upcoming MUM hearing [.5]

           05/10/2020   Diaz,      Diaz    Extensive preparation for Pre-trial       $1,200.00      8.00        8.00       $9,600.00
                        Demetric   v.      hearing. Extensive review of MUM              hr
                                   Tesla   re (1) relevance of performance
                                           issues introduced by Tesla; (2) lay
                                           opinion testimony re
                                           offensiveness of N-word; (3)
                                           exclusion of testimony from "me
                                           too" witnesses; (4) use of book
                                           "N---" in closing [8.0]

           05/11/2020   Diaz,      Diaz    Preparation [1.0]; and attendance         $1,200.00       2.80       2.80       $3,360.00
                        Demetric   v.      at Pre-trial conference, argument             hr
                                   Tesla   of Motions in Limine [1.4] post
                                           hearing discussion with co-
                                           counsel [.4]

           05/14/2020   Diaz,      Diaz    Phone call with co-counsel re             $1,200.00       0.40       0.40        $480.00
                        Demetric   v.      inquiry from Magistrate lllman [.2];          hr
                                   Tesla   review of Minute Entry re
                                           settlement discussion [.2]

           05/15/2020   Diaz,      Diaz    Receipt of order confirming new           $1,200.00       0.30       0.30        $360.00
                        Demetric   v.      trial date and pretrial conference            hr
                                   Tesla   date, calendar [.3]

           05/18/2020   Diaz,      Diaz    Receipt of email requesting fees          $1,200.00       0.30       0.30        $360.00
                        Demetric   v.      and costs to date, to forward to              hr
                                   Tesla   Magistrate llman [.1]; request
                                           updated information from office
                                           manager (Gustin) for forwarding;
                                           forwarding of same [.2]

           05/22/2020   Diaz,      Diaz    Review of Order re MUMs [.5];             $1,200.00       1.30       1.30        $1,560.00
                        Demetric   V.      updated trial date [.1]; lengthy              hr
                                   Tesla   phone call with co-counsel re
                                           strategy for trial preparation based
                                           on order [.7]

           06/05/2020   Diaz,      Diaz    Review of email re #BLM overlay           $1,200.00       0.10       0.10         $120.00
                        Demetric   V.      to jury selection [.1]                        hr
                                   Tesla

           06/12/2020   Diaz,      Diaz    Page:Line summary of Monica de            $1,200.00       9.00       9.00       $10,800.00
                        Demetric   V.      Leon [9.0]                                    hr
                                   Tesla




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           06/17/2020   Diaz,      Diaz    Co-counsel Strategy meeting re          $1,200.00      2.10       2.10       $2,520.00
                        Demetric   v.      trial themes, focus group, witness          hr
                                   Tesla   order and time estimates [1.6];
                                           preparation of detailed notes re
                                           trial presentation [.5]

           06/20/2020   Diaz,      Diaz    Page:line summary of deposition:        $1,200.00      4.30       4.30        $5,160.00
                        Demetric   v.      Wheeler [4.3]                               hr
                                   Tesla

           06/25/2020   Diaz,      Diaz    Phone call to Mika Hilaire re focus     $1,200.00      0.60       0.60         $720.00
                        Demetric   v.      group [.2]; email to trial team re          hr
                                   Tesla   agreement to play defense
                                           attorney role [.2]; email exchange
                                           scheduling focus group [.2]

           06/26/2020   Diaz,      Diaz    Review email re focus group,            $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      consider options [.3]                       hr
                                   Tesla

           06/28/2020   Diaz,      Diaz    Review emails re focus group            $1,200.00      0.80       0.80        $960.00
                        Demetric   v.      planning and option to elect                hr
                                   Tesla   remote vs in person focus group
                                           and evaluate options [.5];
                                           preparation of response re
                                           reservations about remote
                                           presentations [.3]

           06/29/2020   Diaz,      Diaz    Further email exchanges with            $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      Plotkin re focus group preparation          hr
                                   Tesla   [.2]

           07/16/2020   Diaz,      Diaz    Email from expert re value of Tesla     $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      re punitive damages [.1]                    hr
                                   Tesla

           07/16/2020   Diaz,      Diaz    Email exchange re Tesla                 $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      quadrupling of net worth - punitive         hr
                                   Tesla   damages [.2]

           07/21/2020   Diaz,      Diaz    Review and response to emails re        $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      focus group [.3]                            hr
                                   Tesla

           07/24/2020   Diaz,      Diaz    Email exchange re focus group           $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      [.2]; email to Mika Hilaire re same         hr
                                   Tesla   [.1]

           07/29/2020   Diaz,      Diaz    Conference call re focus group          $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      preparation, notes re defense               hr
                                   Tesla   positions [.7]

           07/31/2020   Diaz,      Diaz    Email exchanges with co-counsel,        $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      jury consultant re focus group [.3]         hr
                                   Tesla

           08/01/2020   Diaz,      Diaz    Receipt and review of focus group       $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      power point [.3]                            hr
                                   Tesla




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           08/01/2020   Diaz,      Diaz    Extensive review and re-                 $1,200.00      6.50       6.50        $7,800.00
                        Demetric   v.      organization of Wayne Jackson                hr
                                   Tesla   deposition re trial preparation
                                           [5.0]; strategize re focus group
                                           [1.0]; email to Mika Hilaire re
                                           N-word issue [.5]

           08/03/2020   Diaz,      Diaz    Review of multiple emails re focus       $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      group [.3]; locate missing                   hr
                                   Tesla   deposition summary (Wheeler) [.4]

           08/10/2020   Diaz,      Diaz    Begin extensive preparation for          $1,200.00      4.60       4.60       $5,520.00
                        Demetric   v.      focus group, begin outline and               hr
                                   Tesla   organization of facts for use [4.5];
                                           email to co-counsel scheduling
                                           conference call [.1]

           08/11/2020   Diaz,      Diaz    Continue extensive preparation           $1,200.00      6.70       6.70       $8,040.00
                        Demetric   v.      for focus group: continue outline            hr
                                   Tesla   and organization of facts for use
                                           [2.5]; substantial review of draft
                                           power points and reorganize for
                                           use at focus group [2.0]; email
                                           exchanges with co-counsel re
                                           specialized changes needed to
                                           power point [.4]; Conference call
                                           with co-counsel strategizing,
                                           preparation for focus group [1.2];
                                           receipt of corrected Power Point
                                           [.2] and Diaz excerpts for use at
                                           trial, edit same for video clips and
                                           forward to office manager for
                                           creation [.4]

           08/12/2020   Diaz,      Diaz    Trial preparation: extensive             $1,200.00      4.40       4.40       $5,280.00
                        Demetric   v.      revision of examination testimony            hr
                                   Tesla   of Wheeler [3.5]; preparation of
                                           Wheeler excerpts to be used for
                                           focus group [.5], email exchanges
                                           with office manager and co-
                                           counsel re preparation of video
                                           excerpts [.4]

           08/13/2020   Diaz,      Diaz    Focus group preparation: email           $1,200.00      3.00       3.00       $3,600.00
                        Demetric   v.      exchange with office manager re              hr
                                   Tesla   video clip length, adjustments [.1];
                                           extensive review and
                                           reorganization of video clips for
                                           use at focus group [2.0]; email
                                           office manager re same [.1]; email
                                           exchange with jury consultant [.1];
                                           review and revision of compilation
                                           of testimony, email office manager
                                           re corrections [.5]; email team re
                                           video clips to be used [.2]




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           08/14/2020   Diaz,      Diaz  Preparation for Focus Group:               $1,200.00      10.00      10.00      $12,000.00
                        Demetric   V.    Extensive revision of focus group              hr
                                   Tesla outline, preparation of argument;
                                         email exchanges with co-counsel
                                         re revision to power point,
                                         materials to be use, adoption of
                                         nextSource slide(s), coordination
                                         of arguments for presentation
                                         [10.0]

           08/15/2020   Diaz,      Diaz    Preparation [2.0]; and attendance        $1,200.00      6.90        6.90       $8,280.00
                        Demetric   V.      at Focus Group [4.0]; post strategy          hr
                                   Tesla   sessio n re results [.9]
           08/17/2020   Diaz,      Diaz    Lengthy strategy call with co-           $1,200.00       1.70       1.70       $2,040.00
                        Demetric   V.      counsel (Organ) re pre-trial                 hr
                                   Tesla   preparation [1.7]

           08/19/2020   Diaz,      Diaz  Trial Preparation: Extensive               $1,200.00      4.70        4.70       $5,640.00
                        Demetric   V.    revision of examination of Wayne               hr
                                   Tesla Jackson [2.0]; review file re trial
                                         strategy for wit nesses, reorganize
                                         file accord ingly [1.0]; Strategy
                                         session with co-counsel re trial
                                         themes, opening, anticipating
                                         defenses [1.6]; receipt of email
                                         scheduling client trial preparation,
                                         calendar [.1]
           08/21/2020   Diaz,      Diaz    Review emails re revision to j ury       $1,200.00      0.30       0.30         $360.00
                        Demetric   V.      instructions to address Covid, fires         hr
                                   Tesla   re hardship questions [.3]

           08/23/2020   Diaz,      Diaz    Begin review and revision of             $1,200.00      1.50        1.50       $1,800.00
                        Demetric   V.      examination testimony                        hr
                                   Tesla   (deposition) re Owen Diaz [1.5]

           08/24/2020   Diaz,      Diaz    Receipt of order vacating pre-trial      $1,200.00      0.70        0.70        $840.00
                        Demetric   V.      confernece [.2]; phone call with             hr
                                   Tesla


           09/01/2020   Diaz,      Diaz    Preparation and attendance at trial $1,200.00           0.80       0.80         $960.00
                        Demetric   v.      setting conference [.6];                hr
                                   Tesla   conference call with co-counsel re
                                           ongoing trial preparation [.1];
                                           review of emails to expert, client
                                           re                .1]

           09/03/2020   Diaz,      Diaz    Review file re trial preparation [.2];   $1,200.00      0.40       0.40         $480.00
                        Demetric   V.      Receipt of email from defendant              hr
                                   Tesla   seeking MSC dates, review
                                           calendar and respond to co-
                                           counsel [.2]

           09/09/2020   Diaz,      Diaz    Receipt of email re MSC                  $1,200.00       0.10       0.10        $120.00
                        Demetric   V.      scheduled, calendar [.1]                     hr
                                   Tesla




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           09/16/2020   Diaz,      Diaz    Review of New Orders from                $1,200.00      0.20      0.20         $240.00
                        Demetric   V.      Northern District re Coronavirus             hr
                                   Tesla   [.2]

           10/23/2020   Diaz,      Diaz    Preparation for call (.4]. Zoom          $1,200.00      1.30       1.30       $1,560.00
                        Demetric   V.      conference call: trial strategizing,         hr
                                   Tesla   update (.9]

           11/02/2020   Diaz,      Diaz    Strategy meeting re trial,               $1,200.00      1.00       1.00       $1,200.00
                        Demetric   V.      upcoming settlement conference               hr
                                   Tesla   [1.0]
           11/04/2020   Diaz,      Diaz    Email exchange with jury                 $1,200.00      0.10       0.10        $120.00
                        Demetric   V.      consultant re trials proceeding in           hr
                                   Tesla   northern district [.1]

           11/10/2020   Diaz,      Diaz    Review notes of trial preparation        $1,200.00      0.50      0.50         $600.00
                        Demetric   V.      calls [.5]                                   hr
                                   Tesla

           11/13/2020   Diaz,      Diaz    Preparation for and attendance at        $1,200.00      1.70       1.70       $2,040.00
                        Demetric   V.      MSC (1.0]; ~ost MSC conference               hr
                                   Tesla

                                           with co-counsel, forward draft
                                           opening for review by co-counsel
                                           [.5]
           11/16/2020   Diaz,      Diaz    Receipt and review of minute             $1,200.00      0.10       0.10        $120.00
                        Demetric   V.      order confirming Mediator's                  hr
                                   Tesla   proposal [.1]

           11/16/2020   Diaz,      Diaz    Review of email revision of              $1,200.00      0.20      0.20         $240.00
                        Demetric   V.      Opening Statement [.2]                       hr
                                   Tesla

           11/20/2020   Diaz,      Diaz    Trial preparation: Page:Line             $1,200.00      3.50      3.50        $4,200.00
                        Demetric   V.      summary of Victor Quintero (3.5]             hr
                                   Tesla
           11/20/2020   Diaz,      Diaz    Phone call with co-counsel               $1,200.00      0.30      0.30         $360.00
                        Demetric   V.      (Organ) re client                            hr
                                   Tesla
                                                    .2]; receipt of email
                                           confirming same [.1]

           11/23/2020   Diaz,      Diaz    Phone call with co-counsel re            $1,200.00      0.30       0.30        $360.00
                        Demetric   V.      rejection of settlement proposal             hr
                                   Tesla   by defendant, strategy going
                                           forward [.2]; receipt of email from
                                           court re further settlement
                                           conference set for FSC date [.1]

           12/03/2020   Diaz,      Diaz    Trial preparation: extensive review      $1,200.00      3.00      3.00        $3,600.00
                        Demetric   V.      and revision of themes and                   hr
                                   Tesla   closing (opening) argument notes
                                           [3.0]




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           12/04/2020   Diaz,      Diaz    Preparation of updated trial             $1,200.00      3.00       3.00       $3,600.00
                        Demetric   v.      examination of Wheeler [1.5];                hr
                                   Tesla   begin review of examination of
                                           Deleon [1.5]

           12/07/2020   Diaz,      Diaz    Phone call with co-counsel re            $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      continuance of trial, review                 hr
                                   Tesla   calendar re availability [.3]

           12/15/2020   Diaz,      Diaz    Preparation and attendance at            $1,200.00      1.50       1.50        $1,800.00
                        Demetric   v.      CMC [.8] and Settlement                      hr
                                   Tesla   Conference [.5]; post conference
                                           call with co-counsel re status [.1];
                                           calendar trial dates [.1]

           01/20/2021   Diaz,      Diaz    Review of defense CMC statement          $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      [.1]                                         hr
                                   Tesla

           02/11/2021   Diaz,      Diaz    Email exchange with co-counsel re        $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      ongoing Covid-19 issues adversely            hr
                                   Tesla   affect jury pool and current trial
                                           date [.3]

           02/12/2021   Diaz,      Diaz    Email exchanges confirming               $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      conference call, calendar [.1]               hr
                                   Tesla
           02/16/2021   Diaz,      Diaz    Review calendar, conference call         $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      with defense counsel re moving               hr
                                   Tesla   trial date, mutually agreeable
                                           dates, agreement to stipulation
                                           [.5]

           03/02/2021   Diaz,      Diaz    Email to co-counsel re                   $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      unavailability for for hearing {1];          hr
                                   Tesla   receipt of order continuing trial
                                           and pre-trial dates, calendar [.2]

           04/23/2021   Diaz,    Diaz      Email exchange scheduling                $1,200.00      0.10       0.10         $120.00
                        Demetric v.        strategy meeting [.1]                        hr
                                 Tesla

           05/24/2021   Diaz,      Diaz    Email with co-counsel re                 $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      rescheduling meeting [.1]                    hr
                                   Tesla

           06/09/2021   Diaz,      Diaz    Review calendar, forward email re        $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      status availability [.2]                     hr
                                   Tesla

           06/15/2021   Diaz,    Diaz      Preparation [.2] and appearance at       $1,200.00      0.60       0.60         $720.00
                        Demetric v.        settlement check-in call [.2]; post-         hr
                                 Tesla     hearing conference call with co-
                                           counsel [.2]

           06/18/2021   Diaz,      Diaz    Email exchange confirming                $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      strategy session date, time [.1]             hr
                                   Tesla




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           06/22/2021   Diaz,    Diaz      Conference call: strategy session       $1,200.00       0.80       0.80        $960.00
                        Demetric v.        re trial preparation [.8]                   hr
                                 Tesla

           07/16/2021   Diaz,      Diaz    Conference call with co-counsel:        $1,200.00       1.10        1.10       $1,320.00
                        Demetric   v.      strategy session re trial                   hr
                                   Tesla   preparation [1.1]

           07/19/2021   Diaz,    Diaz      Phone call with co-counsel, jury        $1,200.00       0.30       0.30        $360.00
                        Demetric v.        consultant (Harry Plotkin) re               hr
                                 Tesla     additional focus group [.3]

           07/27/2021   Diaz,    Diaz      call with LO, CN, BA, and Harry         $1,200.00       0.30       0.30        $360.00
                        Demetric v.        Plotkin re focus group [.3].                hr
                                 Tesla

           08/04/2021   Diaz,      Diaz    Review and revise Marconi               $1,200.00       2.80       2.80       $3,360.00
                        Demetric   V.      summary [1.5]; review strategy              hr
                                   Tesla   notes re focus group, forward
                                           notes to jury consultant [1.0]; email
                                           exchanges re focus group [.3]

           08/10/2021   Diaz,      Diaz    Preparation and attendance at           $1,200.00       0.50       0.50        $600.00
                        Demetric   V.      case management conference [.5]             hr
                                   Tesla
           08/11/2021   Diaz,      Diaz    Email exchange with jury                $1,200.00       0.20       0.20        $240.00
                        Demetric   V.      consultant, co-counsel (Larry) re           hr
                                   Tesla   trial date, scheduling [.2]

           08/18/2021   Diaz,      Diaz    Zoom conference with jury               $1,200.00       1.60       1.60        $1,920.00
                        Demetric   V.      consultant [.6]; strategy session           hr
                                   Tesla   with co-counsel re trial strategy
                                           [1.0]

           09/05/2021   Diaz,      Diaz    Preparation and Attendance at           $1,200.00      3.00        3.00       $3,600.00
                        Demetric   V.      jury focus group (JBA's panel) [3.0]        hr
                                   Tesla
           09/07/2021   Diaz,      Diaz    Trial preparation: Review file          $1,200.00       5.80       5.80       $6,960.00
                        Demetric   V.      materials, continue extensive               hr
                                   Tesla   preparation of examination of
                                           Ramon Martinez [5.0]; review of
                                           emails to defense re pre-trial
                                           matters, i.e., exhibits [.2];
                                           attendance at pre-trial hearing,
                                           calendar new pre-trial hearing
                                           date [.2]; post-hearing strategy
                                           session with co-counsel [.4]

           09/08/2021   Diaz,    Diaz      Begin preparation of opening:           $1,200.00      6.00        6.00        $7,200.00
                        Demetric v.        review of expected testimony from           hr
                                 Tesla     witnesses re subject-matter [6.0]




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           09/09/2021   Diaz,      Diaz    Trial Preparation: witness             $1,200.00       5.50       5.50       $6,600.00
                        Demetric   v.      preparation with Owen [4.9]; initial       hr
                                   Tesla   receipt and review of order from
                                           court re trial, calendar dates [.3];
                                           phone call with co-counsel re
                                           strategy for addressing upcoming
                                           deadlines [.3]

           09/10/2021   Diaz,      Diaz    Trial preparation: continue            $1,200.00       8.80       8.80       $10,560.00
                        Demetric   v.      preparation of Opening Statement           hr
                                   Tesla   [6.7]; Strategy call with co-counsel
                                           [1.3]; begin extensive review of
                                           jury consultant and focus group
                                           notes re incorporation into
                                           Opening [.6]; preparation of email
                                           to expert (Dr. Reading) re trial
                                           testimony [.2]

           09/11/2021   Diaz,      Diaz    Trial Preparation: preparation of      $1,200.00       7.90       7.90       $9,480.00
                        Demetric   v.      examination of Wayne Jackson               hr
                                   Tesla   [7.5]; email exchanges with co-
                                           counsel re witness order
                                           (Kawasaki vs Romero) [.4]

           09/12/2021   Diaz,      Diaz    Trial Preparation: begin               $1,200.00       5.00       5.00       $6,000.00
                        Demetric   v.      preparation of examination of              hr
                                   Tesla   Quintero [5.0]

           09/13/2021   Diaz,      Diaz    Trial Preparation: email exchanges     $1,200.00       7.10       7.10       $8,520.00
                        Demetric   v.      with co-counsel, staff (Gus) re            hr
                                   Tesla   video to correspond to trial
                                           examination [.4]; attendance at
                                           trial preparation of Plaintiff Owen
                                           [4.7]; review and revise Ramon
                                           Martinez Examination [2.0]

           09/14/2021   Diaz,      Diaz    Join conference call with witness      $1,200.00       1.10        1.10       $1,320.00
                        Demetric   V.      prep: Lamar Paterson [.8], phone           hr
                                   Tesla   call and text messages re trial
                                           strategy, options re calling Lamar
                                           [.3]

           09/15/2021   Diaz,      Diaz    Trial preparation: extensive review    $1,200.00       9.00       9.00       $10,800.00
                        Demetric   v.      and revision of Wayne Jackson              hr
                                   Tesla   trial examination [2.0]; continue
                                           extensive review and revision of
                                           Quintero trial examination [4.0];
                                           email exchange re jury selection,
                                           potential "Batson" motion [.3];
                                           Strategy meeting with co-counsel
                                           [1.0]; email exchange re witness
                                           preparation for Wheeler [.2]; begin
                                           extensive revision of Wheeler trial
                                           testimony [1.5]




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           09/16/2021   Diaz,      Diaz    Trial preparation: continue review         $1,200.00      3.00      3.00       $3,600.00
                        Demetric   v.      and revision of Wheeler trial                  hr
                                   Tesla   examination [2.0]; strategy phone
                                           call with co-counsel re witnesses
                                           to be called, order [1.0]

           09/17/2021   Diaz,      Diaz    Trial preparation: with client (Diaz)      $1,200.00      9.50      9.50       $11,400.00
                        Demetric   v.      [2.5]; page:line summary of Titus              hr
                                   Tesla   McCaleb [7.0]

           09/18/2021   Diaz,      Diaz    Trial preparation: witness                 $1,200.00      7.60      7.60        $9,120.00
                        Demetric   v.      preparation for witness (Wheeler,              hr
                                   Tesla   Michael) [1.4]; Phone call with
                                           Organ Re opening statement,
                                           supplemental pre-trial conference
                                           statement [.2]; review and revision
                                           of Opening Statement [5.0];
                                           review of detailed timeline re
                                           facts, witness examination [1.0];

           09/19/2021   Diaz,      Diaz    Review of time-line re Opening             $1,200.00    10.30      10.30       $12,360.00
                        Demetric   v.      Power point [.5]; preparation of               hr
                                   Tesla   opening power point and timeline
                                           to correspond with Opening
                                           Statement [2.0]; Phone call with
                                           Organ re McGinn testimony,
                                           contract fact [.3]; strategy session
                                           re same with co-counsel [1.5];
                                           prepare for Opening [6.0]

           09/20/2021   Diaz,      Diaz    Continue trial preparation:                $1,200.00      7.50      7.50       $9,000.00
                        Demetric   V.      continue Opening preparation                   hr
                                   Tesla   [4.0]; review and revise power
                                           point to correspond to Opening
                                           revisions [2.0]; organize and pack
                                           trial materials for use at trial [1.5]

           09/20/2021   Diaz,      Diaz    Trial Preparation: Opening [5.0],          $1,200.00      6.40      6.40        $7,680.00
                        Demetric   v.      review and revise companion                    hr
                                   Tesla   power point, version 2 [1.0], email
                                           team re further changes needed
                                           [.4]

           09/21/2021   Diaz,      Diaz    Trial Preparation: continue                $1,200.00      4.00      4.00       $4,800.00
                        Demetric   v.      refinement of Opening Statement                hr
                                   Tesla   [2.0]; review court order (email)
                                           advancing start trial for pre-trial
                                           conference [.1]; preparation and
                                           attendance at final trial status
                                           conference hearing [1.0]; post
                                           hearing strategy session re rulings
                                           [.9]




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           09/22/2021   Diaz,      Diaz    Trial Preparation: Review of jury      $1,200.00      10.00      10.00       $12,000.00
                        Demetric   v.      instructions, re-organize; receipt         hr
                                   Tesla   and review of court order re
                                           written ruling post-final pre-trial
                                           conference; review and revise
                                           Opening, give mock opening,
                                           review session for critiques and
                                           begin review and revision of same
                                           [10.0]
           09/23/2021   Diaz,      Diaz    Prepare for Opening, revise, refine    $1,200.00      11.60       11.60      $13,920.00
                        Demetric   V.      [3.0]; Meeting with Organ, Jury            hr
                                   Tesla   consultant, NA, CN re jury
                                           selection/instructions [.6];
                                           preparation and attendance at
                                           court to test technology;
                                           discussion with defense counsel
                                           re proposed stipulation re
                                           prospective jurors, coordinating
                                           trial witnesses [2.0]; review and
                                           revise Opening, organize subject-
                                           matter, exhibits for use with
                                           witnesses; extensive review of
                                           defense opening demonstrative,
                                           and revise opening and witness
                                           examination accordingly [6.0]

           09/24/2021   Diaz,      Diaz    Pre-trial meeting with jury            $1,200.00      13.50      13.50       $16,200.00
                        Demetric   v.      consultant, preparation for voir           hr
                                   Tesla   dire, travel to court [1.5];
                                           Appearance at court, pre-trial
                                           conferences with court, jury
                                           selection [5.0]; post-trial
                                           preparation for trial [7.0]

           09/25/2021   Diaz,      Diaz    Preparation for trial: revision and    $1,200.00      12.00      12.00       $14,400.00
                        Demetric   v.      preparation for opening; run               hr
                                   Tesla   through of opening with focus
                                           group and review and revise [4.0];
                                           review and revise Wheeler
                                           examination, coordinate allocation
                                           of witness time, strategize re
                                           witness order to subject-matter,
                                           help prepare Plaintiff [8.0]




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           09/26/2021   Diaz,      Diaz    Extensive review of Delgado              $1,200.00     12.70       12.70      $15,240.00
                        Demetric   v.      deposition transcript, extensive             hr
                                   Tesla   review of exhibits 97, 34, 35, 36 re
                                           examination of adverse witness,
                                           preparation of detailed
                                           examination outline [9.0]; final
                                           practice and revision of Opening
                                           [3.0]; discussion with co-counsel
                                           (Larry) re key discrepancies in
                                           Martinez statement and Delgado
                                           workplace investigation; non-
                                           response from key witness
                                           (Wheeler) [.7]

           09/27/2021   Diaz,      Diaz    Pre-trial: preparation for opening       $1,200.00     16.50      16.50       $19,800.00
                        Demetric   v.      [2.0]; Trial: Opening statement and          hr
                                   Tesla   initial witnesses [5.5]; post-trial
                                           preparation for 2nd day:
                                           preparation of Delgado
                                           examination, fine tune
                                           examination of Jackson, Quintero
                                           [9.0]

           09/28/2021   Diaz,      Diaz    Preparation for examination of           $1,200.00     10.50      10.50       $12,600.00
                        Demetric   V.      defense witnesses [1.5]; Trial:              hr
                                   Tesla   complete examination of
                                           Romero, conduct examination of
                                           Jackson, Delgado, Quintero [5.5];
                                           post-trial: begin closing
                                           preparation and round table re
                                           same; email Reading re limited
                                           time [.3]; review and revise outline
                                           re same [3.5]

           09/29/2021   Diaz,      Diaz    Trial: examination of Demitric by        $1,200.00     12.00      12.00       $14,400.00
                        Demetric   v.      video, McGuinn by video, Plaintiff:          hr
                                   Tesla   Owen Diaz [6.0]; Post trial
                                           preparation: review draft jury
                                           instructions, strategize re calling
                                           Patterson,

           09/30/2021   Diaz,      Diaz    Trial: continue defense cross            $1,200.00     12.00      12.00       $14,400.00
                        Demetric   v.      examination of Owen Diaz;                    hr
                                   Tesla   Witness: La Drew Jones, Marconi
                                           video, Oppenheimer video, Chip
                                           Mahla [6.0]; post-trial: preparation
                                           for Ramon Martinez examination,
                                           correlate to Exhibit 287; review of
                                           draft jury instructions, strategize re
                                           witnesses, rebuttal, remaining
                                           time [6.0]




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           10/01/2021   Diaz,      Diaz    Pre-trial: preparation of draft         $1,200.00      12.30      12.30       $14,760.00
                        Demetric   v.      closing [1.5]; further preparation of       hr
                                   Tesla   examination of Ramon Martinez
                                           [1.5 Review]; Trial: Witnesses:
                                           Joyce Delagrande, cross-
                                           examination of Delagrande, video
                                           of McGinn [3.5]; Post trial jury
                                           instruction conference [.8]; begin
                                           preparation of companion Closing
                                           Power Point, strategize re same
                                           [3.0]; begin review and revision of
                                           closing, strategize re same [2.0]

           10/02/2021   Diaz,      Diaz    Continue preparation for closing        $1,200.00      10.00      10.00       $12,000.00
                        Demetric   v.      argument: review of evidence,               hr
                                   Tesla   continue detailed review and
                                           preparation of power point

           10/03/2021   Diaz,      Diaz    Continue preparation for closing        $1,200.00      10.00      10.00       $12,000.00
                        Demetric   v.      argument: review of evidence;               hr
                                   Tesla   preparation of "inspiration"
                                           section; Punitive damages;
                                           Damages section revision;
                                           correlate argument to power
                                           point. [10.0]

           10/04/2021   Diaz,      Diaz    Pre-trial: prepare for closing [3.0];   $1,200.00      12.00      12.00       $14,400.00
                        Demetric   V.      Trial: give Closing and Rebuttal,           hr
                                   Tesla   discussion of juror (pastor) re Tesla
                                           stock ownership through mutual
                                           fund, dismissal of juror; post-trial
                                           wait for jury [9.0]

           10/06/2021   Diaz,      Diaz    Phone call with co-counsel              $1,200.00       1.10        1.10       $1,320.00
                        Demetric   v.      strategizing re post-trial motions          hr
                                   Tesla   [.3]; search for and forward most
                                           recent and appropriate motion for
                                           attorney fees (federal court) [.1];
                                           receipt and review of draft
                                           Judgment, review and revise [.4];
                                           Phone call with Organ re post-trial
                                           briefing [.3].

           10/07/2021   Diaz,      Diaz    Meeting with team re post trial         $1,200.00       1.00       1.00        $1,200.00
                        Demetric   v.      motions, actions to be taken [.5];          hr
                                   Tesla   direct bill to co-counsel [.1]; email
                                           Reading re updated billing [.2];
                                           Phone call with Organ re appellate
                                           issues [.2].

           10/08/2021   Diaz,      Diaz    Phone call with Organ re appellate      $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      issues [.1]                                 hr
                                   Tesla

           10/09/2021   Diaz,      Diaz    Phone calls re coordination of          $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      appellate counsel, retainer [.1]            hr
                                   Tesla




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           10/11/2021   Diaz,      Diaz    Receipt and review of appellate         $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      counsel retainer, sign and return           hr
                                   Tesla   [.2]; phone call with defense
                                           counsel (Kennedy) re judgment,
                                           substitution of Gibson Dunn [.3];
                                           phone call with co-counsel re
                                           same, and retention of appellate
                                           counsel [.2]

           10/12/2021   Diaz,      Diaz    Strategy call with co-counsel re        $1,200.00      0.80       0.80        $960.00
                        Demetric   v.      post-trial motions, retention of            hr
                                   Tesla   appellate counsel [.2]; collect Fee
                                           orders and draft fee declaration
                                           and forward to co-counsel [.4];
                                           email to defense counsel re
                                           identity of new counsel
                                           substituting in, forward same to
                                           co-counsel [.2]

           10/14/2021   Diaz,      Diaz    Email exchange re fee motion and        $1,200.00      0.10       0.10         $120.00
                        Demetric   v.      rates, input from Rubin [.1]                hr
                                   Tesla

           10/22/2021   Diaz,      Diaz    Initial review of judgment, email re    $1,200.00      0.60       0.60         $720.00
                        Demetric   v.      inaccurate vesting date for                 hr
                                   Tesla   interest on attorney fees [.2];
                                           review of email attaching draft MF
                                           Attorney fees [.2], review of email
                                           from appellate counsel re same
                                           [.2]

           10/24/2021   Diaz,      Diaz    Extensive review and revision of        $1,200.00      1.50       1.50        $1,800.00
                        Demetric   V.      draft attorney fee motion [1.5]             hr
                                   Tesla

           10/25/2021   Diaz,      Diaz    Preparation of detailed fee             $1,200.00      2.50       2.50       $3,000.00
                        Demetric   V.      declaration, addition of post trial         hr
                                   Tesla   quote from HR person (Workman),
                                           explain support for work
                                           performed during trial [2.5]

           10/27/2021   Diaz,      Diaz    Review and respond to email re          $1,200.00      0.40       0.40        $480.00
                        Demetric   V.      post-trial motions [.3]; email              hr
                                   Tesla   exchange re collection and
                                           forwarding of costs [.1]

           10/28/2021   Diaz,      Diaz    Review email exchange with new          $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      defense counsel re stipulation to           hr
                                   Tesla   briefing schedule and terms [.2];
                                           review calendar, email exchange
                                           with co-counsel re post-trial
                                           hearing date [.2]

           11/01/2021   Diaz,      Diaz    Receipt of email from colleague         $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      (Palefsky) re case against Tesla,           hr
                                   Tesla   disclosures [.2]; forward to co-
                                           counsel re same with email
                                           exchange [.1]




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           11/02/2021   Diaz,      Diaz    Review of costs bill [.3], inquiry re     $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      absence of reference to experts               hr
                                   Tesla   (Reading, Oppenheimer, Mahla)
                                           [.2]; email exchange with officer
                                           manager (Gus), co-counsel re
                                           same [.2]

           11/12/2021   Diaz,      Diaz    Review email re Epic Systems              $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      appeal to Supreme Court re ratio              hr
                                   Tesla   for punitive damages [.2]

           11/17/2021   Diaz,      Diaz    Email exchange scheduling                 $1,200.00      2.80       2.80       $3,360.00
                        Demetric   v.      strategy session re opposition to             hr
                                   Tesla   defense post-trial motions [.2];
                                           draft email to colleagues, NELA,
                                           CELA listservs, seeking briefing re
                                           ED and punitive damages [.6];
                                           review of defense renewed MF
                                           Judgment on the Pleadings,
                                           annotate with arguments, factual
                                           omissions, misstatements to be
                                           addressed [2.0]

           11/18/2021   Diaz,      Diaz    Review of California legal                $1,200.00      3.10       3.10        $3,720.00
                        Demetric   v.      authority re damages, punitives               hr
                                   Tesla   multiplier [.3]; review multiple
                                           emails, sources re obtaining
                                           federal authority on emotional
                                           distress damages, punitive
                                           damage ratio [.4]; phone call with
                                           co-counsel (Organ) re opposition
                                           strategy, management of
                                           opposition preparation [.3];
                                           preparation of email to team
                                           addressing (1) factual
                                           misstatements by defense in
                                           motion; (2) mischaracterization of
                                           ED as "garden variety" and factual
                                           support to the contrary [.6];
                                           conference call and strategy
                                           session re opposition to brief,
                                           meeting with Tracy and Natalie re
                                           coordination of efforts [1.5]

           11/23/2021   Diaz,      Diaz    Review term sheet re client loan          $1,200.00      0.20       0.20        $240.00
                        Demetric   V.      [.2]                                          hr
                                   Tesla

           11/24/2021   Diaz,      Diaz    Conference call strategizing re           $1,200.00      1.00       1.00        $1,200.00
                        Demetric   V.      opposition brief [1.0]                        hr
                                   Tesla

           11/27/2021   Diaz,      Diaz    Begin review and revision of              $1,200.00      3.00       3.00       $3,600.00
                        Demetric   V.      opposition brief [2.0], conference            hr
                                   Tesla   call with co-counsel re brief [1.0]




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           11/28/2021   Diaz,      Diaz    Complete extensive revision of          $1,200.00      3.10       3.10        $3,720.00
                        Demetric   v.      draft opposition [3.2]; review email        hr
                                   Tesla   exchange from co-counsel (Rubin)
                                           re "N" reference [.1]

           11/30/2021   Diaz,      Diaz    Extensive review and revision of        $1,200.00      2.50       2.50       $3,000.00
                        Demetric   v.      Introduction [2.5]                          hr
                                   Tesla

           12/02/2021   Diaz,      Diaz    Review of email attaching new 9th       $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      circuit case [.3]; review of                hr
                                   Tesla   summary of cases re company
                                           size, valuations [.4]

           12/03/2021   Diaz,      Diaz    Phone call with co-counsel re           $1,200.00      0.20       0.20        $240.00
                        Demetric   V.      opposition status, plan for review          hr
                                   Tesla   after Rubin edits [.2]

           12/04/2021   Diaz,      Diaz    Phone call with co-counsel              $1,200.00      4.40       4.40       $5,280.00
                        Demetric   V.      coordinating opposition [.4], Begin         hr
                                   Tesla   extensive review and revision of
                                           opposition to defense post trial
                                           motion [4.0]

           12/05/2021   Diaz,      Diaz    Phone call with co-counsel re           $1,200.00      5.60       5.60       $6,720.00
                        Demetric   v.      emphasizing impairment of life              hr
                                   Tesla   [.4], Continue Extensive review
                                           and revision of opposition [5.0],
                                           upload and forward to co-counsel
                                           [.2]

           12/07/2021   Diaz,      Diaz    Extensive final revision of draft       $1,200.00      4.00       4.00       $4,800.00
                        Demetric   v.      from Altshuler (Rubin) [3.5]; email         hr
                                   Tesla   response re amendment of judicial
                                           notice [.3]; email to co-counsel
                                           (Larry) re approach for post-trial
                                           filing, hearing [.2]

           01/05/2022   Diaz,      Diaz    Email exchanges re remote versus        $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      in person post-trial hearing [.2];          hr
                                   Tesla   scheduling pre-hearing
                                           preparation [.2]

           01/12/2022   Diaz,      Diaz    Preparation for post-trial hearing      $1,200.00      6.00       6.00        $7,200.00
                        Demetric   v.      on MF New Trial, Remittitur [6.0]           hr
                                   Tesla

           01/13/2022   Diaz,      Diaz    Continue preparation for post-trial     $1,200.00      2.00       2.00       $2,400.00
                        Demetric   v.      hearing: review of oppositions              hr
                                   Tesla   [2.0]

           01/14/2022   Diaz,      Diaz    Continue preparation for post-trial     $1,200.00      5.00       5.00       $6,000.00
                        Demetric   v.      hearing: review of oppositions              hr
                                   Tesla   [3.5]; attendance at preparation
                                           conference call [1.5]

           01/18/2022   Diaz,      Diaz    Detailed review of cases                $1,200.00      7.00       7.00       $8,400.00
                        Demetric   v.      addressing punitive damage                  hr
                                   Tesla   award review by trial court, court
                                           of appeal [7.0]



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           01/19/2022   Diaz,      Diaz  Detailed preparat ion for post-trial        $1,200.00      8.30       8.30       $9,960.00
                        Demetric   V.    hearing on MF New Trial Remittitur              hr
                                   Tesla (6.0); attendance at hearing [2.0);
                                         post hearing discussion with co-
                                         counsel (.3)

           01/20/2022   Diaz,      Diaz    Email exchange re need for                $1,200.00      0.10       0.10         $120.00
                        Demetric   V.      transcript of post-trial hearing (.1)         hr
                                   Tesla

           01/25/2022   Diaz,      Diaz    Review of email exchange w it h co-       $1,200.00      0.60       0.60         $720.00
                        Demetric   v.      counsel and proposed letter brief             hr
                                   Tesla   to address defense overstatement
                                           of court obligation to consider
                                           comparable j ury verdicts (.4);
                                           responsive email [.2]

           02/11/2022   Diaz,      Diaz  Email exchanges re DFEH                     $1,200.00      0.30       0.30         $360.00
                        Demetric   V.    complaint against Tesla, LA Times               hr
                                   Tesla and CNN coverage, as it relates to
                                         Court determination of remittitur
                                         and upcoming MF Attorney fees
                                         (.3)

           03/04/2022   Diaz,      Diaz    Phone call with co-counsel (Larry)        $1,200.00      0.20       0.20         $240.00
                        Demetric   V.      re DofJ inquiry (.2)                          hr
                                   Tesla
           04/13/2022   Diaz,      Diaz    Initial receipt and review of       $1,200.00            1.20       1.20        $1,440.00
                        Demetric   V.      remittitur order from court (.5];       hr
                                   Tesla   lengthy phone call with co-counsel
                                           re same [.5]; phone call with press
                                           (.2)

           04/14/2022   Diaz,      Diaz    Phone calls with co-counsel re            $1,200.00      0.30       0.30         $360.00
                        Demetric   v.      court ruling (.3)                             hr
                                   Tesla

           04/19/2022   Diaz,      Diaz  Review of email strategy to                 $1,200.00      1.60       1.60        $1,920.00
                        Demetric   V.    address court reduction of                      hr
                                   Tesla judgment [.4]; lengthy zoom call
                                         with appellate team re strategy re
                                         remittitur and New Trial [.8]; Post-
                                         appellate call with co-counsel
                                         (Organ) re same and new trial
                                         strategy re emotional distress
                                         damages (.4)

           04/20/2022   Diaz,      Diaz    Conference call with client ;-            $1,200.00      0.50       0.50        $600.00
                        Demetric   V.                                [.3];               hr
                                   Tesla   further call with co-counsel re
                                           same (.2)

           04/26/2022   Diaz,      Diaz  Review order granting stipulation           $1,200.00      0.40       0.40         $4 80.00
                        Demetric   V.    re filing of post trial fee motions             hr
                                   Tesla [.1]; review of email from appellate
                                         team (Michael) re certification
                                         option (.3)




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           04/28/2022   Diaz,      Diaz    Conference with co-counsel               $1,200.00       0.30       0.30         $360.00
                        Demetric   V.      (Larry) re stat us of motion for             hr
                                   Tesla   certification, timing [.3]

           05/03/2022   Diaz,      Diaz    Review email re meet and confer          $1,200.00       2.20       2.20       $2,640.00
                        Demetric   V.      with defense counsel [.2); Review            hr
                                   Tesla   and revisio n of 1292(b)
                                           certification motion draft [1.9);
                                           email revision [.1]

           05/11/2022   Diaz,      Diaz    Receipt and review of order              $1,200.00       0.30       0.30         $360.00
                        Demetric   v.      delaying date for Plaintiff's                hr
                                   Tesla   election or rej ection of new trial
                                           [.1); conference call with Larry and
                                           client [.2)

           05/19/2022   Diaz,      Diaz    Review post by Magistrate re             $1,200.00       0.40       0.40         $480.00
                        Demetric   V.      settlement negotiation [.1]; receipt         hr
                                   Tesla   of email re preparation of reply;
                                           email exchanges re transcript of
                                           post-trial hearing [.3]

           05/20/2022   Diaz,      Diaz  Receipt of email re failed                 $1,200.00       0.20       0.20         $240.00
                        Demetric   V.    settlement d iscussions with                   hr
                                   Tesla Magistrate lllman, receipt of
                                         docket notice re communicatio n
                                         [.2]
           05/24/2022   Diaz,      Diaz  Review and revise Reply brief              $1,200.00       2.20       2.20       $2,640.00
                        Demetric   V.    (2.0); email to co-counsel                     hr
                                   Tesla attaching and discussing same [.2)

           06/03/2022   Diaz,      Diaz    Email exchange re response to            $1,200.00       0.10       0.10         $120.00
                        Demetric   V.      Court Remittitur order [.1]                  hr
                                   Tesla

           06/07/2022   Diaz,      Diaz    Review of email summarizing the          $1,200.00       0.80       0.80        $960.00
                        Demetric   V.      Court's denial of certification [.2];        hr
                                   Tesla   review of Court order [.4]; respond
                                           to email (Michael) re same and
                                           election to retry [.2]
           06/09/2022   Diaz,      Diaz                                             $1,200.00       0.40       0.40         $480.00
                        Demetric   V.                                                   hr
                                   Tesla

                                           call re response to Court order [.1]

           06/13/2022   Diaz,      Diaz    Attendance at conference call re         $1,200.00       0.80       0.80        $960.00
                        Demetric   V.      rejection of remittitur [.8]                 hr
                                   Tesla

           06/17/2022   Diaz,      Diaz  Zoom meeting with client and               $1,200.00      0.60        0.60         $720.00
                        Demetric   V.    litigation team                                hr
                                   Tesla _ _ 6)
           06/20/2022   Diaz,      Diaz    Review Email exchange re                 $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      rejection of remittitur, notice and          hr
                                   Tesla   filing date [.1)




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           06/21/2022   Diaz,      Diaz    Review of email filing : rejecting         $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      remittitur [.1] review of                      hr
                                   Tesla   confirmation email to client [.1]

           06/22/2022   Diaz,      Diaz    Preparation of press response to           $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      rejection of remittitur [.4]                   hr
                                   Tesla

           06/23/2022   Diaz,      Diaz    Email exchange with co-counsel             $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      (Larry) re tying Musk to Tesla                 hr
                                   Tesla   inaction [.3]

           06/27/2022   Diaz,      Diaz    Review of order re trial setting           $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      conference for new trial [.1]; review          hr
                                   Tesla   of email re press inquiry, response
                                           [.2]; phone call with co-counsel re
                                           Tesla claim of attempting
                                           resolution [.2]

           07/06/2022   Diaz,      Diaz    Receipt of communication from              $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      co-counsel re initiating M&C with              hr
                                   Tesla   defense counsel [.1]; email
                                           exchange with associate (Cimone)
                                           re same; review of emails re same
                                           [.3]

           07/08/2022   Diaz,      Diaz    Review calendar and trial                  $1,200.00      1.40       1.40        $1,680.00
                        Demetric   v.      availability in preparation for                hr
                                   Tesla   meeting [.3]; meeting with defense
                                           counsel re timing of retrial, scope
                                           of evidence [.5]; post meeting
                                           conference with co-counsel (Larry)
                                           re same [.2]; detailed email to
                                           Michael re research on limits of
                                           evidentiary proof in damages
                                           retrial [.4]

           07/12/2022   Diaz,      Diaz    Email exchange with defense                $1,200.00      1.60       1.60        $1,920.00
                        Demetric   v.      counsel (QE) re proposed M&C re                hr
                                   Tesla   'redeterination of both liability and
                                           damages' [.2]; review of research
                                           re viability of argument [.4];
                                           preparation [.3] and attendance at
                                           scheduling conference hearing
                                           [.5]; post hearing conference with
                                           team [.2]

           07/22/2022   Diaz,      Diaz    Text exchanges re need for Friday          $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      meeting; next course of action in              hr
                                   Tesla   preparing to oppose Telsa attempt
                                           to relitigate liability issues, not just
                                           damages [3]

           07/25/2022   Diaz,      Diaz    Phone call with co-counsel Organ           $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      [.2]                                           hr
                                   Tesla




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           08/23/2022   Diaz,    Diaz      Email from Jonathan re need for          $1,200.00      0.10       0.10         $120.00
                        Demetric v.        transcript of last hearing [.1]              hr
                                 Tesla

           09/02/2022   Diaz,      Diaz    Review of emails re pre-CMC meet         $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      and confer; coordinating same [.2]           hr
                                   Tesla

           09/17/2022   Diaz,    Diaz      Review emails coordinating pre-          $1,200.00      0.20       0.20        $240.00
                        Demetric v.        CMC meeting with defense                     hr
                                 Tesla     counsel [.2]

           10/18/2022   Diaz,      Diaz    Review of article re Tesla motion        $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      for new trial [.3]                           hr
                                   Tesla

           11/01/2022   Diaz,      Diaz    Email exchanges re receipt of draft      $1,200.00      1.70       1.70       $2,040.00
                        Demetric   V.      Opp to Tesla Gasoline Products               hr
                                   Tesla   retrial motion [.2]; Begin extensive
                                           review and revision of same [1.5]

           11/02/2022   Diaz,      Diaz    Continue extensive review and            $1,200.00      2.40       2.40       $2,880.00
                        Demetric   V.      revision of Opp to Tesla Gasoline            hr
                                   Tesla   Products retrial motion [2.3]; email
                                           to trial team re same [.1]

           11/07/2022   Diaz,      Diaz    Email exchanges re press inquiry         $1,200.00      0.10       0.10         $120.00
                        Demetric   V.      [.1]                                         hr
                                   Tesla

           11/14/2022   Diaz,      Diaz    Review of response to email              $1,200.00      0.20       0.20        $240.00
                        Demetric   V.      inquiry from Federal Judge Dennis            hr
                                   Tesla   Hayashi [.2]

           12/01/2022   Diaz,      Diaz    Review of order rescheduling             $1,200.00      0.10       0.10         $120.00
                        Demetric   V.      hearing time, calendar [.1]                  hr
                                   Tesla

           12/07/2022   Diaz,      Diaz    Preparation for and attendance at        $1,200.00      1.80       1.80        $2,160.00
                        Demetric   V.      hearing on scope of re-trial [.8];           hr
                                   Tesla   post hearing meeting re next
                                           steps [.4]; post hearing discussion
                                           with co-counsel (Larry) [.4]; Follow-
                                           up call re added Dustin Collier to
                                           assist with retrial [.2]

           12/12/2022   Diaz,      Diaz    Lengthy Zoom Strategy Call re re-        $1,200.00      3.90       3.90       $4,680.00
                        Demetric   v.      trial: preparation [.5]; attendance          hr
                                   Tesla   at [3.0]; Refine notes for pre-trial
                                           preparatin [.4]

           12/19/2022   Diaz,      Diaz    Email exchange re costs and fees         $1,200.00      0.40       0.40        $480.00
                        Demetric   v.      to be provided to Magistrate                 hr
                                   Tesla   lllman [.3]; email exchange re
                                           strategizing for focus group [.1]




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           01/03/2023   Diaz,      Diaz    Review of updated economist               $1,200.00      1.10       1.10       $1,320.00
                        Demetric   v.      report re Tesla net worth [.4];               hr
                                   Tesla   review of email exchanges re
                                           moving date for pre-conference
                                           M&C [.2]; initial review of Trial
                                           testimony annotations [.5]

           01/04/2023   Diaz,      Diaz    Zoom conference call strategizing         $1,200.00      1.20      1.20        $1,440.00
                        Demetric   v.      re evidence for use at re-trial [1.2]         hr
                                   Tesla

           01/05/2023   Diaz,      Diaz    Review email exchange with jury           $1,200.00      1.60      1.60        $1,920.00
                        Demetric   v.      consultant re 1st Focus Group                 hr
                                   Tesla   feedback [.1]; Zoom strategy
                                           session re re-trial [1.5]

           01/06/2023   Diaz,      Diaz    Review of email exchanges re              $1,200.00      3.40      3.40       $4,080.00
                        Demetric   v.      draft joint CMC Statement [.2];               hr
                                   Tesla   Extensive review of Draft Joint
                                           CMC Statement; email revisions to
                                           trial team [1.2]; receipt of email re
                                           Economic expert disclosure
                                           (Mahla) [.2]; preparation [.2]; and
                                           attendance at pre-CMC meet and
                                           confer [.8]; post M&C strategy call
                                           [.8]

           01/08/2023   Diaz,      Diaz    Review of Tesla proposed Joint            $1,200.00      0.70      0.70        $840.00
                        Demetric   v.      Status Report [.4]; Review of email           hr
                                   Tesla   from co-counsel (Organ) re (1)
                                           basis for precluding designation of
                                           new HR witnesses; (2) re-contact
                                           by JBA with favorable witnesses
                                           (Wheeler; Jackson) [.3];

           01/09/2023   Diaz,      Diaz    Pre-trial team meeting [.5]; meet         $1,200.00      1.30      1.30        $1,560.00
                        Demetric   V.      and confer re upcoming CMC and                hr
                                   Tesla   document exchange [.5]; post
                                           conference team meeting [.3]

           01/10/2023   Diaz,      Diaz    Multiple review and revision of           $1,200.00      0.90      0.90        $1,080.00
                        Demetric   V.      Joint Statement, footnotes, email             hr
                                   Tesla   exchanges re same [.7]; review of
                                           authority re limitation of calling
                                           witnesses on retrial [.2]

           01/11/2023   Diaz,      Diaz    Email exchanges with jury                 $1,200.00      0.20      0.20        $240.00
                        Demetric   v.      consultant re jury questionnaire              hr
                                   Tesla   [.2]

           01/11/2023   Diaz,      Diaz    Phone call with co-counsel                $1,200.00      0.50      0.50        $600.00
                        Demetric   v.      (Organ) re upcoming Settlement                hr
                                   Tesla   Conference [.2]; new
                                           developments disclosed by ex-HR
                                           person [.2]; coordination of
                                           consultation call with jury
                                           consultant [.1]




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           01/12/2023   Diaz,      Diaz    Phone call with co-counsel               $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      (Organ), in preparation for                  hr
                                   Tesla   settlement conference, confirming
                                           current fees, text same [.2]

           01/16/2023   Diaz,      Diaz    Receipt and review of defense            $1,200.00      1.10        1.10       $1,320.00
                        Demetric   v.      red lined jury instructions [.4];            hr
                                   Tesla   statement of the case [.4]; review
                                           of email to defense re failure to
                                           meet and confer [.1]; and co-
                                           counsel observation we defense
                                           accusation of sandbagging [.1];
                                           email exchanges re filings [.1]

           01/17/2023   Diaz,      Diaz    Email exchange re MIL exchanges,         $1,200.00      1.50       1.50        $1,800.00
                        Demetric   v.      upcoming status conference [.3];             hr
                                   Tesla   Preparation [.3] and attendance at
                                           Status Conference [.4]; post-status
                                           conference Strategy meeting [.5]

           01/18/2023   Diaz,      Diaz    Review jury consultant email re          $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      questionnaire [.2]; associative              hr
                                   Tesla   (Cimone) email re MIL call [.1];
                                           strategy phone call with co-
                                           counsel (Larry) re damages retrial
                                           Opening & closing preparation [.4]

           01/19/2023   Diaz,      Diaz    Review of email exchange with            $1,200.00      1.60       1.60        $1,920.00
                        Demetric   v.      jury consultant [2]; review of draft         hr
                                   Tesla   jury questionnaire and propose
                                           changes [.4]; strategy meeting re
                                           Mils and topics for discussion at
                                           M&C with defense counsel [1.0]

           01/21/2023   Diaz,      Diaz    Review and revise MIL, and               $1,200.00      2.00       2.00       $2,400.00
                        Demetric   V.      accompanying explanation of                  hr
                                   Tesla   update distinction re Tesla
                                           valuation [1.5]; review of White v
                                           Ford Motor Credit re defense
                                           argument to exclude incidents of
                                           harassment not experienced by
                                           Diaz [.5]

           01/23/2023   Diaz,      Diaz    Review of MIL revisions by co-           $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      counsel (Organ) [.3]                         hr
                                   Tesla

           01/30/2023   Diaz,      Diaz    Extensive review and revision of         $1,200.00      3.30       3.30       $3,960.00
                        Demetric   v.      MLIM [2.5]; email to co-counsel              hr
                                   Tesla   explaining timing discrepancy of
                                           exhibits 287, 272, January 22 and
                                           25 emails [.3]; review email with
                                           jury consultant re status [.1]; review
                                           and revise propose voir dire
                                           questions [.4]




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           01/31/2023   Diaz,      Diaz    Extensive review of jury                 $1,200.00      3.20       3.20       $3,840.00
                        Demetric   v.      instructions for 2nd trial, provide          hr
                                   Tesla   comments [1.0]; begin preparation
                                           of Opening, Closing statements
                                           based on proposed instructions
                                           [1.5]; phone call re "past and
                                           future" emotional distress
                                           instruction [.3]; review of multiple
                                           emails re further revisions to
                                           MLIMs [.4]

           02/01/2023   Diaz,      Diaz    Review of defense email re               $1,200.00      3.10       3.10        $3,720.00
                        Demetric   v.      omission of jury questions and voir          hr
                                   Tesla   dire from exchange [.1]; extensive
                                           review of Tesla MLIM, preparation
                                           of companion notes [1.5]; Strategy
                                           meeting re defense MLIM [1.5]

           02/02/2023   Diaz,      Diaz    Preparation and attendance at            $1,200.00      2.60       2.60        $3,120.00
                        Demetric   v.      M&C re MLIMs [1.5]; post M&C                 hr
                                   Tesla   strategy session [.5]; preparation
                                           of initial draft of footnote to MLIM
                                           #2 to address circumvention of
                                           court order [.6]

           02/03/2023   Diaz,      Diaz    Review of Rubin revised footnote         $1,200.00      1.00       1.00        $1,200.00
                        Demetric   V.      [.2]; strategize, email suggesting           hr
                                   Tesla   changes [.4]; review and respond
                                           to email exchanges re insertion of
                                           F/N for MLIM 2 [.3]; receipt of
                                           defense verdict in Securities Fraud
                                           matter [.1]

           02/04/2023   Diaz,      Diaz    Review of court notice re filing of      $1,200.00      1.10        1.10       $1,320.00
                        Demetric   v.      matter under seal [.1]; review of            hr
                                   Tesla   email from co-counsel (Organ) to
                                           defendant re same [.1]; review
                                           email agreement to file without
                                           seal [.1]; review Hurtado
                                           impeachment testimony from
                                           Lamar Patterson [.2]; review of MT
                                           file under seal and related
                                           documents [.4]; email exchanges
                                           re contradictory actions by Tesla is
                                           failing to identify Hurtado or call at
                                           1st trial; Review emails re Defense
                                           effort to introduce Donet and use
                                           of Exh. 109 as impeachment [.2]

           02/07/2023   Diaz,      Diaz    Review of defense questionnaire          $1,200.00      1.30       1.30        $1,560.00
                        Demetric   V.      and comments by team [.5];                   hr
                                   Tesla   review of jury instructions,
                                           comments and related emails [.8]




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           02/08/2023   Diaz,      Diaz    Team Zoom conference call re               $1,200.00      1.40       1.40        $1,680.00
                        Demetric   v.      defense reversal: assertion that               hr
                                   Tesla   malice must be re-proven in
                                           damages re-trial; addressing joint
                                           jury instructions [.8]; review of
                                           defendant's draft Witness [.3]; and
                                           Exhibit lists [.3]

           02/09/2023   Diaz,      Diaz    Review of (1) multiple emails re           $1,200.00      1.00       1.00        $1,200.00
                        Demetric   v.      meeting deadline for filing [.3]; (2)          hr
                                   Tesla   joint documents filed [.4]; phone
                                           call with co-counsel (Larry) re
                                           agreement to admit Exh. 272 and
                                           significance [.3]

           02/10/2023   Diaz,      Diaz    Review of memo on nominal                  $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      damages [.7];                                  hr
                                   Tesla

           02/13/2023   Diaz,      Diaz    Review email re stipulation (Mr.           $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      Diaz, no reference to convictions)             hr
                                   Tesla   [.2]

           02/14/2023   Diaz,      Diaz    Strategy call re upcoming trial            $1,200.00     4.00        4.00       $4,800.00
                        Demetric   v.      [4.0]                                          hr
                                   Tesla

           02/15/2023   Diaz,      Diaz    M&C with Tesla counsel re                  $1,200.00      1.00       1.00        $1,200.00
                        Demetric   v.      stipulations, non-reference to prior           hr
                                   Tesla   jury or trial at re-trial [.7]; post M&C
                                           team call [.3]

           02/16/2023   Diaz,      Diaz    Extensive review and revision of           $1,200.00      1.30       1.30        $1,560.00
                        Demetric   v.      Focus Group script [1.3]                       hr
                                   Tesla

           02/17/2023   Diaz,      Diaz    Strategy session re division of            $1,200.00      1.60       1.60        $1,920.00
                        Demetric   v.      labor for trial; witnesses; logistics          hr
                                   Tesla   [1.2]; strategize re closing - Tesla
                                           accountability, attacks on Owen
                                           [.4]

           02/19/2023   Diaz,      Diaz    Review of emails re punitive               $1,200.00      0.80       0.80        $960.00
                        Demetric   v.      damages analogies [.3]; review of              hr
                                   Tesla   Closing in FedEx punitive damage
                                           case [.5]

           02/21/2023   Diaz,      Diaz    Review of Closing Slides, suggest          $1,200.00      1.40       1.40        $1,680.00
                        Demetric   v.      changes by email to Susan [.4];                hr
                                   Tesla   review of power point openings,
                                           propose amendments of same
                                           [1.0]

           02/22/2023   Diaz,      Diaz    Zoom meet and confer re pre-trial          $1,200.00      0.90       0.90        $1,080.00
                        Demetric   v.      conference, disputes of trial rules            hr
                                   Tesla   [.6]; team call re trial preparation
                                           [.3]




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           02/23/2023   Diaz,      Diaz    Trial preparation: review of closing    $1,200.00       0.80       0.80        $960.00
                        Demetric   v.      power point draft, locate and               hr
                                   Tesla   propose visuals for client
                                           emotional distress (E/D) [.8]

           02/24/2023   Diaz,      Diaz    Initial receipt of email from           $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      colleague (deRubertis) re closing           hr
                                   Tesla   used [.1]

           02/25/2023   Diaz,      Diaz    Review and revise focus group           $1,200.00       0.40       0.40        $480.00
                        Demetric   v.      script 2.26.23 [.4]                         hr
                                   Tesla

           02/26/2023   Diaz,      Diaz    Review of focus group script [.4];      $1,200.00       1.20       1.20        $1,440.00
                        Demetric   V.      review email exchange re                    hr
                                   Tesla   justification for "intentional"
                                           language in jury instructions [.4];
                                           review of brief re "prior
                                           determination" vs "jury
                                           determination" [.4]

           02/27/2023   Diaz,      Diaz    Preparation: Email exchange re          $1,200.00       2.30       2.30       $2,760.00
                        Demetric   v.      upcoming Final Pre-trial                    hr
                                   Tesla   Conference [.3]; attendance at
                                           lengthy hearing [1.5]; follow up
                                           phone call with co-counsel (Larry)
                                           re hearing, defense exposure of
                                           defenses [.2]; review research re
                                           defense cases cited in support of
                                           nominal damages in the context of
                                           punitive damage awards [.3]

           03/01/2023   Diaz,      Diaz    Review email re response to             $1,200.00       0.30       0.30        $360.00
                        Demetric   v.      defense submission of red-lined             hr
                                   Tesla   jury instructions with argument [.3]

           03/13/2023   Diaz,      Diaz    Phone call with co-counsel re           $1,200.00       0.30       0.30        $360.00
                        Demetric   v.      status [.3]                                 hr
                                   Tesla

           03/15/2023   Diaz,      Diaz    Review of Court Order re MLIMs          $1,200.00       0.40       0.40        $480.00
                        Demetric   v.      [.3]; email exchange with co-               hr
                                   Tesla   counsel (Organ) re trial
                                           preparation [.1]

           03/17/2023   Diaz,      Diaz    Trial Preparation: collection and       $1,200.00      10.50      10.50       $12,600.00
                        Demetric   v.      sift through trial materials                hr
                                   Tesla   notebooks to retrieve materials
                                           needed for damages retrial [2.0];
                                           team strategy meeting re defense
                                           strategy, facts for opening, review
                                           and modification of potential
                                           demonstatives [10.5]




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                        Demetric   v.      Opening, organize subject-matter,            hr
                                   Tesla   retrieve subject-matter from prior
                                           Opening; attend focus group re
                                           liability issues; post-focus group
                                           strategy session re incorporation
                                           of information obtained; strategy
                                           session re addressing expected
                                           defenses (attack on experts, "me-
                                           too" witnesses; Plaintiff and family
                                           members re emotional distress);
                                           strategize re proof of emotional
                                           distress [10.0]

           03/19/2023   Diaz,      Diaz    Trial Preparation: Continue              $1,200.00      9.00       9.00       $10,800.00
                        Demetric   v.      extensive review, revision and               hr
                                   Tesla   incorporation re Opening and
                                           Closing; begin review of trial
                                           testimony of witnesses: Kawasaki,
                                           Romero; continue discussion of
                                           trial strategy [9.0]

           03/20/2023   Diaz,      Diaz    Trial Preparation: assist with client    $1,200.00      9.20       9.20       $11,040.00
                        Demetric   V.      examination preparation [2.5];               hr
                                   Tesla   review trial testimony of Jackson
                                           [2.0]; Romero [2.0]; review of draft
                                           expert examination (Reading) [.8];
                                           phone call with expert (Reading) re
                                           trial testimony [.4]; Continue
                                           revision, refinement of Opening;
                                           recommend changes to witness
                                           order; [1.5]

           03/21/2023   Diaz,      Diaz    Trial Preparation: Extensive review      $1,200.00     8.00        8.00       $9,600.00
                        Demetric   v.      and revision of Opening [3.0];               hr
                                   Tesla   review of and revision of
                                           demonstratives for use at trial [1.5];
                                           help preparation of client for
                                           examination at trial, demonstration
                                           of picanniny left for client in
                                           workplace [2.5]; Review of
                                           demonstratives for use at trial [1.0]




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           03/22/2023   Diaz,      Diaz    Trial Preparation: Continue             $1,200.00      12.00      12.00       $14,400.00
                        Demetric   v.      extensive review and revision of            hr
                                   Tesla   Opening, rehearse opening [6.0];
                                           receipt and review of juror
                                           questionnaires, strategize with
                                           team and jury consultant re same;
                                           review of draft jury questions re
                                           voir dire from jury consultant [2.0];
                                           begin review of witness (Wayne
                                           Jackson) examination outline,
                                           revise [1.0]; phone call with
                                           witness (Jackson) re same [1.0];
                                           review and revision of
                                           demonstratives, approval of
                                           demonstratives for exchange [2.0]

           03/23/2023   Diaz,      Diaz    Review emails from jury consultant      $1,200.00       8.10       8.10        $9,720.00
                        Demetric   v.      re for cause challenge [.3]; revise         hr
                                   Tesla   Jackson testimony based on
                                           interview [1.5]; continue
                                           preparation for opening [3.0];
                                           review email exchanges weigh
                                           defendant re trial exhibits [.3];
                                           Review of closing by Spiro in
                                           "Funding secured" case; travel to
                                           Los Angeles [3.0]

           03/24/2023   Diaz,      Diaz    Trial Preparation: review of jury       $1,200.00      10.60      10.60       $12,720.00
                        Demetric   v.      questionnaires, preparation for             hr
                                   Tesla   final pre-trial meeting with Judge
                                           re for cause challenges; meeting
                                           with defense re for-cause
                                           challenges [4.0]; Court hearing re
                                           for cause challenges and pre-trial
                                           issues [1.5[; post hearing strategy
                                           session re trial preparation [.6];
                                           continue review, revision,
                                           preparation for Opening [3.5[;
                                           review trial materials [1.0]

           03/25/2023   Diaz,      Diaz    Trial Preparation: preparation for      $1,200.00      12.80      12.80       $15,360.00
                        Demetric   V.      opening; preparation for and                hr
                                   Tesla   present at focus group; post focus
                                           group discussion to re-tool
                                           Opening. Extensive review,
                                           revision, reorganization of
                                           Opening [12.0]; review and revise
                                           updated jury voir dire from jury
                                           consultant [.8]




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           03/26/2023   Diaz,      Diaz    Trial preparation: review and             $1,200.00     14.50      14.50       $17,400.00
                        Demetric   V.      revise Jackson examination;                   hr
                                   Tesla   preparation for Opening
                                           Statement, focus group 2nd run-
                                           through, extensive review and
                                           revision and preparation; [13.5];
                                           preparation for j ury void dire [1.0)

           03/27/2023   Diaz,      Diaz  Pre-trial: preparation of Opening           $1,200.00     12.50      12.50      $15,000.00
                        Demetric   V.    [1.5]; Trial: j ury void dire, Opening          hr
                                   Tesla Statement, begin Examinat ion of
                                         Kawasaki [9.0); preparation for
                                         next day witnesses [Jackson]; 2.0)

           03/28/2023   Diaz,      Diaz  Pre-Trial: preparation for                  $1,200.00     13.50      13.50      $16,200.00
                        Demetric   V.    examination of Wayne Jackson                    hr
                                   Tesla [1.5]; Trial: Examination of
                                         Kawasaki, Wheeler, Jackson [6.0);
                                         Post-Trial: strategize re next day
                                         witnesses, begin review of
                                         preliminary jury instruct ions; begin
                                         outline of Closing argument [6.0)

           03/29/2023   Diaz,      Diaz    Preparation: Preparation for              $1,200.00     15.80      15.80      $18,960.00
                        Demetric   V.      Martinez examination, revise                  hr
                                   Tesla   outline [1.5); Te            to




                                           witnesses: cross-examination of
                                           Oppenheimer; examination of
                                           Romero, Martinez, Marconi [6 .0);
                                           post-trial j ury instruction hearing
                                           [1.0]; continue preparation of
                                           Closing argument; group
                                           discussion re revision of Thursday
                                           witness order; Closing braining
                                           storming re valuation, argument
                                           [7.0)

           03/30/2023   Diaz,      Diaz Pre-trial: work on Opening outline           $1,200.00     19.50      19.50      $23,400.00
                        Demetric   v.    [1.5]; Trial: witness examination               hr
                                   Tesla (Owen Diaz, Mahla) [[6.0); post-
                                         trial: continue preparation for
                                         closing, coordinate creation,
                                         editing of power-point slides;
                                         strategize re argument re
                                         emotio nal distress damages,
                                         recovery from Owen breakdown
                                         [12 .0)

           03/31/2023   Diaz,      Diaz  Pre-trial: preparation for closing          $1,200.00     10.50      10.50      $12,600.00
                        Demetric   V.    [1.0]; Trial: final witnesses and               hr
                                   Tesla Closing Argument [9.5)




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           04/01/2023   Diaz,    Diaz      Phone call with co-counsel re           $1,200.00      0.30       0.30        $360.00
                        Demetric v.        pending jury verd ict [.3]                  hr
                                 Tesla

           04/02/2023   Diaz,      Diaz    Zoom meeting with appellate             $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      counsel re pending MF Mistrial,             hr
                                   Tesla   options re bad jury verdict [.5]

           04/03/2023   Diaz,    Diaz      Appearance at trial, wait for jury;     $1,200.00      8.00       8.00       $9,600.00
                        Demetric v.        receive verdict, travel to and from         hr
                                 Tesla     court [9.0]

           04/05/2023   Diaz,    Diaz      Zoom meeting re strategy to             $1,200.00      1.00       1.00        $1,200.00
                        Demetric v.        address verdict [1.0]                       hr
                                 Tesla

           04/06/2023   Diaz,      Diaz    Review of email from clerk              $1,200.00      0.20       0.20        $240.00
                        Demetric   V.      requesting judgment [.2]                    hr
                                   Tesla

           04/10/2023   Diaz,      Diaz    Review email exchanges re               $1,200.00      0.60       0.60         $720.00
                        Demetric   V.      disagreement over defense                   hr
                                   Tesla   language for proposed judgment
                                           [.3]; review emails re division of
                                           labor as to post-trial motions,
                                           loadstar for attorney fees [.3]

           04/11/2023   Diaz,      Diaz    Review email from workplace             $1,200.00      0.40       0.40        $480.00
                        Demetric   V.      expert (Oppenheimer) [.2]; email            hr
                                   Tesla   exchanges re preparation of fee
                                           motion, proposal to stipulate to
                                           time-table for filing [.2]

           04/24/2023   Diaz,      Diaz    Review email re scheduling              $1,200.00      0.20       0.20        $240.00
                        Demetric   v.      conference call to discuss                  hr
                                   Tesla   replacement of Dr. Reading [.2]

           04/30/2023   Diaz,      Diaz    Review of emails re post-trial          $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      motions [.3]; phone call with co-           hr
                                   Tesla   counsel (Organ) re same [.2];

           05/05/2023   Diaz,      Diaz    Review of email exchanges re use        $1,200.00      0.60       0.60         $720.00
                        Demetric   v.      of juror declaration in MF Mistrial         hr
                                   Tesla   [.4]; email exchange re improper
                                           use of evidence (wages) [.2]

           07/06/2023   Diaz,      Diaz    Email exchange re future use of         $1,200.00      0.50       0.50        $600.00
                        Demetric   v.      Reading as psych expert,                    hr
                                   Tesla   strategize re same and respond
                                           [.5]

           07/10/2023   Diaz,    Diaz      Review of order taking oral             $1,200.00      0.60       0.60         $720.00
                        Demetric v.        argument off calendar on MF New             hr
                                 Tesla     Trial and Reinstatement of Verdict
                                           [.2]; receipt of email from Rubin
                                           responding to Court taking
                                           hearing off calendar [2]; review
                                           email from co-counsel (Cimone) re
                                           collecting materials for fee motion
                                           [.2]



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           07/11/2023   Diaz,      Diaz    Email colleague (deRubertis)             $1,200.00       0.20       0.20        $240.00
                        Demetric   v.      seeking supporting fee                       hr
                                   Tesla   declaration [.2]

           07/12/2023   Diaz,      Diaz    Receipt and review of draft              $1,200.00       0.10       0.10         $120.00
                        Demetric   v.      declaration from supporting                  hr
                                   Tesla   declarant: DeRubertis

           07/17/2023   Diaz,      Diaz    Preparation of draft declaration for     $1,200.00       1.80       1.80        $2,160.00
                        Demetric   v.      deRubertis [1.5], forward to co-             hr
                                   Tesla   counsel (Organ, Collier, Nunley)
                                           for revision [.3]

           07/23/2023   Diaz,      Diaz    Email exchange with associate            $1,200.00       0.20       0.20        $240.00
                        Demetric   V.      (Britt) re preparation of supporting         hr
                                   Tesla   attorney fee declaration, timing
                                           [.2]

           07/24/2023   Diaz,      Diaz    Email exchange re status of Court        $1,200.00       0.30       0.30        $360.00
                        Demetric   V.      pending ruling on post-trial                 hr
                                   Tesla   motions [.3]

           07/30/2023   Diaz,      Diaz    Email exchange with co-counsel re        $1,200.00       0.30       0.30        $360.00
                        Demetric   V.      defense podcast re retrial                   hr
                                   Tesla   reduction of jury award [.3]

           08/04/2023   Diaz,      Diaz    Receipt of email to defendant            $1,200.00       0.20       0.20        $240.00
                        Demetric   V.      addressing non-produced                      hr
                                   Tesla   photographs of racist graffiti with
                                           N-word, demand for M&C with
                                           objective of notifying the Court of
                                           additional evidence of Tesla
                                           misconduct [.2]

           08/06/2023   Diaz,      Diaz    Review and revise draft                  $1,200.00       0.90       0.90        $1,080.00
                        Demetric   v.      Supplemental Briefing on MF New              hr
                                   Tesla   Trial - withheld evidence of N word
                                           graffiti in restrooms [.7]; review of
                                           email exchanges re confirmation
                                           of Plaintiff's time card evidence as
                                           to dates of employment [.2]

           08/07/2023   Diaz,      Diaz    Review defense email response,           $1,200.00       1.50       1.50        $1,800.00
                        Demetric   v.      deflecting re unreasonableness of            hr
                                   Tesla   deadline to meet and confer;
                                           email exchanges with co-counsel
                                           re proposing and revising
                                           response [.4]; detailed review of
                                           exchanges with defense counsel
                                           [.3]; draft filing with the Court [.8]

           08/08/2023   Diaz,      Diaz    Review of Court Order for defense        $1,200.00       0.20       0.20        $240.00
                        Demetric   V.      response to Plaintiff MF New Trial           hr
                                   Tesla   Supplement [.1]; email to trial team
                                           [.1]




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           10/04/2023   Diaz,      Diaz    Email exchanges with co-counsel          $1,200.00      2.20       2.20       $2,640.00
                        Demetric   v.      [.2]; receipt of Order on post-trial         hr
                                   Tesla   motions, detailed review of same
                                           [1.0]; team meeting re same [1.0]

           10/05/2023   Diaz,      Diaz    Review and revise deRubertis             $1,200.00      2.10       2.10       $2,520.00
                        Demetric   v.      declaration in support of attorney           hr
                                   Tesla   fees [.5]; email to team re same [.1];
                                           begin extensive review and
                                           revision of JBA fee declaration:
                                           update honors, information re 2nd
                                           trial [1.5]

           10/06/2023   Diaz,      Diaz    email exchange with co-counsel           $1,200.00      0.70       0.70        $840.00
                        Demetric   v.      (Cimone) coordinating documents,             hr
                                   Tesla   declarations needed for motion
                                           (deRubertis) [.3]; receipt of further
                                           revision of deRubertis declaration
                                           from co-counsel (Rubin, Cimone)
                                           [.4]

           10/09/2023   Diaz,      Diaz    Preparation of email to deRubertis       $1,200.00      1.80       1.80        $2,160.00
                        Demetric   v.      enclosing draft declaration ISO MF           hr
                                   Tesla   Attorney fees [.3]; review and
                                           revise fee declaration [1.5]

           10/10/2023   Diaz,      Diaz    Email exchange with Rubin re             $1,200.00      1.40       1.40        $1,680.00
                        Demetric   v.      revision to fee declaration [.2];            hr
                                   Tesla   extensive review and revision to
                                           address out of town costs and
                                           expenses to be added to fee
                                           declaration; address redundancies
                                           in declaration; [1.0]; emails with
                                           associate and office manager
                                           (Gus) re costs & expenses [.2]

           10/11/2023   Diaz,      Diaz    Further extensive review and             $1,200.00      4.70       4.70       $5,640.00
                        Demetric   V.      revision of JBA fee declaration re           hr
                                   Tesla   additional expense details:
                                           Reading, hotel, flight, uber; email
                                           to office manager (Gus) re missing
                                           expenses associated with first
                                           trial, details needed for charting of
                                           expenses; review of Reading
                                           billing [4.7];

           10/12/2023   Diaz,      Diaz    Team email exchanges re strategy         $1,200.00      0.30       0.30        $360.00
                        Demetric   v.      for briefing fee issues, additions           hr
                                   Tesla   needed to declarations [.3];

           10/13/2023   Diaz,      Diaz    Meeting with co-counsel                  $1,200.00      1.10        1.10       $1,320.00
                        Demetric   v.      preparing for M&C with defense               hr
                                   Tesla   counsel [.6]; M&C with defense
                                           counsel re filing of MF Attorney
                                           Fees [.5]




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           10/15/2023   Diaz,      Diaz    Phone call with co-counsel             $1,200.00       0.50       0.50        $600.00
                        Demetric   v.      (Organ) re fee motion, associate           hr
                                   Tesla   rates, waiver of fees for limited
                                           time; Whelan declaration [.5]

           10/16/2023   Diaz,      Diaz    Phone calls with co-counsel (Larry)    $1,200.00      0.60        0.60         $720.00
                        Demetric   v.      addressing staggered multiplier,           hr
                                   Tesla   dissension re multiplier allocation
                                           [.6]

                                                  Total Labor For J. Bernard Alexander, Ill     959.10      967.60     $1,161,120.00

                                               Total Expense For J. Bernard Alexander, Ill                  $0.00          $0.00
                                                        Total For J. Bernard Alexander, Ill                            $1,161,120.00

           Jacqueline Gil
           02/13/2020   Diaz,      Diaz    Review of case file in prep for        $450.00         1.90       1.90        $855.00
                        Demetric   v.      Reading depo; prepping                   hr
                                   Tesla   responsive documents

           02/18/2020   Diaz,      Diaz    Deposition of Dr. Reading              $450.00         2.10       2.10        $945.00
                        Demetric   v.                                               hr
                                   Tesla

                                                            Total Labor For Jacqueline Gil       4.00        4.00       $1,800.00

                                                         Total Expense For Jacqueline Gil                   $0.00          $0.00
                                                                   Total For Jacqueline Gil                             $1,800.00

           Joshua Arnold
           10/06/2021   Diaz,      Diaz    Conference with JBA re punitive        $700.00         0.20       0.20         $140.00
                        Demetric   v.      issue.                                   hr
                                   Tesla

                                                            Total Labor For Joshua Arnold        0.20        0.20         $140.00

                                                        Total Expense For Joshua Arnold                     $0.00          $0.00

                                                                  Total For Joshua Arnold                                 $140.00

           Natalie Khoury
           11/17/2021   Diaz,      Diaz    Started research on briefs/case        $350.00         3.40       3.40        $1,190.00
                        Demetric   v.      law for the post-trial JMOL and          hr
                                   Tesla   remittitur motion.

           11/18/2021   Diaz,      Diaz    Conducted research per TLF;            $350.00         5.30       5.30        $1,855.00
                        Demetric   v.      attended meeting with co-counsel         hr
                                   Tesla   on zoom with TLF and JBA.

           11/19/2021   Diaz,      Diaz    Worked on putting together             $350.00         4.70       4.70        $1,645.00
                        Demetric   v.      research on Tesla's appendices for       hr
                                   Tesla   reply brief.

           11/20/2021   Diaz,      Diaz    Continued working on putting           $350.00         6.10       6.10        $2,135.00
                        Demetric   v.      together research on Tesla's             hr
                                   Tesla   appendices for reply brief.

           11/22/2021   Diaz,      Diaz    Continued appendices research          $350.00         5.40       5.40        $1,890.00
                        Demetric   v.      for tesla post-trial motion.             hr
                                   Tesla



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           11/23/2021   Diaz,      Diaz    Finished appendices research for        $350.00       11.80       11.80       $4,130.00
                        Demetric   v.      Tesla post-trial brief response.          hr
                                   Tesla

           12/01/2021   Diaz,      Diaz    Worked on compiling chart of            $350.00        3.90       3.90        $1,365.00
                        Demetric   v.      appendices cases from post-trial          hr
                                   Tesla   motion and looking into the cases
                                           with punitive damages and
                                           researching the defendant
                                           companies' net worths/values.

           12/02/2021   Diaz,      Diaz    Completed research for JBA on           $350.00        3.90       3.90        $1,365.00
                        Demetric   v.      net worth of companies cited in           hr
                                   Tesla   Tesla's post-trial appendices.

           12/05/2021   Diaz,      Diaz    Researched and updated                  $350.00        5.40       5.40        $1,890.00
                        Demetric   v.      appendices case chart from Tesla           hr
                                   Tesla   post-trial motion to see:
                                           (1) which cases were bound by the
                                           Title VII cap [9 in Appendix A/ 3 in
                                           Appendix C],
                                           (2) which cases considered the
                                           cap, but were not bound by it [8 in
                                           Appendix A/ 7 in Appendix C],
                                           (3) which cases involved Plaintiff/s
                                           seeking psychological counseling,
                                           and
                                           (4) which cases involved loss of
                                           enjoyment of life as part of ED.

                                                           Total Labor For Natalie Khoury        49.90      49.90       $17,465.00

                                                        Total Expense For Natalie Khoury                    $0.00          $0.00

                                                                  Total For Natalie Khoury                              $17,465.00

           Tracy Fehr
           11/02/2021   Diaz,    Diaz      Conference with Alexander re            $750.00        0.20       0.20         $150.00
                        Demetric v.        judgment, post-trial motions, and          hr
                                 Tesla     plan for protecting case for appeal

           11/17/2021   Diaz,      Diaz    Emails with everyone and                $750.00        0.70       0.70        $525.00
                        Demetric   v.      conference with Alexander re               hr
                                   Tesla   post-trial motion and research for
                                           same, conferences with Khoury re
                                           research

           11/18/2021   Diaz,    Diaz      Conferences and emails re               $750.00        3.20       3.20       $2,400.00
                        Demetric v.        research for motion opposition            hr
                                 Tesla     and today's meeting, Zoom
                                           meeting with everyone re strategy
                                           and arguments for JMOL
                                           opposition and division of labor
                                           [1.8]; Review JMOL and make
                                           notes regarding opposing
                                           arguments and strategy in
                                           preparation for tomorrow's call
                                           [1.4]




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           11/19/2021   Diaz,      Diaz    Zoom meeting with Nunley re plan     $750.00       0.90        0.90        $675.00
                        Demetric   v.      and arguments for JMOL                 hr
                                   Tesla   opposition, emails re same,
                                           conferences with Alexander re
                                           same

           11/23/2021   Diaz,      Diaz    Conference with Alexander re         $750.00        0.10       0.10         $75.00
                        Demetric   v.      status of opposition draft             hr
                                   Tesla

                                                              Total Labor For Tracy Fehr       5.10       5.10       $3,825.00

                                                           Total Expense For Tracy Fehr                  $0.00          $0.00

                                                                    Total For Tracy Fehr                             $3,825.00



                                                                      Grand Total Labor 1098.80 1107.30            $1,216,907.50

                                                                  Grand Total Expenses                   $0.00          $0.00

                                                                              Grand Total                          $1,216,907.50

                                                          Total Times for All Currencies:   1098.80 1107.30




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